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                   EXHIBIT 1
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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. ___________________




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                   EXHIBIT 2
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     Nabin K. Shrestha,1 Patrick C. Burke,2 Amy S. Nowacki,3 Paul Terpeluk,4 Steven M. Gordon1



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     4
         Occupational Health, Cleveland Clinic, Cleveland, Ohio.



     Keywords: SARS-CoV-2; COVID-19; Incidence; Vaccines; Immunity;

     Running Title: COVID-19 vaccination if already infected



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     Summary: Cumulative incidence of COVID-19 was examined among 52238 employees in an American

     healthcare system. COVID-19 did not occur in anyone over the five months of the study among 2579

     individuals previously infected with COVID-19, including 1359 who did not take the vaccine.
                                                                                        vaccine




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      ABSTRACT


      Background.        The purpose of this study was to evaluate the necessity of COVID-19 vaccination in

      persons previously infected with SARS-CoV-2.

      Methods.           Employees of the Cleveland Clinic Health System working in Ohio on Dec 16, 2020, the

      day COVID-19 vaccination was started, were included. Any subject who tested positive for SARS-CoV-2

      at least 42 days earlier was considered previously infected. One was considered vaccinated 14 days after

      receipt of the second dose of a SARS-CoV-2 mRNA vaccine. The cumulative incidence of SARS-CoV-2

      infection over the next five months, among previously infected subjects who received the vaccine, was

      compared with those of previously infected subjects who remained unvaccinated, previously uninfected

      subjects who received the vaccine, and previously uninfected subjects who remained unvaccinated.

      Results.           Among the 52238 included employees, 1359 (53%) of 2579 previously infected subjects

      remained unvaccinated, compared with 22777 (41%) of 49659 not previously infected. The cumulative

      incidence of SARS-CoV-2 infection remained almost zero among previously infected unvaccinated

      subjects, previously infected subjects who were vaccinated, and previously uninfected subjects who were

      vaccinated, compared with a steady increase in cumulative incidence among previously uninfected

      subjects who remained unvaccinated. Not one of the 1359 previously infected subjects who remained

      unvaccinated had a SARS-CoV-2 infection over the duration of the study
                                                                       study. In a Cox proportional hazards

      regression model, after adjusting for the phase of the epidemic, vaccination was associated with a

      significantly lower risk of SARS-CoV-2 infection among those not previously infected (HR 0.031, 95%

      CI 0.015 to 0.061) but not among those previously infected (HR 0.313, 95% CI 0 to Infinity).

      Conclusions.       Individuals who have had SARS-CoV-2 infection are unlikely to benefit from COVID-19

      vaccination, and vaccines can be safely prioritized to those who have not been infected before.




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      INTRODUCTION


                The two FDA-approved (BNT162b2 mRNA [Pfizer-BioNTech] and mRNA-1273 [Moderna])

      mRNA vaccines have been shown to be very efficacious in protecting against Severe Acute Respiratory

      Syndrome (SARS) – associated Coronavirus-2 (SARS-CoV-2) infection [1,2]. The effectiveness of the

      Pfizer-BioNTech vaccine in a real-world setting has also been shown to be comparable to the efficacy

      demonstrated in clinical trials [3,4]. Given these, there has been an understandable desire to vaccinate as

      many people as possible.

                The ability to vaccinate a large part of the population is limited by the supply of vaccine. As of

      March 21, 2021, 78% of 447 million doses of the coronavirus disease 2019 (COVID-19) vaccines that

      had been deployed had gone to only ten countries [5]. The COVAX initiative was borne out of the

      recognition that equitable distribution of vaccines worldwide was essential for effective control of the

      COVID-19 pandemic. However, the reality is that there is great disparity in the availability of vaccines

      across countries. Countries with limited supplies of vaccine have to prioritize how their supply of

      vaccines will be allocated within their populations. Criteria used for such prioritization have included

      profession, age, and comorbid conditions. Data that inform prioritization criteria with help maximize the

      benefits of whatever vaccine is available.

                Observational studies have found very low rates of reinfection among individuals with prior

      SARS-CoV-2 infection [6–8]. This brings up the question about whether it is necessary to vaccinate

      previously infected individuals. These studies notwithstanding, there remains a theoretical possibility that

      the vaccine may still provide some benefit in previously infected persons. A prior large observational

      study concluded that immunity from natural infection cannot be relied on to provide adequate protection

      and advocated for vaccination of previously infected individuals [9]. The CDC website recommends that

      persons previously infected with SARS-CoV-2 still get the vaccine [10]. Despite these recommendations,

      credible reports of previously infected persons getting COVID-19 are rare. The rationale often provided

      for getting the COVID-19 vaccine is that it is safer to get vaccinated than to get the disease. This is


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      certainly true, but it is not an explanation for why people who have already had the disease need to be

      vaccinated. A strong case for vaccinating previously infected persons can be made if it can be shown that

      previously infected persons who are vaccinated have a lower incidence of COVID-19 than previously

      infected persons who did not receive the vaccine.

                The purpose of this study was to attempt to do just that, and thereby evaluate the necessity of the

      COVID-19 vaccine in persons who were previously infected with SARS-CoV-2.




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      METHODS


      Study design

                This was a retrospective cohort study conducted at the Cleveland Clinic Health System in Ohio,

      USA. The study was approved by the Cleveland Clinic Institutional Review Board. A waiver of informed

      consent and waiver of HIPAA authorization were approved to allow access to personal health information

      by the research team, with the understanding that sharing or releasing identifiable data to anyone other

      than the study team was not permitted without additional IRB approval.




      Setting

                PCR testing for SARS-CoV-2 at Cleveland Clinic began on March 12, 2020, and a streamlined

      process dedicated to the testing of health care personnel (HCP) was begun shortly thereafter. All

      employees with a positive SARS-CoV-2 test were interviewed by Occupational Health, with date of onset

      of symptoms of COVID-19 being one of the questions asked. Vaccination for COVID-19 began at

      Cleveland Clinic on December 16, 2020. When initially started it was the Pfizer-BioNTech vaccine that

      was administered, until the Moderna vaccine became available, from which time employees received one

      or the other. All employees were scheduled to receive their second vaccine dose 28 days after the first

      one, regardless of which vaccine was given. The employee cohort was chosen for this study because of

      documentation of their COVID-19 vaccination and of any SARS-CoV-2 infection in the Occupational

      Health database.




      Participants

                All employees of the Cleveland Clinic Health System, working in Ohio, on Dec 16, 2020, were

      screened for inclusion in the study. Those who were in employment on December 16, 2020, were

      included.

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      Variables

                SARS-CoV-2 infection was defined as a positive nucleic acid amplification test. The date of

      infection was taken to be the date of onset of symptoms when available, and the date of specimen

      collection when not. A person was considered vaccinated 14 days after receipt of the second dose of the

      vaccine (which would have been 42 days after receipt of the first dose of the vaccine for most subjects).

      For the sake of consistency in the duration assumed for development of natural and vaccine immunity,

      any person who tested positive for SARS-CoV-2 at least 42 days before the vaccine rollout date, was

      considered previously infected.Other covariates collected were age, job location, job type (patient-facing

      or non-patient facing), and job category. The job location variable could be one of the following:

      Cleveland Clinic Main Campus, regional hospital (within Ohio), ambulatory center, administrative center,

      or remote location. The job category was one of the following: professional staff, residents/fellows,

      advance practice practitioners, nursing, pharmacy, clinical support, research, administration, and

      administration support.




      Outcome

                The study outcome was time to SARS-CoV-2 infection, the latter defined as a positive nucleic

      acid amplification test for SARS-CoV-2 on or after December 16, 2020. Time to SARS-CoV-2 infection

      was calculated as number of days from December 16, 2020 (vaccine rollout date) to SARS-CoV-2

      infection. Employees that had not developed a SARS-CoV-2 infection were censored at the end of the

      study follow-up period (May 15, 2021). Those who received the Johnson & Johnson vaccine (81 subjects)

      without having had a SARS-CoV-2 infection were censored on the day of receipt of the vaccine, and

      those whose employment was terminated during the study period before they had SARS-CoV-2 infection

      (2245 subjects) were censored on the date of termination of employment. The health system never had a

      requirement for asymptomatic employee test screening. Most of the positive tests, therefore, would have

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      been tests done to evaluate suspicious symptoms. A small proportion would have been tests done as part

      of pre-operative or pre-procedural screening.




      Statistical analysis

                A Simon-Makuch hazard plot [11] was created to compare the cumulative incidence of SARS-

      CoV-2 infection among previously infected subjects who were vaccinated, with those of previously

      infected subjects who remained unvaccinated, previously uninfected subjects who were vaccinated, and

      previously uninfected subjects who remained unvaccinated. Previous infection was treated as a time-

      independent covariate (SARS-CoV-2 infection at least 42 days before Dec 16, 2020), and vaccination (14

      days after receipt of the second dose of the vaccine) was treated as a time-dependent covariate (Figure 1).

      Curves for the unvaccinated were based on data for those who did not receive the vaccine over the

      duration of the study, and for those who did until the date they were considered vaccinated, from which

      point onwards their data were recorded into the corresponding vaccinated set. A Cox proportional hazards

      regression model was fitted with time to SARS-CoV-2 infection as the outcome variable against

      vaccination (as a time-dependent covariate whose value changed on the date a subject was considered

      vaccinated)[12]. Previous infection (as a time-independent covariate) and an interaction term for previous

      infection and vaccination were included as covariates. The phase of the epidemic was adjusted for by

      including the slope of the epidemic curve as a time-dependent covariate whose value changed

      continuously with the slope of the epidemic curve. The analysis was performed by NKS and ASN using

      the survival package and R version 4.0.5 [12–14].

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      RESULTS


                Of 52238 employees included in the study, 2579 (5%) were previously infected with SARS-CoV-

      2.




      Baseline characteristics

                Those previously infected with SARS-CoV-2 were significantly younger (mean ± SD age; 39 ±

      13 vs. 42 ± 13, p<0.001), and included a significantly higher proportion with patient-facing jobs (65% vs.

      51%, p<0.001). Table 1 shows the characteristics of subjects grouped by whether or not they were

      previously infected. A significantly lower proportion of those previously infected (47%, 1220 subjects)

      were vaccinated by the end of the study compared to 59% (29461) of those not previously infected

      (p<0.001). Of those vaccinated, 63% received the Moderna vaccine. Twelve percent of subjects with

      previous SARS-CoV-2 infection did not have a symptom onset date, suggesting they may possibly have

      been identified on pre-operative or pre-procedural screening, and may not have had symptomatic

      infection. When vaccination was begun, the epidemic in Ohio was at the peak of its third wave (Figure 2).




      Cumulative incidence of COVID-19

                Figure 3 is a Simon-Makuch plot showing that SARS-CoV-2 infections occurred almost

      exclusively in subjects who were not previously infected with SARS-CoV-2 and who remained

      unvaccinated. The cumulative incidence of SARS-CoV-2 infection among previously infected

      unvaccinated subjects did not differ from that of previously infected subjects who were vaccinated, and

      that of previously uninfected subjects who were vaccinated. For all three of these groups, the cumulative

      incidence of SARS-CoV-2 infection was much lower than that of subjects who were not previously

      infected and who remained unvaccinated. Of the 2154 SARS-CoV-2 infections during the study period,

      2139 (99.3%) occurred among those not previously infected who remained unvaccinated or were waiting


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      to get vaccinated, and15 (0.7%) occurred among those not previously infected who were vaccinated. Not

      one of the 2579 previously infected subjects had a SARS-CoV-2 infection, including 1359 who remained

      unvaccinated throughout the duration of the study.




      Association of vaccination with occurrence of COVID-19

                In a Cox proportional hazards regression model, after adjusting for the phase of the epidemic,

      vaccination was associated with a significantly lower risk of SARS-CoV-2 infection among those not

      previously infected (HR 0.031, 95% CI 0.015 – 0.061) but not among those previously infected (HR

      0.313, 95% CI 0 – Infinity). The absence of events among those who were previously infected, whether

      they received the vaccine or not, precluded accurate or precise estimates for the latter effect size.




      Duration of protection

                This study was not specifically designed to determine the duration of protection afforded by

      natural infection, but for the previously infected subjects the median duration since prior infection was

      143 days (IQR 76 – 179 days), and no one had SARS-CoV-2 infection over the following five months,

      suggesting that SARS-CoV-2 infection may provide protection against reinfection for 10 months or

      longer.




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      DISCUSSION


                This study shows that subjects previously infected with SARS-CoV-2 are unlikely to get COVID-

      19 reinfection whether or not they receive the vaccine. This finding calls into question the necessity to

      vaccinate those who have already had SARS-CoV-2 infection.

                It is reasonable to expect that immunity acquired by natural infection provides effective

      protection against future infection with SARS-CoV-2. Observational studies have indeed found very low

      rates of reinfection over the following months among survivors of COVID-19 [6–8]. Reports of true

      reinfections are extremely rare in the absence of emergence of new variants. When such reinfections

      occur, it would be purely speculative to suggest that a vaccine might have prevented them. Duration of

      protective immunity from natural infection is not known. However, the same also can be said about

      duration of protective immunity from vaccination. Uncertainty about the duration of protective immunity

      afforded by natural infection is not by itself a valid argument for vaccinating previously infected

      individuals. This study provides direct evidence that vaccination with the best available vaccines does not

      provide additional protection in previously infected individuals.

                A prior study concluded that natural infection cannot be relied on to protect against COVID-19

      [9]. That study was based on comparison of PCR-positivity rates during a second COVID-19 surge in

      Denmark between those who tested positive and negative during the first COVID-19 surge, and indirectly

      calculated that prior infection provided 80.5% protection against repeat infection, and that protection

      against those older than 65 years was only 47.1%. The study did not compare vaccinated and

      unvaccinated people, and it is therefore an assumption to consider that a vaccine would have provided

      better protection in that particular population. Furthermore, there was a gap of only seven weeks between

      the end of the first surge and the beginning of the second in that study. It is now well-known that a small

      number of people can continue to have positive PCR test results for several weeks to a few months after

      infection, one study finding that 5.3% remained positive at 90 days [15]. It is possible that some of the

      positives picked up in the early part of the second surge were not necessarily new infections but residual


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      virus from the tail end of the first surge. Since the actual number of infections was small, a few such

      misclassifications could change the rates substantially. Our study examined rates of SARS-CoV-2

      infection in vaccinated and unvaccinated individuals and showed that those previously infected who did

      not receive the vaccine did not have higher rates of SARS-CoV-2 infection than those previously infected

      who did, thereby providing direct evidence that vaccination does not add protection to those who were

      previously infected.

                There are several strengths to our study. Its large sample size and follow-up of up to 5 months

      provide us with an ample degree of confidence in its findings. A major strength of our study is that we

      adjusted the analyses for the phase of the epidemic at all time points. The risk of acquisition of infection

      is strongly influenced by the phase of the epidemic at any given time, and it is important to adjust for this

      for accurate risk analyses. Given that was this a study among employees of a health system, and that the

      health system had policies and procedures in recognition of the critical importance of keeping track of the

      pandemic among its employees, we had an accurate accounting of who had COVID-19, when they were

      diagnosed with COVID-19, who received a COVID-19 vaccine, and when they received it.

                The study has its limitations. Because we did not have a policy of asymptomatic employee

      screening, previously infected subjects who remained asymptomatic might have been misclassified as

      previously uninfected. Given this limitation, one should be cautious about drawing conclusions about the

      protective effect of prior asymptomatic SARS-CoV-2 infection. It should be noted though, that 12% of

      the subjects classified as previously infected did not have a symptom onset date recorded, suggesting that

      at least some of those classified as previously infected might have been asymptomatic infections. It is

      reassuring that none of these possibly asymptomatically infected individuals developed COVID-19 during

      the duration of the study. The study follow-up duration was short, being only five months, but this was

      longer than published mRNA vaccine efficacy studies [1,2], and longer than the follow-up duration of the

      largest published vaccine effectiveness studies to date [3,4]. Median freedom from reinfection (time from

      initial infection until end of follow-up) in this study, for those previously infected, of almost 10 months, is

      consistent with findings in an earlier study that immunoglobulin G (IgG) to the spike protein remained

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      stable over more than six months after an episode of infection [16]. Our study included no children and

      few elderly subjects, and the majority would not have been immunosuppressed. Data governance policies

      in our institution precluded us from obtaining detailed clinical information on employees. While one

      cannot generalize this study’s findings to assume that prior infection would provide adequate immunity in

      these groups, there is also no reason to expect a vaccine to provide additional protection in these same

      groups. Lastly, it is necessary to emphasize that these findings are based on the prevailing assortment of

      virus variants in the community during the study. It is not known how well these results will hold if or

      when some of the newer variants of concern become prominent. However, if prior infection does not

      afford protection against some of the newer variants of concern, there is little reason to suppose that the

      currently available vaccines would either. Vaccine breakthrough infections with variants have indeed

      been reported [17].

                Our study’s findings have important implications. Worldwide, COVID-19 vaccines are still in

      short supply. As of March 9, 2021, dozens of countries had not been able to administer a single dose of

      the vaccine [18]. As of May 17, 2021, only 17 countries had been able to reach ten percent or more of

      their populations with at least the first dose of vaccine [19]. Given such a scarcity of the vaccine, and the

      knowledge that vaccine does not provide additional protection to those previously infected, it would make

      most sense to limit vaccine administration to those who have not previously had the infection. In addition

      to profession, age, and comorbid conditions, previous infection should be an important consideration in

      deciding whom to prioritize to receive the vaccine. A practical and useful message would be to consider

      symptomatic COVID-19 to be as good as having received a vaccine, and that people who have had

      COVID-19 confirmed by a reliable laboratory test do not need the vaccine.

                In conclusion, individuals who have laboratory-confirmed symptomatic SARS-CoV-2 infection

      are unlikely to benefit from COVID-19 vaccination, and vaccines can be safely prioritized to those who

      have not been infected before.




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      TRANSPARENCY DECLARATION


      Conflict of Interest

      Selection of “no competing interests” reflects that all authors have completed the ICMJE uniform

      disclosure form at www.icmje.org/coi_disclosure.pdf and declare: no support from any organization for

      the submitted work; no financial relationships with any organizations that might have an interest in the

      submitted work in the previous three years; no other relationships or activities that could appear to have

      influenced the submitted work.




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      Author contributions

      NKS: Conceptualization, Methodology, Validation, Investigation, Data curation, Software, Formal

      analysis, Visualization, Writing- Original draft preparation, Writing- Reviewing and Editing, Supervision,

      Project administration.

      ASN: Methodology, Formal analysis, Visualization, Validation, Writing- Reviewing and Editing.

      PCB: Resources, Investigation, Validation, Writing- Reviewing and Editing.

      PT: Resources, Writing- Reviewing and Editing.

      SMG: Project administration, Resources, Writing- Reviewing and Editing.




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      TABLES


      Table 1. Study Subject Characteristics


      Characteristic                                        Previously Infected    Not Previously Infected               P Value

                                                                 (N = 2579)               (N = 49659)

      Age, y, mean ± SD                                            39±13                      42±13                       <0.001

      Patient-facing job                                         1676 (65)                 25504 (51)                     <0.001

      Job location                                                                                                        <0.001

           Cleveland Clinic Main Campus                          1011 (39)                 19595 (40)

           Regional hospitals                                    1096 (43)                 16433 (33)

           Ambulatory centers                                     313 (12)                  7767 (16)

           Administrative centers                                 138 (5)                    4424 (9)

           Remote location                                        21 (<1)                    1440 (3)

      Job category                                                                                                        <0.001

         Professional staff                                        89 (4)                    3775 (8)

         Residents and fellows                                     72 (3)                    1669 (3)

         Advanced practice practitioners                          154 (6)                    2806 (6)

         Nursing                                                 1142 (44)                 13623 (27)

         Pharmacy                                                  44 (2)                    1274 (3)

         Research                                                 328 (13)                  6776 (14)

         Clinical support                                         111 (4)                    3500 (7)

         Administration                                           614 (24)                 15050(30)

         Administration support                                    25 (1)                    1186 (2)

      Data are presented as no. (%) unless otherwise indicated




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      FIGURES




      Figure 1. Explanation of “previously infected” analyzed as a time-independent covariate and

      “vaccinated” treated as a time-dependent covariate.




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      Figure 2. COVID-19 epidemic curve before and after vaccine rollout. Points on the scatter plot

      represent the proportion of all COVID-19 PCR tests done at Cleveland Clinic that were positive on any

      given day. The colored line represents a fitted polynomial curve.




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      Figure 3. Simon-Makuch plot showing the cumulative incidence of COVID-19 among subjects

      previously infected and not previously infected with COVID-19, who did and did not receive the

      vaccine. Curves for the unvaccinated are based on data for those who did not receive the vaccine during

      the duration of the study, and for those waiting to receive the vaccine. Day zero was Dec 16, 2020, the

      day vaccination was started in our institution. Error bars represent 95% confidence intervals. Seven

      subjects who had been vaccinated earlier as participants in clinical trials were considered vaccinated

      throughout the duration of the study. Twelve subjects who received their first dose in the first week of the

      vaccination campaign managed to get their second dose three weeks later, and were thus considered

      vaccinated earlier than 42 days since the start of the vaccination campaign.



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                   EXHIBIT 3
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                  ARTICLE
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                  Exposure to SARS-CoV-2 generates T-cell memory
                  in the absence of a detectable viral infection
                  Zhongfang Wang1,6, Xiaoyun Yang 1,6, Jiaying Zhong1,6, Yumin Zhou1,6, Zhiqiang Tang2,6, Haibo Zhou3,
                  Jun He4, Xinyue Mei 1, Yonghong Tang4, Bijia Lin1, Zhenjun Chen 5, James McCluskey 5, Ji Yang1,
                  Alexandra J. Corbett 5 & Pixin Ran 1 ✉
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                  T-cell immunity is important for recovery from COVID-19 and provides heightened immunity
                      re-infection. However, little is known about the SARS-CoV-2-speciﬁc T-cell immunity in
                  for re-infection
                  virus-exposed individuals. Here we report virus-speciﬁc CD4+ and CD8+ T-cell memory in
                  recovered COVID-19 patients and close contacts.
                                                            contact We also demonstrate the size and quality
                  of the memory T-cell pool of COVID-19 patients are larger and better than those of close
                  contacts. However, the proliferation capacity, size and quality of T-cell responses in close
                  contacts are readily distinguishable from healthy donors, suggesting close contacts are able
                  to gain T-cell immunity against SARS-CoV-2 despite lacking a detectable infection. Addi-
                  tionally, asymptomatic and symptomatic COVID-19 patients contain similar levels of SARS-
                  CoV-2-speciﬁc T-cell memory. Overall, this study demonstrates the versatility and potential
                  of memory T cells from COVID-19 patients and close contacts, which may be important for
                  host protection
                        protection.




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S
      ince early 2020, SARS-CoV-2 has spread globally, triggering            Results
      a pandemic that continues to cause devastating damage to               Proliferation capacity of memory T cells from recovered
      public health and people’s livelihoods. By the middle of               COVID-19 patients and close contacts. To assess the SARS-
November, the global COVID-19 cases have reached 50 million                  CoV-2-speciﬁc T-cell memory, human peripheral blood mono-
with the death toll exceeding a grim 1.2 million (John Hopkins               nuclear cells (PBMCs) from 90 COVID-19 patients collected
University, USA). Although the mechanisms by which host                      between 48–86 days after disease onset were stimulated in vitro
immunity combats SARS-CoV-2 infection are far from being                     for 10 days with peptide pools designed to target the spike gly-
completely understood, signiﬁcant knowledge in this area has                 coprotein (S), membrane glycoprotein (M), nucleocapsid (N),
been gained through the investigations of the association of                 envelope glycoprotein (E) and ORF1ab region of RNA-dependent
COVID-19 clinical features and disease progression with host                 RNA polymerase (RdRp) of SARS-CoV-2. Our data showed that
immune responses1. For example, our recent study established                 the memory CD4+ and CD8+ T cells of 94.44% and 83.33%,
that the severity of COVID-19 inversely correlates with T-cell               respectively, of the COVID-19 patients successfully underwent
immunity of the host2. In the presence of adequate neutralizing              expansion (Fig. 1a–c). These results clearly indicate that most of
antibodies, CD4+ and CD8+ T cells play a major role in the                   the recovered COVID-19 patients have developed effective T cell
recovery of critical COVID-19 patients2. Other studies showed                memory pools against SARS-CoV-2.
that in moderate and severe COVID-19 cases characterized by                     Although the close contacts in our cohort were all negative in
lymphopenia there was a drastic reduction in the numbers of                  both nucleic acid test (NAT) and SARS-CoV-2 antibody screen-
both CD4+ and CD8+ T cells3–5. Although the reason for this                  ing, the possible exposure of these individuals to the virus may
reduction remains unknown, autopsy revealed extensive inﬁltra-               have led to the generation of T cell immunity even in the absence
tion of T cells into the lungs6. Analysis of immune cells from               of a successful infection. To test this possibility, we performed a
bronchoalveolar lavage (BAL) ﬂuid of COVID-19 patients                       10-day in vitro peptide stimulation assay for 69 close contacts
demonstrated the presence of clonal expansion7. Moreover, virus-             from 45 family clusters. The results show that 57.97% (Fig. 1a–c)
speciﬁc CD4+ T cell numbers were shown to be associated with                 and 14.49% (Fig. 1b, c) of close contacts contained virus-speciﬁc
the production of IgG that targets the receptor-binding domain               memory CD4+ and CD8+ T-cells, respectively. Notably, all close
(RBD) of SARS-CoV-28. Notably, analyses of persistent COVID-                 contacts developed responses at lower frequencies than 4%, while
19 cases showed that upon activation their T-cells appeared to               64 (71.11%) and 32 (35.56%) of the 90 COVID-19 patients
lose polyfunctionality and cytotoxicity, trending towards an                 developed marked responses at the frequencies of higher than 4%
exhausted phenotype9,10.                                                     for IFNγ+CD4+ T cells (Fig. 1a) and IFNγ+CD8+ T cells
   While most acute viral infections result in the development of            (Fig. 1b), respectively. In comparison to the COVID-19 patients,
protective immunity, available data suggest that long-term and               a signiﬁcantly lower proportion of close contacts responded
robust-protective memory is not easily acquired for human cor-               (p < 0.0001 for CD4+, Fig. 1a; p < 0.0001 for CD8+, Fig. 1b).
onavirus infections11. For example, one year after disease onset                In order to investigate whether the observed expanded T cells
following MERS-CoV infection, the viral-speciﬁc IgG antibody                 may have originated from pre-existing cross-reactive T cells
became undetectable for some of the patients with mild                       speciﬁc for common cold coronaviruses from previous infections,
symptoms11–13. The SARS-CoV-1 humoral response was rela-                     we tested blood samples of 63 healthy donors collected before
tively short-lived and memory B cells disappeared quickly after              September of 2019. Following a 10-day in vitro peptide expansion
primary infection14. Recent mathematical modeling suggested a                only 3.17% of the healthy donors contained detectable levels of
short duration (likely <2 years) of protective immunity is elicited          virus-speciﬁc memory CD4+ and CD8+ T cells, respectively
after SARS-CoV-2 infection15. Furthermore, Long et al. have                  (Fig. 1a–c), suggesting that cross-reactive T cells derived from
reported that the viral-speciﬁc IgG levels of SARS-CoV-2-infected            exposure to other human coronaviruses do exist but are at a
individuals had an ~70% reduction during the early convalescent              signiﬁcantly lower frequency than those observed in close contacts.
phase and a signiﬁcant proportion of individuals (40% of                        The major differences between the proportion of COVID-19
asymptomatic patients and 12.9% of symptomatic patients)                     patients and healthy donors (p < 0.0001 for CD4+, Fig. 1a;
became IgG seronegative16. In contrast to the short-lived humoral            p < 0.0001 for CD8+, Fig. 1b), or between close contacts
response in SARS-CoV-1 survivors, the magnitude and frequency                and healthy donors (p < 0.0001 for CD4+, Fig. 1a; p = 0.0157
of speciﬁc CD8+ memory T cells, and to a lesser extent CD4+                  for CD8+, Fig. 1b) with memory T-cells capable of proliferating
memory T cells, persisted for 6–11 years, suggesting that T cells            in response to SARS-CoV2 peptides emphasize that exposure to
may confer long-term immunity15. Although it has been reported               SARS-CoV-2 can facilitate the establishment of the T memory
that SARS-CoV-2-speciﬁc CD4+ and CD8+ T cells were detected                  immunity not only in COVID-19 patients, but also in some close
in 100 and 70% of convalescent COVID-19 patients,                            contacts even in the absence of a successful infection. In addition,
respectively17, to date, it remains largely unclear how well the             differences between COVID-19 patients and close contacts were
SARS-CoV-2 T cell memory is established and how the memory                   observed in the frequency of double-positive (IFNγ+ TNF+)
T cells respond upon re-exposure to viral antigens. Another                  CD4+ T cells (p < 0.0001 for CD4+, Supplementary Fig. 1a,
important question that remains unresolved is whether close                  p < 0.0001 for CD8+, Supplementary Fig. 1b), although CD4+, but
contacts, who had been conﬁrmed to be negative in nucleic acid               not CD8+ cells producing both cytokines were signiﬁcantly higher
testing (NAT) and antibody screening, have gained any memory                 in close contacts than healthy controls (Supplementary Fig. 1a, b).
T cell immunity upon exposure to SARS-CoV-2.
   In this study, we examined the proliferation and activation
capability of the SARS-CoV-2 memory T cell pools of a large                  Ex vivo analyses of SARS-CoV-2-speciﬁc memory T cells from
cohort of recovered COVID-19 patients, close contacts, and                   COVID-19 patients and close contacts. Next, we measured the
unexposed healthy individuals. Our results showed that the                   sizes of virus-speciﬁc memory pools for CD4+ and CD8+ T cells
COVID-19 patients and close contacts developed SARS-CoV-2-                   from 89 COVID-19 patients (1 COVID-19 sample was used up),
speciﬁc T-cell immune memory. In addition, comparable levels of              69 close contacts and 30 healthy donors by using an overnight
SARS-CoV-2-speciﬁc memory T cells were detected in the sam-                  “ex vivo” peptide stimulation assay. Our results demonstrated
ples of asymptomatic and symptomatic COVID-19 patients.                      that a signiﬁcant proportion of COVID-19 patients contained


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                                                                                                                                                                p<0.0001                                                      COVID-19                  Close contact              Healthy control
  a                                                             p<0.0001
                                                           p<0.0001
                                                                                                              b                                           p<0.0001
                                                                                                                                                                                                             c         No peptides   SARS-CoV-2   No peptides   SARS-CoV-2   No peptides SARS-CoV-2




                                                                                                                     % IFNγ+ CD8 (in vitro)
                   % IFNγ+ CD4 (in vitro)                                                                                                                            p=0.016
                                                       94.44%         p<0.0001                                                                          83.33%
                                                                                                                                              30
                                            40
                                                                                                                                              20                                                            CD4
                                            20
                                                                               57.97%
                                                                                                                                              10

                                             4
                                                                                                                                                                              14.49%
                                                                                                                                                3
                                             3                                                                                                                                                    3.17%
                                             2
                                                                                                     3.17%                                      2
                                                                                                                                                                                                            CD8
                                                                                                                                                1
                                             1




                                                                                                                                                                                                                 TNF
                                             0                                                                                                  0
                                                                                                                                                       C o V ID -1 9     C lo s e c o n ta c ts    H C
                                                    C o V ID - 1 9      C lo s e c o n t a c t s     H C

                                                 COVID-19 Close                                     Healthy                                          COVID-19               Close                 Healthy
                                                          contact                                   control                                                                contact                control              IFNγ


                                                              p<0.0001                                                                                            p<0.000
  d                                                      p=0.007    p<0.0001
                                                                                                              e                                           p=0.004 1      p=0.017
                                                                                                                                                                                                             f                COVID-19                  Close contact
                                                                                                                                                                                                                                                  No peptides SARS-CoV-2
                                                                                                                                                                                                                                                                                    Healthy control
                                                                                                                                                                                                                                                                             No peptides   SARS-CoV-2
                                                                                                                                                                                                                       No peptides   SARS-CoV-2

                                                                                                                  % IFNγ+ CD8 (ex vivo)
      % IFNγ+ CD4 (ex vivo)




                                                      34.83%                  15.94%                                                                      49.44%
                                 0 .6                                                                                                         1 .5
                                                                                                                                              1 .0                              26.09%
                                 0 .4
                                                                                                                                              0 .5                                                          CD4
                                 0 .2                                                                                                         0 .2
                                                                                                     3.33%                                                                                         6.67%
                                 0 .1                                                                                                         0 .1
                                                                                                                                                                                                            CD8
                                 0 .0                                                                                                         0 .0




                                                                                                                                                                                                                 TNF
                                                  C o V ID - 1 9
                                             COVID-19                   Close
                                                                     C lo s e c o n ta c ts
                                                                                                   Healthy
                                                                                                     H C                                               C o V ID - 1 9   C lo s e c o n ta c ts
                                                                                                                                                                             Close                 H C
                                                                                                                                                                                                  Healthy
                                                                       contact                     control                                           COVID-19
                                                                                                                                                                            contact               control              IFNγ

Fig. 1 Memory T cells speciﬁc to SARS-2 were detected and can proliferate in vitro in COVID-19 patients and in close contacts. Donor PBMCs were
stimulated with 15-mer peptide pools (overlapping by 11 amino acids) encompassing the entire spike (S), nucleocapsid (N), membrane (M), and envelope
(E) proteins for 10 days (in vitro expansion, a–c) or overnight (ex vivo, d–f) in the presence of 10 U/ml rIL-2, IFNγ, and TNF expressing cells were
enumerated by intracellular cytokine staining. Ninety COVID-19 patients (closed circle), their 69 close contacts (open circle), and 63 unexposed healthy
donors (closed triangle) were assayed in vitro. For ex vivo experiments, the samples from the above cohort except for one from the COVID-19 group
because of cells used up, and 30 of the 63 unexposed healthy donors were assayed. Graphs show the frequency of IFNγ expressing cells in (a) CD4+ and
(b) CD8+ T cells after in vitro expansion and overnight stimulation and in (d) CD4+ and (e) CD8+ T cells after overnight stimulation. Dashed line is the cut
off determined by the background staining (no peptide) for the healthy control group. The cut off threshold used for the overnight stimulation experiments
was based on all negative controls (95% CI). The percentages shown are the frequency above this cut off. c, f Representative dot plots showing IFNγ and
TNF expression in T cells after expansion (c) or overnight stimulation (f). a, b, d, e Error bars indicate mean frequencies of IFNγ+ T cells ± SEM; Percentage
shown on top of the plots indicates the frequencies of samples above the cutoff. The student t test was performed with two-sided p values as indicated. No
peptides: no peptide stimulation control. SARS-CoV-2: with stimulation by SARS-CoV-2 overlapping peptide pools.

virus-speciﬁc T cells (34.83% for CD4+, Fig. 1d; 49.44% for                                                                                                                                                 or CD8+ T cells (Fig. 2e); (iii) SARS-CoV-2 peptides induced
CD8+, Fig. 1e; and cut off = 0.1%) at 48–86 days after disease                                                                                                                                              higher levels of IFNγ production in both CD4+ (Fig. 2b, c) and
onset. In addition, SARS-CoV-2-speciﬁc T cells were also detec-                                                                                                                                             CD8+ (Fig. 2d, e) T cells from patients infected with COVID-19
ted in close contacts (15.94% for CD4+, Fig. 1d and 26.09% for                                                                                                                                              compared with close contacts, the MFIs being twice as high in
CD8+, Fig. 1e). Signiﬁcant differences were seen between the sizes                                                                                                                                          CD4+ T cells from the infected group. Collectively, these results
of T cell memory pools of COVID-19 patients and close contacts                                                                                                                                              indicate that the activation capability of SARS-CoV-2-speciﬁc
(p = 0.007 for CD4+, Fig. 1d and p = 0.004 for CD8+, Fig. 1e). In                                                                                                                                           memory T cells from close contacts is lower than that in the
contrast, in the case of the healthy donors, we found that only                                                                                                                                             COVID-19 patients, despite both groups having similar pre-
1/30 (3.33%) and 2/30 (6.67%) of the samples contained cross-                                                                                                                                               existing immunity to CMV.
reactive memory CD4+ and CD8+ T cells, respectively (Fig. 1d,
e), suggesting that the cross-reactive T-cell immunity only exists
in a small number of unexposed healthy donors. Interestingly,                                                                                                                                               Memory T-cell immunity is detectable in both symptomatic
comparing the frequency of double-positive (IFNγ+ TNF+)                                                                                                                                                     and asymptomatic patients with COVID-19 infection. PBMCs
CD4+ and CD8+ T cells within individuals, these were higher in                                                                                                                                              from 72 symptomatic and 18 asymptomatic COVID-19 patients
both COVID-19 patients and close contacts than in healthy                                                                                                                                                   were used in the overnight ex vivo and 10-day in vitro expansion
controls (Supplementary Fig. 1c, d).                                                                                                                                                                        assays to evaluate the sizes, qualities and proliferation capacities
                                                                                                                                                                                                            of the memory T cell pools. Data in Fig. 3a, d show that following
                                                                                                                                                                                                            overnight stimulation by peptide pools, 4/18 (22.22%) and 7/18
IFNγ-producing SARS-CoV-2-speciﬁc memory T cells are                                                                                                                                                        (38.89%) of the samples from the asymptomatic patients with
detectable in close contacts of infected individuals. To evaluate                                                                                                                                           COVID-19 developed detectable numbers of SARS-CoV-2 spe-
the quality of SARS-CoV-2-speciﬁc memory T cells, we measured                                                                                                                                               ciﬁc IFNγ-producing CD4+ T cells and CD8+ T cells, respec-
the MFI of IFNγ by intracellular staining in the memory T cells                                                                                                                                             tively. For the symptomatic COVID-19 patients, 27/71 (35.23%)
from COVID-19 patients and close contacts. To increase the                                                                                                                                                  and 36/71 (50.70%) of the samples also developed virus-speciﬁc
robustness of this experiment, we included an internal control                                                                                                                                              speciﬁc CD4+ T cells and CD8+ T cells, respectively (Fig. 3a, d).
where all of the samples were also assessed for the production of                                                                                                                                           There was no signiﬁcant difference in the sizes of the SARS-CoV-
IFNγ following stimulation with CMV peptide pools spanning the                                                                                                                                              2-speciﬁc memory T-cell pools between the symptomatic and
pp65 protein. From the comparison between the MFI values of the                                                                                                                                             asymptomatic COVID-19 patients (p = 0.58 for CD4+ and p =
different samples, it is clear that; (i) CMV peptides induced similar                                                                                                                                       0.66 for CD8+, Fig. 3a, d). Meanwhile, the ex vivo analysis
levels of IFNγ production by CD4+ and CD8+ T cells in the                                                                                                                                                   showed that the MFI of IFNγ staining of the memory T cells
samples from COVID-19 patients and close contacts (Fig. 2a, c, e),                                                                                                                                          (SARS-CoV-2-speciﬁc) from the asymptomatic and symptomatic
(ii) the expression levels of IFNγ in CMV-speciﬁc T cells were 2-3                                                                                                                                          patients were 1536.37 ± 165.28 and 1182.18 ± 219.92 for CD4+
times higher than those of SARS-CoV-2-speciﬁc CD4+ (Fig. 2c)                                                                                                                                                (Fig. 3b) and 636.54 ± 56.25 and 578.47 ± 102.37 for CD8+

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                                                               No peptide                      SARS-CoV-2                                                    CMV
             a                                             COVID-19   Close contact        COVID-19   Close contact                            COVID-19       Close contact


               CD4



               CD8
                                        TNF




                                                       IFNγ

                                                                                                                                                             p = 0 .6 0

             b                                                                                        c



                                                                                                          MFI IFNγ+ CD4 (X1000)
                                                                                                                                          p < 0 .0 0 0 1        p < 0 .0 0 0 1
                               MFI IFNγ+ CD4 (X1000)




                                                                       p < 0 .0 0 0 1                                               15
                                                       6
                                                                                                                                    10


                                                                                                                                     6
                                                       4

                                                                                                                                     4

                                                       2
                                                                                                                                     2


                                                                                                                                     0
                                                       0                                                                                 SARS-
                                                                                                                                         S AR S      CMV
                                                                                                                                                     C M V    SARS- CMV
                                                                                                                                                               S AR S  C M V


                                                              COVID-19         Close contact                                             CoV-2                CoV-2
                                                                                                                                           COVID-19           Close contact


             d                                                          p = 0 .0 3 1
                                                                                                      e                                                      p = 0 .8 4
                     MFI IFNγ+ CD8 (X1000)




                                                                                                            MFI IFNγ+ CD8 (X1000)




                                                                                                                                          p < 0 .0 0 0 1        p < 0 .0 0 0 1
                                                       3
                                                                                                                                     6
                                                                                                                                     5

                                                       2                                                                             4

                                                                                                                                     3

                                                       1                                                                             2

                                                                                                                                     1

                                                       0                                                                             0
                                                              COVID-19         Close contact                                             SARS-
                                                                                                                                         S A R S    CMV
                                                                                                                                                     C M V     SARS-
                                                                                                                                                               S A R S     CMV
                                                                                                                                                                           C M V
                                                                                                                                         CoV-2                 CoV-2
                                                                                                                                         COVID-19              Close contact
Fig. 2 Functional analysis of SARS-CoV-2 speciﬁc memory T cells in Covid-19 patients and close contacts. Donor PBMCs were stimulated with SARS-
CoV-2 or CMV 15-mer peptide pools overnight in the presence of 10 U/ml rIL-2, IFNγ and TNF expressing cells were enumerated by intracellular cytokine
staining. a Representative FACS plots showing the expression of IFNγ and TNF in CD4+ and CD8+ T cells with or without SARS-CoV-2 or CMV peptide
stimulation overnight, as indicated. b, d Mean Fluorescence Intensity (MFI) of IFNγ staining for (b) CD4+and (d) CD8+ T cells from COVID-19 patients
(close circle, n = 89) and their close contacts (closed square, n = 69) after overnight stimulation with SARS-CoV-2 peptide pool. c, e Paired analyses of
MFI for IFNγ of CD4+ (c) and CD8+ (e) T cells after overnight stimulation with SARS-CoV-2 or CMV peptide pools for COVID-19 patients (n = 79) and
close contacts (n = 69). Each symbol represents a data point from one individual. b–e Error bars represent mean ± SEM. The student t test was performed
with two-sided p values as indicated. No peptides: no peptide stimulation control. SARS-CoV-2: with stimulation by SARS-CoV-2 overlapping peptide
pools. CMV: with stimulation by CMV overlapping peptide pools.


(Fig. 3e), respectively. Thus, there was no signiﬁcant difference in                               asymptomatic patients, respectively, proliferated to detectable levels
the qualities of the memory T cells between the asymptomatic                                       (Fig. 3f). For the CD4+ T cells, 97.22% and 83.33% of the samples
and symptomatic patients (p = 0.39 for CD4+ and p = 0.44 for                                       from the symptomatic and asymptomatic patients, respectively,
CD8+, Fig. 3b, e).                                                                                 proliferated to levels above 1% (Fig. 3c). This indicates a slightly
   In vitro peptide stimulation and expansion showed that 88.89%                                   reduced proliferation capacity in SARS-CoV-2-speciﬁc T-cell
and 72.22% of CD8+ T cells from the symptomatic and                                                immunity of asymptomatic patients (p < 0.0001, Fig. 3c).

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                                                                                                                             c                                                     p<0.0001
  a                                   p=0.58
                                                          b                                                                                                           9 7 .2 2 %




                                                                                                                                   % IFNγ+ CD4 (in vitro)
                                                                                      6                p=0.39




                                                              MFI IFNγ +CD4 (X1000)
                                                                                                                                                             40
                      0 .6
                                                                                      5
      % IFNγ+ CD4


                                                                                      4                                                                                                       8 3 .3 3 %
                      0 .4                                                                                                                                   20

                                                                                      3

                                                                                      2
                      0 .2                                                                                                                                    6

                                                                                      1                                                                       3

                      0 .0                                                                0                                                                   0

                             Symptomatic Asymptomatic                                         Symptomatic    Asymptomatic                                         Symptomatic          Asymptomatic

                                                                                                                                                                                   p=0.37
  d                                    p=0.66
                                                          e                                                                  f                                        8 8 .8 9 %




                                                                                                                                   % IFNγ+ CD8 ( in vitro)
                                                              MFI IFNγ+ CD8 (X1000)
                      1 .5
                                                                                      3                 p=0.44                                               30
                                                                                                                                                                                            7 2 .2 2 %
                                                                                                                                                             20
      % IFN γ + CD8




                                                                                                                                                             10
                      1 .0                                                            2
                                                                                                                                                              6


                                                                                                                                                              4
                      0 .5                                                            1

                                                                                                                                                              2


                      0 .0                                                            0                                                                       0

                             Symptomatic   Asymptomatic                                       Symptomatic     Asymptomatic                                        Symptomatic         Asymptomatic

Fig. 3 Comparisons of the T cell memory and in vitro expansion of SARS-CoV-2 speciﬁc T cells between symptomatic and asymptomatic COVID-19
patients. a, d Frequencies of IFNγ expressing cells in CD4+ (a) and CD8+ (d) T cells in recovered symptomatic (n = 71) and asymptomatic (n = 18)
COVID-19 patients ex vivo. b, e MFI of IFNγ staining in CD4+ (b) and CD8+ (e) T cells from symptomatic and asymptomatic COVID-19 patients.
c, f Frequencies of IFNγ expressing (c) CD4+ and (f) CD8+ T cells after in vitro expansion in symptomatic (n = 72) and asymptomatic (n = 18) COVID-19
patients. Percentages shown are the frequencies above the cut off (1%, which was the upper limit observed in no-peptide control stimulations). Error bars
represent mean ± SEM. The student’s t test was performed with two-sided p values indicated.


SARS-CoV-2-speciﬁc T cells are stably maintained 48–86 days                                                 in Supplementary Table 2. Following in vitro expansion the virus-
after onset of symptoms. We then examined if there was any                                                  speciﬁc memory CD4+ T cell pool correlated with the titers of
correlation between the magnitude of the T cell responses                                                   IgG against the S RBD region (R2 = 0.51, p < 0.0001, Supple-
(measured by an in vitro expansion assay) and the timespan                                                  mentary Fig. 3a) and the N protein (R2 = 0.48, p < 0.0001, Sup-
between 48 and 86 days after symptom onset and found no                                                     plementary Fig. 3b), whereas no apparent correlation between
relationship between the levels of SARS-CoV-2-speciﬁc T cells                                               CD8+ T cells and IgG titers was observed (R2 = 0.28, p < 0.0001,
(CD4+ and CD8+) and the timespan within this period (R2 =                                                   anti-S RBD IgG, Supplementary Fig. 3c and R2 = 0.28, p < 0.0001,
0.025, p = 0.14 for CD4+, Supplementary Fig. 2a, and R2 = 0.005,                                            anti-N IgG, Supplementary Fig. 3d). In the ex vivo assay, no
p = 0.52 for CD8+, Supplementary Fig. 2c). Meanwhile, our data                                              correlation was found between either the virus-speciﬁc CD4+
also showed that there was no association between the levels of                                             T cells and IgG titres (R2 = 0.01, p = 0.27 anti-S RBD IgG, Sup-
memory T cells measured by an ex vivo assay and the timespan                                                plementary Fig. 3e and R2 = 0.01, p = 0.29, anti-N IgG, Supple-
between 48–86 days after disease onset (R2 = 0.064, p = 0.021 for                                           mentary Fig. 3f) or the virus-speciﬁc CD8+ T cells and IgG titres
CD4+, Supplementary Fig. 2b and R2 = 0.066, p = 0.019 for                                                   (R2 = 0.03, p = 0.10, anti-S RBD, Supplementary Fig. 3g and
CD8+, Supplementary Fig. 2d). Together, our in vitro and ex vivo                                            R2 = 0.03, p = 0.10, anti-N IgG, Supplementary Fig. 3h), indi-
data suggest that CD4+ T memory and CD8+ T memory may                                                       cating that, due to the low numbers of speciﬁc T cells that can be
have contracted to a stable plateau by the times these samples                                              detected ex vivo in the memory phase, expansion of T cells
were collected. Furthermore, we also did not see any difference                                             in vitro to increase their numbers may be necessary to observe
between severe COVID-19 and moderate COVID-19 patients in                                                   these correlations.
the proportion of SARS-Co-V2-speciﬁc IFNγ-producing CD4+
or CD8+ T cells expanded in vitro (p = 0.71 for CD4+, Supple-
mentary Fig. 2e, p = 0.48 for CD8+, Supplementary Fig. 2f).                                                 Discussion
                                                                                                            COVID-19 patients display a wide range of clinical phenotypes,
Memory CD4+ T-cell responses correlate with IgG titers                                                      including severe, moderate, mild, and asymptomatic cases, likely
against N protein and S RBD of SARS-CoV-2. The neutralizing                                                 determined by a mix of host genetic factors, and the dose and
antibody response in MERS-CoV-2 infection was previously                                                    route of infection. Individuals also exhibit a wide variation in
shown to be dependent on the CD4+ T cell response13. To                                                     cellular and humoral immune responses during the primary viral
determine if this is also true for SARS-CoV infection, we per-                                              infection, with some patients displaying balanced viral-speciﬁc B
formed correlation analyses between IgG titers (anti N and anti-                                            cell and T cell immunity, whereas others rely either on a higher
RBD, Supplementary Table 1) and magnitude of memory T cells                                                 level of activation of neutralizing antibodies or on a stronger T
measured by in vitro and ex vivo assays. The sensitivity and                                                cell response to ﬁght off the virus2. In rare cases, individuals who
accuracy of assays for IgG measurements were veriﬁed as shown                                               suffer severe and long-lasting symptoms show highly imbalanced

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cellular and humoral immune responses whereby the levels of                   correlated to the IgG titers of anti-RBD and anti-N, it is possible
SARS-CoV-2 speciﬁc T-cell or antibody immunity are very low2.                 that the antibody production of asymptomatic individuals is lower
   Close contacts, who are SARS-CoV-2-exposed, are often both                 than that of symptomatic individuals. This observation is con-
NAT negative and antibody negative, indicating that SARS-CoV-                 sistent with the ﬁndings that there is a rapid decay of anti-SARS-
2 failed to establish a successful infection within these individuals,        CoV-2 antibodies and IgG antibodies in asymptomatic patients24.
presumably due to their exposure to limited numbers of viral                     In agreement with recent reports17,25, our data also demon-
particles or a short time of exposure. However, our analysis of the           strated the presence of cross-reactive memory CD4+ and CD8+
samples from 69 of these close contacts showed the presence of                T cells, which target various surface proteins of SARS-CoV-2, in
SARS-CoV-2 speciﬁc memory T-cell immunity. A similar                          unexposed healthy donors. However, the failure of these cross-
observation was reported during the MERS epidemic where high-                 reactive memory CD4+ and CD8+ to expand in vitro suggests
risk individuals (e.g., camel workers) who were NAT negative and              they have limited potential to function as part of a protective
antibody negative also developed signiﬁcant levels of MERS-CoV                immune response against SARS-CoV-2. It is noteworthy that the
speciﬁc memory T cells13. In addition, although in agreement                  SARS-CoV-2-reactive T cells detected in the unexposed healthy
with Sekine et al.18, we found that some polyfunctional T cells               donors in our study were lower than those detected by Grifoni
were detectable in close contacts, cells producing both IFNγ and              et al.17 and Braun et al.26, but were consistent with those reported
TNF appear largely speciﬁc for infected patients rather than for              by Peng et al.27 and Zhou et al.28. Assumably, due to the use of
close contacts and healthy donors, suggesting that for COVID-19               different methodologies in assessing SARS-CoV-2-speciﬁc T-cell
patients, the occurrence of stronger antigen stimulation and                  responses, it is difﬁcult to directly reconcile the cell-number data
greater inﬂammation during viral infection led to an enhanced                 between different studies. Thus, a thorough investigation is nee-
polyfunctional T-cell response.                                               ded to determine whether the cross-reactive T memory can
   Our ex vivo stimulation analyses demonstrated that the pool                provide any protective immunity and exert an inﬂuence on the
sizes and quality of the SARS-CoV-2-speciﬁc CD4+ and CD8+ T                   outcomes of COVID-19 disease.
memory cells from close contacts were around half of those from                  In summary, by examining a substantial number of clinical
COVID-19 patients. Similarly, our in vitro expansion experi-                  samples, we determined the SARS-CoV-2-speciﬁc memory T-cell
ments showed that the SARS-CoV-2-speciﬁc CD4+ memory                          immunity in COVID-19 patients with various clinical symptoms.
T cells of 57.97% and 94.44% of close contacts and COVID-19                   Despite some subtle differences, most patients developed mea-
patients, respectively, were able to proliferate. However, a more             surable amounts of SARS-CoV-2-speciﬁc CD4+ and CD8+
remarkable difference between the CD8+ proliferation fre-                     memory T cells which were stably maintained between 48–86 days
quencies of the two sample groups was observed, such that the                 after convalescence. Importantly, our discovery of the presence of
SARS-CoV-2-speciﬁc CD8+ memory T cells of 14.49% and                          signiﬁcant levels of SARS-CoV-2-speciﬁc memory T-cell immu-
83.33% of close contacts and COVID-19 patients, respectively,                 nity in a group of individuals (close contacts) who were exposed to
underwent proliferation. Theoretically, the initial activation of             but not infected by the virus highlights some unique character-
SARS-CoV-2-speciﬁc CD8+ and formation of CD8+ T memory                        istics in the dynamic interactions between SARS-CoV-2 and its
are achieved through the endogenous pathway which processes                   human host.
                                                                                       host Although cross-reactive memory T cells were present
viral antigens produced within the virus-infected host cells19.               in healthy donors who had never been exposed to SARS-CoV-2,
Presumably, without in situ replication of SARS-CoV-2, there are              their role in host protection needs to be thoroughly investigated as
insufﬁcient viral antigens within the host cells of close contacts to         they were hardly able to proliferate. Together, our analyses add
induce a robust CD8+ response resulting in CD8+ T memory in                   important information on the landscape of immune responses of a
the majority of individuals. By contrast, the formation of CD4+ T             range of individuals in response to the primary SARS-CoV-2
memory does not rely on endogenous viral replication but                      encounter during the ﬁrst wave of the pandemic.
involves endocytosis and/or phagocytosis of exogenous viral
antigens, which are mostly derived from non-replicative viral
                                                                              Methods
particles or soluble viral proteins19. Thus, CD4+ T cell memory               COVID-19 patients, close contacts, and healthy donors. For this study, we
may be more easily achieved in uninfected exposed individuals.                recruited 90 COVID-19 patients and 69 close contacts. All of the COVID-19
   Initially, we observed that SARS-CoV-2-speciﬁc memory CD4+                 patients (NAT+) had stayed in the hospital and then recovered. The medical data
and CD8+ secreted low levels of IFNγ and only a small proportion              collected from the COVID-19 patients included symptoms at disease onset and
                                                                              records of physical examinations, laboratory tests and imaging. Asymptomatic
of the T cells from COVID-19 patients gained multifunctionality               COVID-19 patients were deﬁned using strict criteria: they were negative for any
(IFNγ and TNF dual expression). To vigorously validate this                   signs of cough, fever, sore throat, runny nose or computed tomography (CT) image
ﬁnding, we analysed the CMV-speciﬁc memory T cells in the same                changes in the lungs. A blood sample was taken from each of the patients in the
PBMC samples. Evidently, the levels of IFNγ and TNF expression                period between d48 and d86 after disease onset or returning a NAT+ result.
and the numbers of CMV-speciﬁc CD4+ and CD8+ memory                               Close contacts were identiﬁed from family members or friends who had stayed
                                                                              with a SARS-CoV-2 infected individual(s) at the time from 5 days before their
T cells were all signiﬁcantly greater than those of the corresponding         disease onset to hospitalization. They were classiﬁed as a close contact only if they
SARS-CoV-2-speciﬁc memory T cells (Fig. 2a), ruling out the                   also were within a close distance (<1.5 m) of a COVID-19 individual(s) in a
possibility that SARS-CoV-2 infection inhibits the function of                conﬁned space for >1 h or were living together with a known case for >24 h. Other
T cells of the host. Recent epidemiological data show that between            important criteria were that they were NAT- and negative for SARS-CoV-2-speciﬁc
                                                                              antibodies (IgG and IgM) against S RBD and/or N and virus neutralization tests.
18 and 62% of SARS-CoV-2 infections are asymptomatic20–23.                    For this study, a blood sample was taken from each of the close contacts at the time
Therefore, determining how well protective immunity is estab-                 d48 and d86 after exposure to a known COVID-19+ individual.
lished in asymptomatic COVID-19 patients will provide valuable                    Blood samples of 63 healthy donors were obtained from a local blood donation
information for understanding herd immunity and the design of                 center in September 2019 (before the start of the COVID-19 pandemic) for
                                                                              unrelated studies. These donors were considered healthy as they had no known
strategies to combat secondary infections by the virus. To this end,          history of any signiﬁcant systemic diseases. As the blood samples from healthy
we compared the T-memory immunity levels between asympto-                     donors were frozen for a longer period of time compared to those from patients
matic and symptomatic COVID-19 patients and showed that the                   and close contacts, we assessed whether prolonged freezing had any effect on assay
sizes and quality of their memory pools are comparable. Only the              outcomes by comparing the CMV-speciﬁc T-cell responses (which would be
in vitro expansion capacity of memory CD4+ from asymptomatic                  expected to be the same) of close contacts and healthy donors (HC) in a control
                                                                              experiment. We found that there is no signiﬁcant difference in the frequencies of
COVID-19 patients was signiﬁcantly lower. Since our data showed               CMV-speciﬁc CD4+ and CD8+ between the two groups of samples (CD4+: p =
the magnitude of in vitro expansion of CD4+ memory T cells is                 0.32 and CD8+: p = 0.37).

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NATURE COMMUNICATIONS | https://doi.org/10.1038/s41467-021-22036-z                                                                                         ARTICLE

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changed twice per week with fresh PRMI 1640 supplemented with 10% FBS and
10 U/ml rIL-2. The cells were subcultured when needed. The cells were then re-               patients with severe acute respiratory syndrome: a six-year follow-up study. J.
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peptide) overnight before being stained for FACS analysis.                             15.   Ng, O. W. et al. Memory T cell responses targeting the SARS coronavirus
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bodies: anti-CD3-FITC (BioLegend, clone UCHT1, 1:200, Cat# 300406), anti-CD4-                1489–1501.e15 (2020).
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quantiﬁed with a time-resolved immunochromatographic analyzer and was cal-
                                                                                             Symptomatic SARS-CoV-2 Infection. Emerging infectious diseases, 27, 327
culated according to established programmed standards. The cut off value for the
                                                                                             (2021).
assignment of positive samples was determined according to the manufacture’s
                                                                                       25.   Le Bert, N. et al. SARS-CoV-2-speciﬁc T cell immunity in cases of COVID-19
instructions. An individual was considered seropositive if a positive result was
                                                                                             and SARS, and uninfected controls. Nature 584, 457–462 (2020).
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                                                                                       Acknowledgements
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Z.W. and P.R. designed the experiments, analysed data, and wrote the paper; X.Y., J.Z.,
and X.M. performed the experiments and analysed data; Y.Z., Z.T., H.Z., J.H., Y.T., and     Publisher’s note Springer Nature remains neutral with regard to jurisdictional claims in
B.L. recruited the cohort and carried out clinical treatments; Z.C., J.C., J.Y., and A.C.   published maps and institutional afﬁliations.
reviewed this work and wrote the paper.


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Supplementary information The online version contains supplementary material                article are included in the article’s Creative Commons license, unless indicated otherwise in
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                   EXHIBIT 4
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REVIEW
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Quantifying the risk of SARSCoV2 reinfection over time

Eamon O Murchu1,2                               | Paula Byrne1 | Paul G. Carty1 | Cillian De Gascun3 |
Mary Keogan4 | Michelle O’Neill1 | Patricia Harrington1 | Máirín Ryan1,5

1
 Health Information and Quality Authority,
George’s Court, Dublin, Ireland                              Summary
2
    Trinity College Dublin, Dublin, Ireland                  Despite over 140 million SARSCoV2 infections worldwide since the beginning of the
3
 UCD National Virus Reference Laboratory,                    pandemic, relatively few conﬁrmed cases of SARSCoV2 reinfection have been re-
Dublin, Ireland
                                                             ported. While immunity from SARSCoV2 infection is probable, at least in the short
4
    Beaumont Hospital, Dublin, Ireland
5
                                                             term, few studies have quantiﬁed the reinfection risk. To our knowledge, this is the
 Department of Pharmacology & Therapeutics,
Trinity College Dublin, Trinity Health Sciences,             ﬁrst systematic review to synthesise the evidence on the risk of SARSCoV2 rein-
Dublin, Ireland                                              fection over time. A standardised protocol was employed, based on Cochrane meth-

Correspondence
                                                             odology. Electronic databases and preprint servers were searched from 1 January
Eamon O Murchu, Health Information and                       2020 to 19 February 2021. Eleven large cohort studies were identiﬁed that estimated
Quality Authority, George’s Court, Dublin 7,
                                                             the risk of SARSCoV2 reinfection over time, including three that enrolled healthcare
Ireland.
Email: eomurchu@hiqa.ie                                      workers and two that enrolled residents and staff of elderly care homes. Across
                                                             studies, the total number o     positive or antibody
                                                                                       of PCR
                                                                                          PCRpositive            positive participants at baseline
                                                                                                          antibodypositive
Funding information
Health Research Board, Grant/Award                           was 615,777, and the maximum duration of followup was more than 10 months in
Number: HRBCICER20161871                                  three studies. Reinfection was an uncommon event (absolute
                                                                                                               absolute rate 0%–1.1%), with no
                                                             study reporting an increase in the risk of reinfection over time
                                                                                                                         time. Only one study esti-
                                                             mated the populationlevel risk of reinfection based on whole genome sequencing in a
                                                             subset of patients; the estimated risk was low (0.1% [95% CI: 0.08–0.11%]) with no
                                                             evidence of waning immunity for up to 7 months following primary infection. These
                                                             data suggest that naturally acquired SARSCoV2 immunity does not wane for at least
                                                             10 months postinfection. However, the applicability of these studies to new variants
                                                             or to vaccineinduced immunity remains uncertain.

                                                             KEYWORDS
                                                             COVID19, SARSCoV2, reinfection




1 | INTRODUCTION                                                                                 countries worldwide have experienced epidemics of Covid19. While
                                                                                                 much is yet unknown about the immune response following infection
Following the emergence of a novel coronavirus (SARSCoV2) in                                   with SARSCoV2, evidence is emerging at a fast pace. The Health
China in December 2019 and the declaration by WHO of a public                                    Information and Quality Authority (HIQA) of Ireland has conducted a
health emergency of international concern on 30 January 2020,                                    series of rapid reviews on various public health topics relating to



Abbreviations: Covid19, coronavirus disease 2019; CI, conﬁdence interval; Ct, cycle threshold; HIQA, Health Information and Quality Authority; IgG, immunoglobulin G; NAAT, nucleic acid
ampliﬁcation technology; RNA, ribonucleic Acid; RTPCR, reverse transcription polymerase chain reaction; SARSCoV2, severe acute respiratory syndrome coronavirus type 2; WHO, World
Health Organization.

Patricia Harrington and Máirín Ryan are cosenior authors.


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SARSCoV2 infection. These reviews arose directly from questions               response through antibody detection (seropositivity) and/or a prior
posed by policy makers and expert clinicians supporting the National            SARSCoV2 diagnosis by RTPCR
                                                                                SARSCoV2               RTPCR or antigen testing followed by
Public Health Emergency Team to inform the national response to                 recovery (molecular or clinical evidence of viral clearance). No min-
the pandemic in Ireland.                                                        imum time interval was deﬁned between primary and secondary in-
       Our team at HIQA previously concluded that SARSCoV2                    fections; however, cases within 90 days of initial infection were
infection produces detectable immune responses in most cases.1                  considered suggestive of prolonged viral shedding following the pri-
However, the extent to which previously infected people are immune              mary infection.
to reinfection is uncertain. In the short term, protection against                   All potentially eligible papers, including preprints, were exported
reinfection is probable, as few conﬁrmed SARSCoV2 reinfections                to Endnote x8.2 and screened for relevance by one reviewer.
have been reported despite over 140 million infections worldwide                Following removal of irrelevant citations, two reviewers indepen-
since the beginning of the pandemic.2                                           dently reviewed the full text of potentially relevant articles. For each
       The objective of this systematic review was to evaluate the risk         included study, data on study design, participant demographics and
and relative risk of SARSCoV2 reinfection over time, comparing                relevant clinical and laboratory data were extracted by two re-
previously infected individuals to those without evidence of prior              viewers. Quality appraisal was undertaken using the National Heart,
infection. The review informed a range of policy questions relating to          Lung and Blood Institute (NIH) quality assessment tool for observa-
the duration of protective immunity (as in, prevention of reinfection)          tional cohort studies.6 The ﬁndings of the research question were
following SARSCoV2 infection.                                                 synthesised narratively due to the heterogeneity of study designs
                                                                                and outcome data.


2 | METHODS
                                                                                3 | RESULTS
A standardised protocol was employed3 based on Cochrane meth-
odology.4 Electronic databases (PubMed, EMBASE and EuropePMC)                   The collective database search resulted in 1893 citations, with four
were searched from 1 January 2020 to 19 February 2021 (Data S1).                citations retrieved from other sources (grey literature search).
Table 1 outlines the Population, Outcome, Study design (POS) criteria           Following removal of duplicates, 1771 citations were screened for
for study selection.                                                            relevance. This resulted in 105 studies eligible for full text review
       Reinfection was deﬁned as any reverse transcription polymerase           (Figure 1), where a further 94 studies were excluded (Table S1).
                RTPCR) or antigenconﬁrmed
               (R
chain reaction (RTPCR)     antigenconﬁrmed SARSCoV2
                                              SARSCoV2 infection                  Eleven studies were identiﬁed that met the inclusion criteria.7–17
                                          SARSCoV2 infection. Evi-
in an individual with evidence of a prior SARSCoV2                            Five studies were conducted in the United Kingdom,8,9,11,13,14 of
dence of prior infection included a previously documented immune                which three enrolled healthcare workers8,9,11 and two enrolled the



TABLE 1          Population outcome Study design criteria for systematic search
    Population                                                Individuals (of any age) with evidence of prior SARSCoV2 infection, who subsequently
                                                                  recovereda

                                                              Evidence of prior infection includes diagnosis by RTPCR or antigen testing, or evidence of
                                                                 an immune response through antibody detection (seropositivity)

    Outcomes                                                  1. Risk of RTPCR or antigenconﬁrmed SARSCoV2 reinfection over time
                                                              2. Relative risk of RTPCR or antigenconﬁrmed SARSCoV2 reinfection, comparing
                                                                 populations with evidence of prior infection with populations with no prior evidence
                                                                 of infection, at speciﬁed time points
                                                              3. RTPCR cycle threshold results, if reported
                                                              4. Whole genome sequencing results of reinfected cases comparing ﬁrst and second in-
                                                                 fections, if reported

    Types of studies                                          Include:
                                                              Observational cohort studies (prospective or retrospective)
                                                              Exclude:
                                                               Cohort studies that enrolled fewer than 100 participants unless the study reported
                                                                 comparative whole genome sequencing on all reinfection cases
                                                               Studies with durations of followup of less than 3 months
                                                               Animal studies



Abbreviation: RTPCR, reverse transcription polymerase chain reaction.
a
 ‘Recovered’ refers to molecular or clinical evidence of viral clearance following initial infection; deﬁnitions of recovery in primary studies were used.
Common deﬁnitions include two consecutive negative respiratory RTPCR tests 24 h apart and WHO clinical criteria of viral clearance (27 May 2020).5
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FIGURE 1        PRISMA diagram of study
selection




staff and residents of elderly care homes.13,14 The remaining six             as relative risks, odds ratios, risk ratios and hazard ratios. Due to
                                                                        16
studies were all general population studies, conducted in Austria,            heterogeneity in outcome measures and populations, metaanalysis
Denmark,17 Israel,12 Qatar 7 and the United States.10,15 Six studies          of data were not considered appropriate. The following sections
were published as preprints at the time of submission.7,8,10,12,14,15         narratively report the ﬁndings of included studies by population
Across studies, the total number of PCR or antibodypositive par-            group (general population, healthcare workers, and residents and
ticipants at baseline was 615,777 (median: 8845; range: 88–378,606).          staff of care homes).
The median followup of individuals within studies was 131 days
(4.4 months; range of medians: 54–210 days), with a maximum follow
up of ≥300 days (10 months) in three studies.12,14,16                         3.1 | General population studies
    Studies reported a range of primary endpoints (Table 2 and Ta-
ble S2). Studies either determined evidence of prior infection based          3.1.1 | Austria
on a history of RTPCR conﬁrmed infection (n = 5 studies),      10,12,15–17


documented antibody detection (n = 4 studies)7,8,11,14 or a combi-            In the study by Pilz et al.,16 national SARSCoV2 infection data from
nation of both (n = 2 studies).   9,13
                                         Three studies separately reported    the Austrian epidemiological reporting system were used to investi-
the relative risks of symptomatic reinfections and ‘all’ reinfections         gate potential reinfection events, with a maximum followup of
                              8,11,15
(symptomatic/asymptomatic),               one study reported symptomatic      10 months. The primary outcome was the odds of PCR positivity in
reinfections only9 and the remaining studies did not differentiate            individuals who recovered from a conﬁrmed SARSCoV2 infection
between symptomatic and asymptomatic reinfections.7,10,12–17 In               during the ﬁrst wave (22 February to 30 April 2020) compared with
addition to quantifying the absolute risks of SARSCoV2 reinfection,         the odds of ﬁrst infections in the remainder of the general population
the risks compared with PCRnegative or antibodynegative cohorts             during the second wave (1 September to 30 November 2020). In
at baseline were expressed by a number of different measures, such            total, 40 possible reinfections were recorded out of 14,840
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TABLE 2       Summary of included studies and primary outcome results

 First author; country; population                  Participantsa Followup            Author reported primary outcomes
                  7
 AbuRaddad 2021 (preprint); Qatar; General         N = 43,044 antibodypositive at   Risk of reinfection (conﬁrmed by WGS)b: 0.10% (95% CI:
    population                                         baseline                          0.08%–0.11%)
                                                                                         Risk over time (any reinfection): Incidence rate of
                                                    Median f/u: 114 days (3.8 months)
                                                                                         reinfection by month of followup did not show any
                                                    Maximum f/u: 242 days (8.1           evidence of waning of immunity over seven months of
                                                      months)                            followup

 Hall 20218 (preprint); United Kingdom; HCWs        N = 6614 antibodypositive at      Adjusted odds ratio of reinfection comparing antibody or
                                                       baseline                           PCRpositive group with negative group

                                                    Median f/u: 202 days (6.7          • ‘Probable’ reinfectionc: aOR: 0.01 (95% CI 0.00–0.03)
                                                                                       • All ‘possible’ and ‘probable’ reinfections: aOR: 0.17 (95%
                                                        months)
                                                                                           CI: 0.13–0.24)
                                                    Maximum f/u: 227 days (7.6         • Symptomatic reinfection: aOR: 0.08 (95% CI 0.05–0.13)
                                                      months)

 Hanrath 20209 United Kingdom; HCWs                 N = 1038 PCR and/or antibody     Symptomatic reinfection: A positive PCR test was returned
                                                       positive at baseline              in 0/1038 (0% [95% CI: 0–0.4) of those with previous
                                                                                         infection, compared with 290/10,137 (2.9% [95% CI:
                                                    Median f/u: 173 days (5.8 months)
                                                                                         2.6–3.2) of those without (p < 0.0001 2 test)
                                                    Maximum f/u: 229 days (7.6
                                                      months)

 Hansen 202117 Denmark; General population          N = 11,068 PCR positive at        Main analysis:
                                                       baseline                          aRR (any reinfection): 0.20 (0.16–0.25).
                                                                                         This represents 72 reinfections out of 1,346,920 person
                                                    Median f/u: 122 days (4.1 months)
                                                                                         days in PCRpositive group, compared with 16,819 new
                                                    Maximum f/u: 295 days (9.8           infections out of 62,151,056 persondays in PCR
                                                      months)                            negative group
                                                                                         Additional cohort analysis (that includes all infection
                                                                                         periods): aRR = 0.21 (0.18–0.25) by age group:
                                                                                       0–34 years: aRR = 0.17 (0.13–0.23)
                                                                                       35–49 years: aRR = 0.20 (0.14–0.28)
                                                                                       50–64 years: aRR = 0.19 (0.13–0.27)
                                                                                       ≥65 years: aRR = 0.53 (0.37–0.75)

 Harvey 202010 (preprint); United States; General   N = 378,606 PCR positive at        Ratio of positive NAAT results (comparing patients who had
    population                                         baseline                           a positive antibody test at index vs. those without)d: 2.85
                                                                                          (95% CI: 2.73–2.97) at 030 days; 0.67 (95% CI: 0.6–
                                                    Median f/u: 54 days (1.8 months)
                                                                                          0.74) at 31–60 days; 0.29 (95% CI: 0.24–0.35) at 60–
                                                    Maximum f/u: 92 days (3.1             90 days; 0.10 (95% CI: 0.05–0.19) at >90 days; note that
                                                      months)                             NAAT positivity at <90 days is likely due to prolonged
                                                                                          viral shedding

 JefferySmith 202113 United Kingdom;               N = 88 PCR and/or antibody        Relative risk (any reinfection): 0.04 (95% CI: 0.005–0.27)
     Staff &residents at care homes                    positive at baseline               This represents 1 reinfection out of 88 in seropositive
                                                                                          group compared with 22/73 in seronegative group
                                                    Mean f/u: 120 days (4 months)

                                                    Maximum f/u: Unclear

 Krutikov 202114 (preprint); United Kingdom; Staff & N = 634 antibodypositive at      Relative adjusted hazard ratios (any reinfection):
    residents at care homes                             baseline                          Residents of care home: aHR = 0.15 (0.05–0.44)e
                                                                                          Staff of care home: aHR = 0.39 (0.19–0.82)e
                                                    Median f/u: 79 days (2.6 months)

                                                    Maximum f/u: 300 days (10
                                                      months)

 Lumley 202111 United Kingdom; HCWs                 N = 1265 antibodypositive at     IRRf(any reinfection): 0.12 (95% CI: 0.03–0.47; p = 0.002);
                                                       baseline                          2/1265 seropositive (both asymptomatic reinfections)
                                                                                         and N = 223/11,364 seronegative had positive PCR.
                                                    Median f/u: 139 days (4.6 months)
                                                                                         Symptomatic reinfection: Incidence was 0.60 per
                                                    Maximum f/u: 217 days (7.2           10,000 days at risk in seronegative HCWs; there were
                                                      months)                            no symptomatic infections in seropositive HCWs
                                                                                         Adjusted IRRg: 0.11 (95% CI: 0.03–0.44; p = 0.002) (any
                                                                                         reinfection)
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T A B L E 2 (Continued)

    First author; country; population                      Participantsa Followup              Author reported primary outcomes

    Perez 2021   12
                      (preprint); Israel; General population N = 149,735 PCR positive at     Overall reinfection risk: 0.1% (any reinfection between Mar
                                                                baseline                       2020 and Jan 2021) This represents 154 individuals who
                                                                                               had two positive tests at least 100 days apart out of
                                                           Median f/u: 165 days (5.5 months)
                                                                                               149,735 individuals with a record of a prior positive PCR
                                                           Maximum f/u: Approx. 325 daysh      test
                                                             (10.8 months)

    Pilz 202116 Austria; General population                N = 14,840 PCR positive at           Odds ratio: 0.09 (95% CI: 0.07–0.13) (any reinfection)
                                                              baseline                            This represents 40 reinfections out of 14,840 individuals
                                                                                                  PCR positive in the ﬁrst wave (0.27%) compared with
                                                           Median f/u: 210 days (7 months)
                                                                                                  253,581 infections out of 8,885,640 (2.85%) in the
                                                           Maximum f/u: 300 days (10              remaining general population
                                                             months)

    Sheehan 202115 (preprint); United States; General      N = 8845 PCR positive at baseline Protective effectiveness (any reinfection): 78.5% (95% CI:
       population                                                                               72.0%–83.5%)i
                                                           Median f/u: 131 days (4.4 months)
                                                                                                Protective effectiveness against symptomatic infection:
                                                           Maximum f/u: 269 days (9             83.1% (95% CI: 75.1%–88.5%)
                                                              months)

Note: ‘Any’ reinfection—all reinfections, both symptomatic and asymptomatic. Numbers rounded to two decimal points. No cases were identiﬁed on the
basis of antigen testing. The longest duration of followup was not stated in all studies or was provided only as an approximate estimate; when not
stated, duration of followup was inferred from ﬁgures or tables within the study.
Abbreviations: aHR, adjusted hazard ratio; aOR, adjusted odds ratio (adjusted for week group); ARR, adjusted rate ratio; CI, conﬁdence interval; f/u,
followup; HCW, healthcare worker; IRR, incidence rate ratio; NAAT, nucleic acid ampliﬁcation test; WGS, whole genome sequencing.
a
    In the baseline antibody and or PCRpositive group (‘seropositive’ or prior positive cohort).
b
    Based on cases with WGS conﬁrming the ﬁrst and second infections were from different viral strains (N = 16).
c
 ‘Possible’ reinfection was deﬁned as a participant with two PCRpositive samples ≥90 days apart with available genomic data, or an antibodypositive
participant with a new positive PCR at least 4 weeks after the ﬁrst antibodypositive result. A ‘probable’ case additionally required supportive
quantitative serological data and or supportive viral genomic data from conﬁrmatory samples.
d
 NAAT used as proxy; includes all symptomatic reinfections and prolonged viral shedding, comparing patients who had a positive antibody test at index
versus those with a negative antibody.
e
    Multivariate analysis of risk of PCRpositive infection by baseline antibody status, stratiﬁed by LTCF and adjusted for sex and age.
f
IRR is the relative incidence of subsequent positive SARSCoV2 PCR tests and symptomatic infections comparing antibodypositive and antibody
negative groups at baseline.
g
    After adjustment for age, gender and month of testing or calendar time as a continuous variable.
h
    The midpoint of a range of followup dates was taken (300–349 days).
i
Authors report effectiveness with the following calculation: 1−([56/8845]/[4163/141480]).


individuals with a history of prior infection during the ﬁrst wave                   11,068 (2.11%) had tested positive during the ﬁrst wave. Among
(0.27%), compared with 253,581 infections out of 8,885,640 in-                       eligible PCRpositive individuals from the ﬁrst wave, 72 (0.65%,
dividuals of the remaining general population (2.85%). This translated               95% CI: 0.51%–0.82%) tested positive again during the second
into an odds ratio of 0.09 (95% CI: 0.07–0.13).                                      wave compared with 16,819 of 514,271 (3.27%, 95% CI: 3.22%–
                                                                                     3.32%) who tested negative during the ﬁrst wave. After adjusting
                                                                                     for sex, age group and test frequency, the adjusted RR (aRR) of
3.1.2 | Denmark                                                                      reinfection was 0.20 (95% CI: 0.16–0.25). Protection against repeat
                                                                                     infection was estimated at 80.5% (95% CI: 75.4–84.5). In an
In the study by Hansen et al.,17 individuallevel data were collected                alternative analysis, aRR by age category was reported. In in-
on patients who had been tested in Denmark in 2020 from the                          dividuals aged 65 years or more, the aRR was 0.53 (0.37–0.75),
Danish Microbiology Database, with a maximum followup of                            compared with 0.17, 0.20 and 0.19 in individuals aged 0–34 years,
9.8 months. Infection rates were analysed during the second wave                     35–49 years and 50–64 years, respectively.
of the COVID19 epidemic, from 1 September 2020 to 31
December 2020, comparing PCRpositive individuals with PCR
negative individuals during the ﬁrst wave (March to May 2020).                       3.1.3 | Israel
During the ﬁrst wave (prior to June 2020), 533,381 people were
tested, of whom 11,727 (2.2%) were PCR positive. Of these,                           In the study by Perez et al.,12 published as a preprint, preliminary
525,339 were eligible for followup in the second wave, of whom                      reinfection rates within the members of a large healthcare provider
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(Maccabi Healthcare Services) in Israel were reported, with a              estimated at 78.5% (95% CI: 72.0–83.5) and 83.1% (95% CI: 75.1–
maximum followup of over 10 months. A total of 149,735 individuals        88.5) against symptomatic reinfection.
had a recorded positive PCR test between March 2020 and January
2021. Among them, 154 members had two positive PCR tests at least
100 days apart and were included in this study. The reinfection rate       3.2 | Healthcare workers
was estimated at approximately 0.1%. In this cohort, 73 individuals
(47.4%) had symptoms at both PCRpositive events.                          Three UK studies were identiﬁed that exclusively enrolled healthcare
                                                                           workers. In the ﬁrst study, published as a preprint, 20,787 hospital
                                                                           staff were followed, of whom 32% (n = 6614) were assigned to the
3.1.4 | Qatar                                                              positive cohort (antibody or PCR positive) and 68% (n = 14,173) to the
                                                                           negative cohort (antibody negative, not previously known to be PCR
In the study by AbuRaddad et al., published as a preprint, 43,044         or antibody positive) (Hall et al.8). In total, 1,339,078 days of followup
antiSARSCoV2 nucleocapsid antibodypositive participants were           data were analysed from the baseline positive cohort (maximum
followed for up to 8 months for evidence of reinfection.7 This             followup of 7.6 months). In total, 44 reinfections (2 probable and 42
retrospective cohort was identiﬁed from a database that covers all         possible) were detected in the baseline positive cohort (15 of which
serological testing for SARSCoV2 conducted in Qatar.                     were symptomatic), compared with 318 new PCRpositive infections
    There was evidence of a decreasing trend in the incidence rate of      (249 of which were symptomatic) and 94 antibody seroconversions in
reinfection with each additional month of followup from the ﬁrst          the negative cohort. The adjusted odds ratio (aOR) was 0.17 for all
month (incidence rate: 0.97 per 10,000; 52 cases per 167,149 per-          reinfections (‘possible’ or ‘probable’; 95% CI: 0.13–0.24). Restricting
sonweeks) to the sixth month (zero cases per 19,148 personweeks)         reinfections to probable reinfections only, participants in the positive
(MantelHaenszel trend analysis pvalue: <0.001), noting that early        cohort had a 99% lower odds of probable reinfection (aOR of 0.01,
reinfection cases (i.e., within 3 months) were likely due to persistent    95% CI: 0.00–0.03). Restricting reinfections to those who were
viral shedding following the primary infection. There was an increase      symptomatic, investigators estimated that participants in the positive
at ≥7 months; however, this was based on only one case of rein-            cohort had an aOR of 0.08 (95% CI 0.05–0.13).
fection (out of 3094 personweeks). Applying a conﬁrmation rate                In the second study, 1038 healthcare workers with evidence of
obtained through viral genome sequencing in a subset of patients           previous infection (PCR and or antibody positive) and 10,137 without
with supporting clinical evidence for reinfection, the risk of docu-       (negative antibody and PCR) were followed for a maximum of
mented reinfection was 0.1% (95% CI: 0.08%–0.11%).                         7.6 months (Hanrath et al.9). A positive PCR test was returned in 0%
    These reinfections were compared to a cohort of 149,923                (0/1038 [95% CI: 0%–0.4%]) of those with previous infection,
antibodynegative individuals followed for a median of 17 weeks            compared to 2.9% (290/10,137 [95% CI: 2.6–3.2]) of those without
(range: 0–45.6 weeks). Risk of infection was estimated at 2.15% (95%       (p < 0.0001, 2 test).
CI: 2.08%–2.22%). The efﬁcacy of natural infection in protecting               In the third study, 12,541 UK healthcare workers were followed
against reinfection was estimated at 95.2% (95% CI: 94.1%–96.0%).          for up to 31 weeks to compare the incidence of SARSCoV2 infec-
                                                                           tion in seropositive (N = 1265, including 88 who seroconverted
                                                                           during followup) versus seronegative (N = 11,364) groups at base-
3.1.5 | United States                                                      line (Lumley et al.11). A total of 223 antispike seronegative health-
                                                                           care workers had a positive PCR test, 100 during screening while
Two US studies were identiﬁed, both published as preprints. In the ﬁrst,   they were asymptomatic and 123 while symptomatic, whereas two
a retrospective database analysis of electronic health records was used    antispike seropositive healthcare workers had a positive PCR test;
to determine the risk of nucleic acid ampliﬁcation technology (NAAT)       both workers were asymptomatic when tested. Incidence varied by
test positivity, a proxy for reinfection, over a maximum followup of      calendar time, reﬂecting the ﬁrst (March through April) and second
3.1 months (Harvey et al.10). Of 3,257,478 unique patients with an         (October and November) waves of the pandemic in the United
index antibody test, 378,606 (11.6%) had a positive antibody result at     Kingdom and was consistently higher in seronegative healthcare
baseline. The ratio of positive NAAT test results among patients who       workers. After adjustment for age, gender and month of testing or
had a positive antibody test at index versus those with a negative         calendar time as a continuous variable, the incidence rate ratio in
antibody test at index declined from 2.85 (95% CI: 2.73–2.97) at 0–        seropositive workers was 0.11 (95% CI: 0.03–0.44) compared with
30 days; to 0.67 (95% CI: 0.6–0.74) at 31–60 days; to 0.29 (95% CI:        those who were seronegative at baseline.
0.24–0.35) at 60–90 days and to 0.10 (95% CI: 0.05–0.19) at >90 days.
    In the second, 150,325 patients were followed for a maximum of
10 months (Sheehan et al.15). In total, 56 reinfections were identiﬁed     3.3 | Residents and staff of elderly care homes
from the positive cohort of 8845 individuals, compared with 4163
infections from the negative cohort of 141,480 individuals. The            Two studies were identiﬁed that enrolled both residents and staff at
protective effectiveness of prior infection against reinfection was        UK care homes.13,14
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    In the ﬁrst study (JefferySmith et al.13), the risk of reinfection   reinfection events in their respective populations. A number of studies
according to antibody seropositivity was investigated following out-      was downgraded due to lack of controlling for confounders (n = 7
breaks in two London care homes13,18 over 4 months. The median            studies). In these studies, potential confounding variables were either
age of residents was 84 and 85 in each care home.                         not assessed or not measured appropriately, or the statistical analysis
    In total, 88 individuals with evidence of prior infection were        was not adequately described. As all studies were observational in
investigated for evidence of reinfection (antibody positive N = 87;       nature, they cannot be used to demonstrate causality. Therefore, only
PCR positive N = 1). The reinfection rate in this cohort was 1/88         associations between prior infection and reinfection risk can be
(1.1%), and this reinfection event was observed in a staff member. By     measured. While estimates of the effectiveness of natural infection to
comparison, infection risk in the seronegative cohort was 30.1% (22/      prevent reinfection were reported in a number of studies, such mea-
73, including four people diagnosed by seroconversion). The RR was        sures cannot be reliably estimated on the basis of these data.
estimated at 0.038 (95% CI: 0.005–0.273). The protection against              Six studies are currently published as preprints,7,8,10,12,14,15 so
reinfection after four months in seropositive group was estimated at      have not yet been formally peerreviewed, raising additional con-
96.2% (95% CI: 72.7%–99.5%).                                              cerns about overall quality and the potential for results to change
    In the second study, published as a preprint, staff and residents     prior to formal publication.
in 100 longterm care facilities (LTCFs) in England were followed
between October 2020 and February 2021 (Krutikov et al.14). In
total, 2111 individuals were enrolled (682 residents and 1429 staff).     4 | DISCUSSION
The median age of residents was 86 years (IQR: 79–91) and 47 years
for staff (IQR range: 34–56). Blood sampling was offered to all par-      4.1 | Summary of ﬁndings
ticipants at three time points separated by 6–8 weeks intervals in
June, August and October 2020. Samples were tested for IgG anti-          Eleven cohort studies estimated the risk or relative risk of SARS
bodies to nucleocapsid and spike protein. PCR testing for SARSCoV       CoV2 reinfection in individuals who were either antibodypositive
2 was undertaken weekly in staff and monthly in residents. The            or who had a history of PCRconﬁrmed Covid19 at baseline,
primary analysis estimated the adjusted hazard ratio (aHR) of a PCR      compared with those who did not, for up to 10 months. Across
positive test by baseline antibody status (Cox regression adjusted for    studies, the total number of PCR or antibodypositive participants at
age and gender, and stratiﬁed by LTCF).                                   baseline was 615,777, with a maximum followup of over 10 months
    IgG antibodies to nucleocapsid were detected at baseline in 226       in three studies. Reinfection was a rare event (median PCR
residents (33%) and 408 staff (29%). Staff and residents contributed                                                         w
                                                                          conﬁrmed reinfection rate: 0.27%, range: 0%–1.1%), with no study
3749 and 1809 months of followup time, respectively. There were          reporting an increase in the risk of reinfection over time.
93 PCRpositive tests in seronegative residents (0.054 per month at           Of the six general population studies, only one estimated the
risk) compared with four in seropositive residents (0.007 per month       populationlevel risk of reinfection based on whole genome
at risk). There were 111 PCRpositive tests in seronegative staff         sequencing in a subset of patients with supporting evidence of
(0.042 per month at risk) compared with 10 in seropositive staff          reinfection.7 The estimated risk was low (0.1% [95% CI: 0.08%–
(0.009 per month at risk). Controlling for the potential confounding      0.11%]) in this large cohort of 43,044 antiSARSCoV2 nucleocapsid
effect of individual LTCFs, the relative aHRs for PCRpositive infec-     antibodypositive participants. Importantly, the incidence rate of
tion were 0.15 (95% CI: 0.05–0.44) and 0.39 (95% CI: 0.19–0.82)           reinfection by month did not show any evidence of waning of im-
comparing seropositive versus seronegative residents and staff,           munity over the seven months of followup. The remaining
respectively. Study authors concluded that the presence of IgG an-        populationbased studies (conducted in Austria, Denmark, Israel and
tibodies to nucleocapsid was associated with substantially reduced        the United States) also reported low absolute and relative risks of
risk of reinfection in staff and residents for up to 10 months after      reinfection, and none reported an increased risk over time.
primary infection, assuming that the earliest infections occurred in          Only one study reported the relative risk of reinfection by age
March 2020.                                                               category, allowing comparisons across groups. In individuals aged
                                                                          65 years or more, the aRR was 0.53 (0.37–0.75), compared with 0.17,
                                                                          0.20 and 0.19 in individuals aged 0–34 years, 35–49 years and 50–
3.4 | Quality of included studies                                         64 years, respectively.17 The lower protection in the over65s group
                                                                          may be attributable to immunosenescence; however, little is known
The NIH quality assessment tools was used for appraisal of obser-         about this phenomenon in the context of COVID19.
                        6
vational cohort studies. Ten studies were considered of ‘good’ or             Two UK studies reported lower risks of reinfection in elderly in-
‘fair’ methodological quality (Table S3), with one study10 that used a    dividuals. Both studies enrolled residents of care homes (median age
proxy measure for outcomes (NAAT test positivity) considered to be        ≥84 years), a group that has been disproportionately affected by the
of poor quality.                                                          COVID19 pandemic, with high rates of infection and deaths among
    Each of the 10 studies of ‘good’ (n = 4) or ‘fair’ (n = 6) methodo-   frail, elderly residents. In the ﬁrst study, the relative risk of reinfection
logical quality was considered large enough to adequately capture         in staff and residents of two London care homes was very low
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(RR = 0.038; 95% CI: 0.005–0.273), and the protection against rein-                demonstrated a substantially lower risk of reinfection in previously
fection after four months in seropositive group was estimated at 96.2%             infected individuals without a waning of the protective response over
(95% CI: 72.7%–99.5%).13 This relative risk was based on a single                  time. However, despite these strengths, there are a number of limi-
reinfection event in a seropositive staff member, indicating the relative          tations associated with this review.
risk in the elderly resident cohort is even lower. The second study re-                First, as the studies are observational in nature, the prevention
ported higher relative rates of reinfection14 in a sample of staff and             of reinfection cannot be causally conﬁrmed, although longitudinal
residents (N = 2111) across 100 LTCFs in England. The study, con-                  associations can be estimated. Additional concerns relating to
ducted between October 2020 and February 2021, coincided with a                    observational studies include the greater potential for bias. It is
period of high community prevalence of SARSCoV2 in the United                    possible that antibody test results affected individual behaviour. In-
Kingdom, associated with the rapid emergence of the B.1.1.7 variant.19             dividuals with evidence of prior infection may have believed that they
The estimated aHR for reinfection was 0.15 (95% CI: 0.05–0.44) in                  possessed immunity to SARSCoV2, resulting in a reduction in
residents and 0.39 (95% CI: 0.19–0.82) in staff. The higher relative               healthseeking behaviour and testing (outcome ascertainment bias).
rates of infection compared with the earlier UK study raises concerns              Conversely, these individuals may have increased their engagement
regarding the impact of new variants on the protective immunity of                 in social behaviour, placing them at greater risk for infection. The
natural infection. Nonetheless, only four cases of possible reinfection            overall direction of bias (whether over or underestimating rein-
were identiﬁed in residents, and although all cases reported symptoms,             fection) cannot be determined.
none required hospital treatment. Taking into consideration that most                  Second, studies included in this review could not determine
residents were likely ﬁrst infected during the ﬁrst wave (up to 6 months           whether past seroconversion, or current antibody levels, determine
prior), the risk of reinfection was substantially reduced in residents             protection from infection. Furthermore, none could deﬁne which
even in the context of high community transmission of the B.1.1.7                  characteristics are associated with reinfection. For example, there is
variant.                                                                           evidence to suggest immune responses are weaker following
    Three UK studies estimated the relative risk of reinfection spe-               asymptomatic SARSCoV2 infections20 and in immunocompromised
                                        8,9,11
ciﬁcally among healthcare workers.               The ﬁrst study detected zero      patients,21 which may increase susceptibility to repeat infection.
symptomatic infections in 1038 healthcare workers with evidence of                 Mucosal immunity and neutralising antibodies present in respiratory
a prior infection, compared with 290 in 10,137 without evidence of                 secretions may be more important for sterilising immunity than
prior infection (p < 0.0001).       9
                                        The second study detected two              circulating IgG levels. The role of Tcell immunity was not assessed in
asymptomatic infections (and no symptomatic infections) out of 1265                any study; therefore, it is not possible to determine whether pro-
seropositive individuals, compared with 223 infections (100 during                 tection from reinfection is conferred through the measured anti-
screening while they were asymptomatic and 123 while symptom-                      bodies or Tcell immunity. Future longitudinal serological cohorts
                                                     11
atic) out of 11,364 seronegative individuals.             After adjustment for     may be able to determine protective correlates of immunity.
age, gender and month of testing or calendar time, the incidence rate                  Third, only two studies undertook genomic sequencing of rein-
ratio in seropositive healthcare workers was 0.11 (95% CI: 0.03–                   fected cases; consequently, the results of nine studies are only based
0.44). The third study reported 44 reinfections in the baseline posi-              on potential reinfections. The effect of this, however, is to over-
tive cohort of 6614 individuals (15 of which were symptomatic),                    estimate the number of reinfections, thereby afﬁrming the conclusion
compared with 318 new PCRpositive infections (249 of which were                   that reinfection is rare.
symptomatic) and 94 antibody seroconversions in the negative                           Fourth, due to the nature of a number of retrospective database
                                8
cohort of 14,173 individuals. The aOR was 0.17 for all reinfections                analyses included in this review, many studies could not correlate
(95% CI: 0.13–0.24), and restricting reinfections to those who were                symptomatic infections with protection against repeat infection or
symptomatic, the aOR was 0.08 (95% CI 0.05–0.13). This pattern of a                evaluate disease progression comparing ﬁrst and second infections.
lower relative risk of symptomatic reinfections in healthcare workers,             This was true for studies that accessed large databases in Austria,16
compared with ‘any’ reinfection (symptomatic and asymptomatic),                    Denmark17 and the United States.10
was also observed in the study by Sheehan et al. in general pop-                       Finally, this review included a number of studies that were
ulations.15 This ﬁnding suggests that not only is the risk of reinfection          published as preprints (n = 6 studies7,8,10,12,14,15). While preprints
following natural infection low, when it does occur, it may represent a            have been pivotal to guide policy and practice throughout this
less severe form of disease.                                                       pandemic, these studies have not yet been formally peerreviewed
                                                                                   raising concerns over the quality and accuracy of presented data.


4.2 | Strengths and limitations
                                                                                   4.3 | Generalisability of ﬁndings
To our knowledge, this is the ﬁrst systematic review to quantify the
risk of SARSCoV2 reinfection over time. All studies were consid-                 There are a number of issues relating to the applicability and gen-
ered large enough to adequately capture reinfection events in their                eralisability of the presented results. First, all but two studies pre-
respective     populations.    Results     across         studies   consistently   ceded the widespread identiﬁcation and spread of a number of new
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viral strains of international concern (e.g., variant 202012/01 [also          4.4 | Research in context and policy implications
known as 501Y.V1/B.1.1.7] from the United Kingdom and 501Y.V2
[B.1.351] from South Africa, both identiﬁed in December 202022). In            This review was expected to inform a range of policy questions
the ﬁrst study that extended beyond December 2020, reinfection                 relating to the duration of protective immunity following infection
events between March 2020 and January 2021 in Israel were                      with SARSCoV2, such as:
recorded.12 A higher number of reinfections was recorded in January
2021 compared with previous months. However, genomic sequencing                 How long can asymptomatic individuals who have recovered from
was not reported and statistical analysis of the recorded data (e.g.,            a prior SARSCoV2 infection be exempted from restriction of
controlling for confounders and signiﬁcance testing) was not under-              movement policies if they become a close contact of a conﬁrmed
taken. In the second study, elderly care home staff and residents in             COVID19 case?
the United Kingdom were followed between October 2020 and                       How long can asymptomatic individuals who have recovered from
February 2021.14 Sequencing data were not available for suspected                a prior SARSCoV2 infection be exempted from serial testing
reinfections, and study authors did not investigate the potential                programmes?
impact of new variants on the risk of reinfection. Nonetheless, the             How long can asymptomatic patients who have recovered from a
risk of reinfection was substantially reduced in elderly residents,              prior SARSCoV2 infection be exempted from the requirement
most of whom were ﬁrst infected up to 6 months previously. While                 for testing prior to scheduled admission to hospital?
these ﬁndings are reassuring, further research is needed on the role
of natural immunity in populations that are experiencing the emer-                 This review identiﬁed a large body of evidence that indicates
gence and spread of new variants of concern.                                   the duration of presumptive protective immunity may last for at up
    Second, all presented data relate to unvaccinated cohorts as they          to 10 months postinfection. However, given the uncertainty that
preceded vaccine rollout in 10 studies, and in the only study that            exists relating to reinfection potential with emerging variants, any
was conducted during vaccine rollout, all vaccinated individuals              policy changes may not be applicable to possible exposure to
                                                                         14
were excluded once 12 days had passed since their vaccination.                 emerging immune escape variants of concern. In addition, policies
The applicability of the data to vaccinated populations is therefore           should be kept under review and informed by the international
unknown.                                                                       evidence and national surveillance data. In light of the ﬁndings of
                                                   23
    One preprint study (Lumley et al., 2021 ), identiﬁed after our             this review, policy was updated in Ireland to extend the period of
database search, reported reinfection rates among healthcare workers           presumptive immunity from 3 months to 6 months; therefore, a
according to vaccination status and in relation to the B.1.1.7 variant.        person who is an asymptomatic contact of a case and has had a
This study updates the 2020 study included in this review by the same          positive test result within the previous 6 months is exempt from
          11
authors        and presents data up to 28 February 2021. At this time point,   restriction of movements and serial testing. A period of 6 months
1456 of 13,109 participating healthcare workers had received two               was selected over 10 months due to the ongoing uncertainties
vaccine doses (PﬁzerBioNTech or OxfordAstraZeneca). Compared to              relating to new variants.
unvaccinated seronegative healthcare workers, natural immunity and                 Increasingly, reinfection cases are being investigated on a
two vaccination doses provided similar protection against symptom-             country level and are reported on websites of national public health
atic infection: no healthcare worker who had received two vaccine              agencies (e.g., Czechia now report a national reinfection rate of 0.1%,
doses had a symptomatic infection, and incidence was 98% lower in              or 1400 cases out of 1,225,000 infections24). Future longitudinal
seropositive healthcare workers (adjusted incidence rate ratio 0.02,           studies should focus on the following issues that were not addressed
95% CI: <0.01–0.18). Two vaccine doses or seropositivity reduced the           in the aforementioned studies, including:
incidence of any PCRpositive result with or without symptoms by 90%
(0.10, 95% CI: 0.02–0.38) and 85% (0.15 95% CI: 0.08–0.26) respec-              The durability of immunity beyond 10 months
tively. There was no evidence of differences in immunity induced by             Immune correlates of protection
natural infection and vaccination for infections with the B.1.1.7 variant.      Protective immunity in populations with comorbidities and the
These data suggest that both natural infection and vaccination both              immunocompromised
provide robust protection against SARSCoV2 infection, including               The impact of new variants on protective immunity
against the B.1.1.7 variant. Future studies are expected to expand our
understanding of the differences between natural and vaccine
acquired immunity and the impact of new variants.                              5 | CONCLUSIONS
    Third, there is much uncertainty in relation to the risk of reinfec-
tion in younger and older age groups. Inconsistent data were identiﬁed         Eleven large cohort studies were identiﬁed that estimated the risk of
relating to elderly populations, with one study reporting higher rates of      SARSCoV2 reinfection over time, including three that enrolled
reinfection compared with younger age groups17 and two reporting               healthcare workers and two that enrolled elderly care home resi-
low rates of reinfection in elderly residents of care homes (although          dents. All studies reported low relative SARSCoV2 reinfection rates
these two studies did not compare risk across age groups).13,14                in individuals with prior evidence of infection, compared with those
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                   EXHIBIT 5
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            Comparison of kinetics of immune responses to SARS-CoV-2 proteins in

      individuals with varying severity of infection and following a single dose of the

                                                                     AZD1222

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      Abstract

      Background: While there have been many studies characterizing the IgG and IgA responses to

      different SARS-CoV-2 proteins in individuals with natural infection, the induction of IgG and

      IgA to different viral proteins in vaccinees have not been extensively studied. Therefore, we

      sought to investigate the antibody responses to SARS-CoV-2 following natural infection and

      following a single dose of AZD2221, in Sri Lankan individuals.

      Methods: Using Luminex assays, we characterized the IgG and IgA responses in patients with

      varying severity of illness and following a single dose of the vaccine at 4 weeks and 12 weeks

      since onset of illness or following vaccination. Haemagglutination test (HAT) was used to assess

      the antibodies to the receptor binding domain of SARS-CoV-2 wild type (WT), B.1.1.7, B.1.351

      and B.1.617.2 (VOCs) and surrogate neutralizing test to measure ACE2 receptor blocking

      antibodies.

      Results: Those with mild illness and in vaccinees, the IgG responses to S1, S2, RBD and N

      protein increased from 4 weeks to 12 weeks, while it remained unchanged in those with

      moderate/severe illness. Those who had a febrile illness in 2017 and 2018 (controls) also gave

      IgG and IgA high responses to the S2 subunit. In the vaccinees, the most significant rise was

      seen for the IgG antibodies to the S2 subunit (p<0.0001). Vaccinees had several fold lower IgA

      antibodies to all the SARS-CoV-2 proteins tested than those with mild and moderate/severe

      illness at 4 weeks and 12 weeks. At 12 weeks the HAT titres were significantly lower to the

      B.1.1.7 in vaccinees and significantly lower in those with mild illness, and in vaccinees to

      B.1.351 and for B.1.617.2. No such difference was seen in those with moderate/severe illness.
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      Conclusions: Vaccinees
                   Vaccinees had significantly less IgA to SARS-CoV-2, but comparable IgG

      responses to those with natural infection. However, following a single dose, vaccinees had

      reduced antibody levels to the variants of concern (VOC), which further declined with time,

      compared to natural infection.
                          infection
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      Introduction

      The COVID-19 pandemic due to SARS-CoV-2, continues to cause significant mortality and

      morbidity, and many countries are currently experiencing a worse situation, than at the beginning

      of the pandemic1. Emergence of SARS-CoV-2 variants of concern such as the B.1.1.7 (alpha)

      and more recently B.1.617.2 (delta) has led to exponential increase of the number of COVID-19

      cases and deaths in many countries1-3. While the higher income countries have vaccinated a large

      proportion of their population, resulting in lower hospitalizations and deaths, many lower income

      and lower-middle income countries are grappling with the increase in the case loads,

      overburdening of health care resources and the inability to secure adequate doses of COVID-19

      vaccines4.




      Although the duration of protection against re-infection from SARS-CoV-2 in not known, it has

      been shown that re-infection does occur, especially among older individuals, probably due to

      waning of immunity5. Re-infection has shown to occur particularly with certain variants such as

      P.1 (gamma) variant in Brazil despite a very high seroprevalence6, and also with B.1.351 (beta)

      due to escape from natural and vaccine induced immunity7. Individuals who had experienced

      milder illness have shown to have reduced levels of neutralizing antibodies compared to those

      who had severe illness8,9. Apart from the presence of neutralizing antibodies to the receptor

      binding domain (RBD), antibodies specific to S2 and N protein of SARS-CoV-2 are also

      detected in patients who have recovered from COVID-1910. Although the usefulness of

      antibodies directed against S1, S2 and N protein in preventing re-infection are not known,

      although IgG and IgA specific to S1, S2 have been detected in breast milk of infected mothers
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      and therefore, possibly provide protection to the neonate11. Antibodies against the S2 subunit

      have been detected in unexposed individuals and S1, S2 and N protein specific memory B cell

      responses have been detected in those who were infected with SARS-CoV-212. Children and

      adolescents who were unexposed to SARS-CoV-2 were shown to have a higher frequency of

      pre-existing IgG antibodies specific to S2, which were able to cross neutralize SARS-CoV-213.

      The presence of high levels of cross-reactive antibodies to the S2 in children and adolescents

      have been speculated to reduce disease severity when infected with SARS-CoV-213,14. Although

      many studies have investigated the role of SARS-CoV-2 specific IgG responses, virus specific

      IgA was detected during early illness and was shown to be able to neutralize the SARS-CoV-2

      virus to a greater extent than virus specific IgG15. However, adults with severe illness had higher

      levels of SARS-CoV-2 specific IgA levels compared to adults with milder illness and children,

      and was shown to enhance neutrophil activation in vitro and thus release of inflammatory

      mediators16. Therefore, although virus specific IgA is an important component of mucosal

      immunity, its role in protection vs disease pathogenesis is not clear.




      Currently there are several vaccines for COVID-19, which have shown to be safe and have high

      efficacy rates against the original Wuhan SARS-CoV-2 virus and variable efficacy against

      variants of concerm17-19. However, due to non-availability of adequate quantity of vaccines and

      also in order to vaccinate as many individuals as fast as possible, some countries have increased

      the gap between the two doses of vaccine such as AZD2221 to 12 or 16 weeks20. While there

      have been many studies characterizing the IgG and IgA responses to different SARS-CoV-2

      proteins in individuals with natural infection, the induction of IgG and IgA to different viral

      proteins in vaccinees have not been extensively studied. It was recently shown that the mRNA
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      vaccines induce high levels of both IgG and IgA antibodies against the spike protein21. However,

      there are limited data characterizing the IgG, IgA, ACE2-receptor blocking antibodies in

      individuals with varying severity of natural infection over time, in comparison to those who have

      received a single dose of the AZD2221 vaccine. Therefore in this study, we investigated the

      antibody responses in those with varying severity of natural infection and in those who received

      a single dose of the AZD2221 at 4 weeks and 12 weeks to the S1, S2, RBD and N proteins and

      also for SARS-CoV-2 variants of concern in a Sri Lankan population.
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      Methods

      Patients

      Patients confirmed with SARS-CoV2 infection based on the positive RT-PCR who were

      admitted to a COVID-19 treatment hospital, from the National Institute of Infectious Diseases

      (NIID), Sri Lanka. They were followed throughout their illness while they were in hospital and

      the severity grading was based on the worst severity while in hospital. Clinical disease severity

      was classified as mild, moderate and severe according to the WHO guidance on COVID-19

      disease severity 22 . For this study we recruited two cohorts of patients. Serum samples from the

      patient cohort 1 (n=30) was used to determine the IgG and IgA antibody levels at 4 weeks since

      onset of illness, the ACE2 receptor blocking antibody levels and the antibodies to RBD by the

      HAT assay for the wild type (WT) and SARS-CoV-2 variants. The duration of illness was

      defined from the day of onset of symptoms and not the day of PCR positivity or admission to

      hospital. Based on the WHO COVID-19 disease classification, 15 patients had mild illness and

      15 patients had moderate/severe illness22. As all the patients in the first cohort could not be

      traced at 12 weeks, in order to carry out the above assays, we recruited a second cohort of

      patients. Based on the WHO COVID-19 disease classification, 14 patients had mild illness and 6

      patients had moderate/severe illness22.




      In order to compare the antibody responses following infection with one dose of the AZD1222

      vaccine, we recruited 20 individuals 4 weeks following vaccination and 73 individuals, 12 weeks

      following vaccination. We also included serum samples from individuals who had a febrile

      illness in 2017 and early 2018. Ethical approval was received by the Ethics Review Committee
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      of Faculty of Medical Sciences, University of Sri Jayewardenepura. Informed written consent

      was obtained from patients.




      Haemagglutination test (HAT) to detect antibodies to the receptor binding domain (RBD)

                                                                            23
      The HAT was carried out as previously described                            . The B.1.1.7 (N501Y), B.1.351 (N501Y,

      E484K, K417N) and B.1.617.2 versions of the IH4-RBD reagent were produced as described 23,

      but included the relevant amino acid changes introduced by site directed mutagenesis. These

      variants were titrated in a control HAT with the monoclonal antibody EY-6A (to a conserved

      class 4 epitope23,24) and found to titrate identically with the original version so 100ng (50ul of

      2ug/ml stock solution) was used for developing the HAT. The assays were carried out and
                                                        25
      interpreted as previously described                    . The HAT titration was performed using 11 doubling

      dilutions of serum from 1:20 to 1:20,480, to determine presence of RBD-specific antibodies. The

      RBD-specific antibody titre for the serum sample was defined by the last well in which the

      complete absence of “teardrop” formation was observed.




      Surrogate neutralizing antibody test (sVNT) to detect NAbs

      The surrogate virus neutralization test (sVNT)26, which measures the percentage of inhibition of

      binding of the RBD of the S protein to recombinant ACE226 (Genscript Biotech, USA) was

      carried out according the manufacturer’s instructions as previously described by us9. Inhibition

      percentage ≥ 25% in a sample was considered as positive for NAbs.
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      Results

      The kinetics of SARS-CoV-2 specific IgG responses in those with natural infection

      IgG responses to the S1, S2, RBD and N protein were measured in individuals with COVID-19

      at 4 weeks and at 12 weeks since onset of illness and also in serum samples of 15 individuals

      who had a febrile illness in 2017 and early 2018. At 4 weeks since onset of illness, the highest

      magnitude of IgG antibody responses was seen for RBD in those with moderate/severe illness,

      whereas those with mild disease, had the highest responses to S2 (Figure 1A, table 1). Those

      who had a febrile illness in year 2017 and 2018 (controls), also had detectable antibody levels to

      S2, but not for other proteins. There was no difference in the antibody levels to S2 in those with

      mild illness compared to the controls (p=0.13), although those with milder disease had

      significantly higher antibody levels to S1 and RBD (p<0.0001) and N protein (p=0.0004), than

      the controls. In those who received a single dose of the AZD1222 vaccine, the IgG responses to

      the S1 and S2 components of the spike protein were similar, although the levels for the RBD was

      significantly higher (table 1). As expected, the IgG responses to the N protein was very low, but

      even lower than for the controls. The antibody levels to S1 (p=0.0002), S2 (p=0.01), RBD

      (p=0.002) and N (p<0.0001) proteins were significantly different between the three groups of

      individuals at 4 weeks (Figure 1A).




      At 12 weeks since onset of illness, those with moderate/severe illness had the highest responses

      to N protein, whereas those with mild illness still had the highest responses to S2 (Figure 1B). At

      both time points for all proteins, those with moderate/severe disease had significantly higher

      antibody levels than those with milder illness (Table 1). The antibody responses to S1 (p=0.03),
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      S2 (p=0.04), RBD (p=0.02) and N protein (p=0.0002) were significantly different between the

      those with mild illness, moderate/severe disease and the vaccinees (Figure 1B). From 4 to 12

      weeks, the S1 specific antibodies significantly rose in those with mild illness (p=0.004), while

      there was no significant change in the antibody levels to other proteins at 12 weeks (table 1).

      Patients who had moderate/severe illness sustained the same levels of antibodies for all four

      proteins from 4 weeks to 12 weeks. In the vaccinees, from 4 weeks to 12 weeks the IgG levels to

      S1 (p=0.008), S2 (p<0.0001) and RBD (p=0.003) had significantly increased (table 1).




      The kinetics of SARS-CoV-2 specific IgA responses in those with natural infection

      IgA responses to the S1, S2, RBD and N protein were measured in the above individuals with

      COVID-19 at 4 weeks and at 12 weeks since onset of illness and also in serum samples of 15

      individuals who had a febrile illness in 2017 and early 2018. At 4 weeks and 12 weeks of illness,

      individuals with both mild and moderate/severe illness, had the highest levels of IgA antibodies

      to the RBD (Figure 1C and 1D). However, those with moderate/severe disease had significantly

      higher antibody responses to all four proteins when compared to those with mild illness at 4

      weeks, but there was no difference at 12 weeks (table 1). Unlike what was observed with SARS-

      CoV-2 S2 specific IgG responses, those with mild illness had significantly higher IgA responses

      (p=0.02) but not to N protein (p=0.18) (Figure 2A). As expected, vaccinees had low responses to

      the N protein, with IgA levels similar to those seen in controls except for IgA to S1, which was

      higher in the vaccinees (p=0.003). Significant differences of IgA responses were seen in those

      with mild illness, moderate/severe illness and vaccinees for S1 (p=0.001), S2 (p=0.0003), RBD

      (p=0.0003) and N protein (p=0.04) (Figure 1C).
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      There was no difference in IgA levels to any of the proteins at 4 weeks compared to 12 weeks in

      patients with mild illness or with moderate/severe illness (table 1). However, significant

      differences were seen between the three groups to S1 (p=0.009), RBD (p=0.003) and N protein

      (p=0.02), but not for S2 (p=0.55) (Figure 1D).




      ACE2 receptor blocking antibodies following natural infection and one dose of AZD1222

      Due the lack of BSL-3 facilities to measure neutralizing antibodies, we used a surrogate test to

      measure the inhibition of binding of antibodies in patient sera to the ACE2 receptor. This was

      shown to be 100% specific in the Sri Lankan population, with none of the sera of individuals

      collected in 2017 and 2018, giving a positive response 9. The ACE2 blocking antibodies were

      significantly higher in those with moderate to severe illness, when compared to those with mild

      illness at 4 weeks (p=0.03) and at 12 weeks (p=0.03) as reported previously9 (Figure 2). In

      addition, the ACE2 receptor blocking antibodies significantly increased from 4 weeks to 12

      weeks in those with moderate/severe illness (p=0.02) and in those with mild illness (p=0.03)

      (Figure 2). However, in those who received a single dose of the vaccine, the ACE2 blocking

      antibodies significantly reduced (p<0.0001) from levels at 4 weeks (median 77.32, IQR 60.05 to

      90.77 % of inhibition) to 12 weeks (median 38.17, IQR 28.95 to 57.28 % of inhibition).
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      Antibodies to the Receptor Binding Domain of the spike protein, including variants, measured by

      the Haemagglutination test (HAT)

      We previously evaluated the usefulness of the HAT assay in determining antibody responses to

      the RBD of the SARS-CoV-2, wild type (WT) virus, B.1.1.7 variant and the B.1.351 variants at

      4 weeks following a single dose of the AZD1222 vaccine and had also evaluated this assay in
                                                                   27
      naturally infected individuals in Sri Lanka                    . In this study, we proceeded to investigate the

      differences in the antibody responses to the RBD in those with natural infection at 4- and 12-

      weeks following infection, and after a single dose of the AZD1222 vaccine. The antibody

      responses to the WT, B.1.1.7, B.1.351 and B.1.617.2 were measured.




      In those with mild illness, at 4 weeks from onset of illness the median antibody titre to the WT

      was 160 (IQR 80 to 320), B.1.1.7 was 120 (IQR 70 to 320), B.1.351 was 10 (IQR, 0 to 80) and

      for B.1.617.2 it was 40 (IQR 20 to 80). At 12 weeks following the onset of illness, although there

      was a slight reduction in the antibody titres to the WT (p=0.91) and B.1.617.2 (0.61), this was

      not statistically significant (Figure 3A). In those with moderate/severe illness at 4 weeks from

      onset of illness the median antibody titre to the WT was 1280 (IQR 160 to 1280), B.1.1.7 was

      640 (IQR 160 to 1280), B.1.351 was 40 (IQR, 0 to 160) and for B.1.617.2 it was 320 (IQR 80 to

      1280) (Figure 3B). There was no significant difference between the antibody titres for the WT

      compared to B.1.1.7 (p=0.12), but clearly differed for B.1.315 (p<0.0001) and B.1.617.2

      (p=0.004). Although the antibody titres for the WT and all the variants reduced from 4 to 12

      weeks in those with moderate/severe illness, this was not statistically significant (Figure 3B).
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      At 4 weeks following a single dose of the vaccine, the median antibody titre to the WT was 80

      (IQR 40 to 280), B.1.1.7 was 40 (IQR 20 to 160), B.1.351 was 20 (IQR, 0 to 70) and for

      B.1.617.2 it was 20 (IQR 0 to 70) (Figure 3C). At 12 weeks following a single dose of the

      vaccine, the antibody titre for WT was 80 (IQR 20 to 80), for B.1.1.7 it was 20 (IQR 0 to 80), for

      B.1.351 it was 20 (0 to 40) and for B.1.617.2 it was 0 (IQR 0 to 20). From 4 to 12 weeks,

      although there was no significance difference of the antibody titres of the RBD of the WT

      (p=0.05), B.1.351 (p=0.54) and B.617.2 (p=0.07), the antibody titres to B.1.1.7 significantly

      reduced (p=0.02) (Figure 3B). As previously described by us at 4 weeks following vaccination,

      the HAT titres were significantly lower to the B.1.1.7 (p=0.007), B.1.351 (<0.0001) and for

      B.1.617.2 (p<0.0001). However, there was no significance difference in antibody titres between

      B.1.351 and B.1.617.2 (p=0.43). At 12 weeks again the HAT titres were significantly lower to

      the B.1.1.7 (p<0.0001), B.1.351 (<0.0001) and for B.1.617.2 (p<0.0001) and no difference

      between antibody titres to B.1.351 and B.1.617.2.




      Antibodies to the RBD were significantly different between those with mild illness,

      moderate/severe illness and with those with a single dose of the vaccine at 4 weeks (p=0.004)

      and at 12 weeks (p=0.02) (Figure 4A). This difference was also seen for the B.1.1.7 at 4 weeks

      between those with mild illness, moderate/severe illness and with those with a single dose of the

      vaccine at 4 weeks (p=0.0006) and at 12 weeks (p<0.0001) (Figure 4B) and for B.1.617.2 at 4

      weeks (p=0.0002) and at 12 weeks (p=0.0004) (Figure 4C). However, there was no difference

      between the antibody titres to the B.1.351 between those with mild, moderate/severe illness and

      vaccinees at 4 weeks (p=0.36), but a significant difference was seen at 12 weeks (p=0.02)

      (Figure 4D).
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      Discussion

      In this study we have investigated the kinetics of IgG and IgA responses to S1, S2, RBD and N

      protein, ACE2 receptor blocking antibodies and antibodies against SARS-CoV-2 variants, in

      individuals at 4 and 12 weeks following natural infection and in those who had a single dose of

      the AZD2221. Based on the Luminex assays, IgG and IgA levels to S1, S2, RBD and N, had

      increased from 4 weeks to 12 weeks in those with mild illness and in the vaccinees, although the

      increase was only significant in the vaccinees. In the vaccinees, the most significant rise was

      seen for the S2 subunit, while in those with mild illness the rise was seen for IgG antibodies for

      the RBD. In those with moderate/severe illness, while there was no change in the IgG responses

      from 4 to 12 weeks, responses to the N protein had increased although this was not significant.

      Therefore, the kinetics of antibody responses to S1, S2, RBD and N appears to vary based on the

      severity of natural infection and also appeared to be different in vaccinees. Interestingly, blood

      samples of those who had a febrile illness in 2017 and 2018 also showed IgG and IgA responses

      to the S2 subunit, suggesting the presence of S2 subunit cross-reactive antibodies, in these

      donors as previously seen in other studies13,14. Following a single dose of the AZD2221 vaccine,

      the antibodies against S2 appears to continue to rise from 4 to 12 weeks, possibly due to

      stimulation of pre-existing cross-reactive memory B cell responses to the S2 subunit14.




      SARS-CoV-2 specific IgA antibodies have shown to be generated during early illness and have

      potent neutralizing ability15. IgA antibodies to the RBD have shown to develop earlier than IgG

      and while some studies have shown that serum IgA does not associate with clinical disease
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      severity15, in other studies, patients who developed severe disease were shown to have higher

      levels of virus specific IgA28. Serum IgA was shown to activate neutrophils, thereby leading to

      production of increased levels of inflammatory mediators possibly leading to disease

      pathogenesis16. We found that at 4 weeks of illness, those with moderate/severe illness had

      significantly higher serum IgA to S1, S2, RBD and N compared to those with mild illness, but

      these high levels of IgA declined and there was no differences between these two groups at 12

      weeks since onset of illness. Vaccinees had several fold lower IgA antibodies to all the SARS-

      CoV-2 proteins tested than those with mild and moderate/severe illness at 4 weeks and 12 weeks.

      The importance of serum IgA in preventing re-infection is currently unknown and if those with

      lower IgA have reduced protection is currently unknown.




      Although the IgG antibodies to S1, S2 and the RBD rose from 4 to 12 weeks in the vaccinees,

      the ACE2 receptor blocking antibodies, which were shown to correlate with neutralizing

      antibodies significantly decreased26. The HAT assay, which also measures antibodies to the RBD

      and has shown to correlate well with the ACE2 receptor blocking assay and with neutralizing

      antibodies23,27, also showed that the RBD binding antibodies decreased from 4 to 12 weeks in the

      vaccinees. This suggests that although antibodies to RBD, S1 and S2 have increased in vaccinees

      from 4 to 12 weeks, they might not be neutralizing antibodies, possibly through targeting other

      epitopes in these regions.




      Apart from assessing antibodies to the RBD to the wild type, we assessed the antibodies to three

      other VOCs, B.1.1.7, B.1.351 and B.1.617.2. At 4 weeks following vaccination, the vaccinees
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      had similar levels of antibodies to the RBD of WT as those with mild illness, the levels were

      significantly less for B.1.1.7 and for B.1.617.2. The antibody levels among vaccinees were

      similar to B.1.351 and B.1.617.2, showing equal reduction compared to antibody binding to the

      RBD of the WT. Following vaccination, these levels further declined at 12 weeks to VOCs but

      not to the WT, showing that a single dose of the AZD2221 was likely to offer less protection

      against VOCs. In fact, it has been shown that one dose of AZD2221 is only 33% effective in

      preventing symptomatic disease with B.1.617.2, 3 weeks following the first dose29. The efficacy

      of a single dose against B.1.617.2 is likely to decline further by 12 weeks, as the antibodies to

      RBD further waned. However, the efficacy of two doses of AZD2221 against hospitalization has

      been shown to be 92%, while for Pfizer-BioNTech was 96%30. Therefore, in countries which

      have outbreaks due to VOCs, especially B.1.617.2, it would be prudent to encourage second

      doses to increase efficacy as recommended. Interestingly, although those with mild or

      moderate/severe illness also had a marked reduction in antibodies to the RBD of B.1.351, they

      had significantly higher levels of antibodies to the RBD of B.617.2 at 4 weeks compared to

      B.1.351. However, by 12 weeks the antibody levels to both B.1.351 and B.1.617.2 were similar.

      Therefore, B.1.617.2 had less immune evasion than B.1.351 in those who were naturally

      infected, at least during early convalescence.




      In summary, we have investigated the kinetics and differences in IgG and IgA antibody

      responses to the S1, S2, RBD and N in those with varying severity of infection and vaccinees

      who received a single dose of AZD2221, which showed that vaccinees had significantly less IgA

      to SARS-CoV-2, but comparable IgG responses those with natural infection. However, following
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      a single dose, vaccinees had reduced antibody levels to the VOCs, which further declined with

      time.




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      Tables

                                                    4 weeks                          12 weeks                         P value

                                                    Median (IQR)                     Median (IQR)

      Mild infection (IgG)

      S1                                            734 (483 to 1071)                1336 (24 to 4714)                0.59

      S2                                            3503 (1656 to 5795)              3579 (106.8 to 9912)             0.68

      RBD                                           539 (840 to 2960)                2952 (38.7 to 7516)              0.59

      N                                             2094 (1554 to 4787)              2694 (51 to 7547)                0.84

      Mild infection (IgA)

      S1                                            152 (79 to 490)                  192 (19 to 422.1)                0.69

      S2                                            354 (219 to 561.5)               380.2 (165.6 to 869)             0.71

      RBD                                           656.5 (303 to 1616)              770.5 (180.3 to 1520)            0.98

      N                                             207.5 (78 to 468)                276.3        (165.5        to 0.31

                                                                                     496.5)

      Moderate/severe infection (IgG)

      S1                                            4776 (1395 to 7833)              5064 (2744 to 6038)              0.96

      S2                                            6869         (2001         to 8931 (7262 to 9607)                 0.85

      RBD                                           11,131)                          7829 (5083 to 8553)              0.67

      N                                             7486         (2784         to 9538            (8810         to 0.31
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                                                    10,218)                          10,844)

                                                    5831 (3123 to 9383)

      Moderate/severe infection (IgA)

      S1                                            1043 (220 to 1784)               391.8 (132.8 to 2021)            0.52

      S2                                            934 (399 to 3679)                1378 (153.9 to 2269)             0.73

      RBD                                           3375 (1192 to 5401)              1837 (506.1 to 4802)             0.38

      N                                             661 (211.5 to 6165)              273 (75.9 to 596.1)              0.18

      Vaccinated IgG

      S1                                            2215 (1223 to 3870)              3639 (2190 to 5617)              0.008

      S2                                            1625 (1063 to 4329)              6460 (4143 to 9594)              <0.0001

      RBD                                           4393 (2355 to 6131)              6209 (4481 to 8367)              0.003

      Vaccinated IgA

      S1                                            76.5 (38.2 to 166.5)             36 (23 to 92)                    0.04

      S2                                            203.3        (101.3        to 324.5 (143 to 788)                  0.02

      RBD                                           310.9)                           221 (116 to 437)                 0.11

                                                    327.5 (183 to 612.8)




      Table 1: Antibody responses to S1, S2, RBD and N protein of the SARS-CoV-2 in those

      with varying severity of illness and in those following a single dose of the AZD2221. MFI

      indicates the median fluorescence intensity.
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      Figure Legends

      Figure 1: IgG and IgA antibody levels to S1, S2, RBD and N protein of SARS-CoV-2 in

      individuals following natural infection and following a single dose of the AZD1222 vaccine.

      Serum IgG antibodies to S1, S2, RBD and N protein were measured by Luminex assays at 4

      weeks in those with mild illness (n=15), moderate/severe illness (n=15), vaccinees (n=20) and

      controls (n=19) (A) and again at 12 weeks in those with mild illness (n=14), moderate/severe

      illness (n=6), vaccinees (n=73) (B). IgA antibodies were also measured in the above groups at 4

      weeks (C) and at 12 weeks (D). The Kruskal-Wallis test was used to determine the difference

      between the antibody levels between the three different groups (two-tailed). The lines indicate

      the median and the interquartile range.




      Figure 2: ACE2 receptor blocking antibodies in patients with varying severity of illness and

      following a single dose of the AZD1222 vaccine. ACE receptor blocking antibodies were

      measured by the surrogate virus neutralizing test following natural infection at 4 weeks in those

      with mild illness (n=14) and moderate/severe illness (n=15) and at 12 weeks in those with mild
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      (n=14) and moderate/severe illness (n=6). Antibodies were also measured at 4 weeks (n=20) and

      12 weeks (n=73) in vaccinees following a single dose of AZD2221. Mann-Whitney test (two

      tailed) was used to determine the differences between antibody levels as 4 weeks and 12 weeks.

      The lines indicate the median and the interquartile range.




      Figure 3: Comparison of antibody titres to RBD of the SARS-CoV-2 using the HAT assay

      in those with varying severity of infection and in vaccinees. Antibody titres were measured

      individuals with mild illness (n=14) to the WT, B.1.1.7, B.1.351 and B.1.617.2 at 4 weeks and

      12 weeks since onset of illness (A), in those with moderate/severe illness at 4 weeks (n=15) and

      12 weeks (n=6) since onset of illness (B) and in those who received one dose of AZD1222

      vaccine at 4 weeks (n=16) and 12 weeks (n=73) following the vaccine (C). The difference

      between antibody titres to WT, B.1.1.7, B.1.351 and B.1.617.2 was determined using the

      Wilcoxon paired t test (two tailed) and the differences between antibody titres at 4 weeks and 12

      weeks was determined using the Mann-Whitney test (two tailed). The lines indicate the median

      and the interquartile range.




      Figure 4: Comparison of antibody titres to the RBD of the SARS-CoV-2 using the HAT

      assay for the wild type and for variants. Antibody titres were measured in patients with mild

      illness (n=14), moderate/severe illness (n=15) from 4 weeks since onset of illness and in those

      who received one dose of AZD1222 vaccine at 4 weeks (n=16), and again at 12 weeks in those

      who developed mild illness (n=14), moderate/severe illness (n=6) and in those who received 1
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      dose of AZD1222 vaccine (n=73), for the WT (A), B.1.1.7 (B), B.1.617.2 (C) and B.1.351 (D).

      The Kruskal-Wallis test was used to determine the difference between the antibody levels

      between the three different groups (two-tailed). The lines indicate the median and the

      interquartile range.
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                   EXHIBIT 6
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 Accelerated Article Preview

 SARS-CoV-2 infection induces long-lived
 bone marrow plasma cells in humans




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                                              Aaron J. Schmitz, Lena Hansen, Alem Haile, Michael K. Klebert, Iskra Pusic
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 Accepted: 14 May 2021
                                              Jane A. O’Halloran, Rachel M. Presti & Ali H. Ellebedy




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 Article

 SARS-CoV-2 infection induces long-lived
 bone marrow plasma cells in humans

 https://doi.org/10.1038/s41586-021-03647-4                       Jackson S. Turner1, Wooseob Kim1, Elizaveta Kalaidina2, Charles W. Goss3,
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                                                                  Iskra Pusic , Jane A. O’Halloran , Rachel M. Presti & Ali H. Ellebedy




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 Reinfections by seasonal coronaviruses occur 6-12 months af                 aft
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 viruses may be short-lived14,15. Early reports docu   doc
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             fter infec                                                                            ticipants had detectable serum titers approximately 1 month after
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 Blood samples
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 symptoms from seventy-seven SARS-CoV-2 convalescent volunteers
 sympt                                                                                             declined from 5.7 to 5.3 (mean difference 0.44±0.10, P<0.001, Fig. 1a).

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 Article
 In contrast to the anti-S antibody titers, IgG titers against the 2019/2020             into antibody-secreting plasmablasts. We examined the frequency of
 inactivated seasonal influenza virus vaccine were detected in all con-                  SARS-CoV-2 specific circulating MBCs in convalescent patients as well
 trol and SARS-CoV-2 convalescent participants and declined much                         as in the healthy controls. We stained peripheral blood mononuclear
 more gradually, if at all over the course of the study, with mean titers                cells with fluorescently labeled S probes and determined the frequency
 decreasing from 8.0 to 7.9 (mean difference 0.16±0.06, P=0.042) and                     of S-binding MBCs among isotype-switched IgDlo CD20+ MBCs by flow
 7.9 to 7.8 (mean difference 0.02±0.08, P=0.997) across the 1-to-4- and                  cytometry. For comparison, we co-stained the cells with fluorescently
 4-to-11-month intervals post symptom onset, respectively (Fig. 1b).                     labeled influenza virus hemagglutinin (HA) probes (Fig. 4a). S-binding
                                                                                         MBCs were identified in convalescent patients in the first sample col- ol-
                                                                                                                                                                ol
                                                                                         lected approximately 1 month after onset of symptoms, with compa-  ompa-
                                                                                                                                                            ompa
 Induction of S-binding long-lived BMPCs                                                 rable frequencies to influenza HA-binding memory B cells (Fig   (Fig.
                                                                                                                                                            g 4b
                                                                                                                                                            g. 4b).
                                                                                                                                                                 ).
 The relatively rapid early decline in anti-S IgG followed by slower decay               S-binding memory B cells were maintained for at least 7m postst sympt
                                                                                                                                                         sympto
                                                                                                                                                         symptom
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                                                                                                                                                                 m
 is consistent with a transition of serum antibodies from being secreted                 onset and were present at significantly higher frequencies
                                                                                                                                                  es compared to o




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 by short-lived plasmablasts to a smaller but more persistent popula-                    healthy controls, comparable to frequencies of influenza
                                                                                                                                               uenz
                                                                                                                                                enza HA
                                                                                                                                                      HA-binding
                                                                                                                                                       A-bindin
 tion of long-lived plasma cells generated later in the immune response.                 memory B cells identified in both groups (Fig. 4c).).
 The majority of this latter population resides in bone marrow1–6. To
 investigate whether SARS-CoV-2 convalescent patients developed a
 virus specific long-lived BMPC compartment, we examined their bone                      Discussion




                                                                                                                                       
 marrow aspirates obtained approximately 7 and 11 months after infec-                    This study sought to determine whether         er SARS-CoV-2
                                                                                                                                            SARS--CoV-2 in
                                                                                                                                            SAR          infection induces
 tion for anti-SARS-CoV-2 S-specific BMPCs. We magnetically enriched                     antigen-specific long-lived BMPCs in humans. We detected     de        SARS-CoV-2




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 BMPCs from the aspirates and then quantified the frequencies of those                   S-specific BMPCs in aspirates from       m 15 o
                                                                                                                                       off 19 cconvalescent
                                                                                                                                               conva        patients, and in
 secreting IgG and IgA directed against the 2019/2020 influenza virus                    none from the 11 control participants.
                                                                                                                              cipants. Frequencies
                                                                                                                                        Freq
                                                                                                                                        F    que       of anti-S IgG BMPCs
 vaccine, tetanus/diphtheria vaccine, and SARS-CoV-2 S protein by ELIS-                  modestly correlated with serum         m IgG titer
                                                                                                                                       titers 7-8 months after infection.
 pot (Fig. 2a). Frequencies of influenza and tetanus/diphtheria vaccine                  Phenotypic analysis by       y flow c
                                                                                                                             cytometry
                                                                                                                                   met demonstrated that S-binding
                                                                                                                                   metry
 specific BMPCs were comparable between control and convalescent                         BMPCs were quiescent,       nt, and thei
                                                                                                                             their frequencies were largely consistent




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 participants. IgG- and IgA-secreting S-specific BMPCs were detected                     in five paired aspirates
                                                                                                                rates collected
                                                                                                                      c           7-
                                                                                                                                  7 and 11-months post symptom onset.
 in 15 and 9 of the 19 convalescent participants, respectively, but not                  Importantly, w     wee de
                                                                                                                detected  d no S-binding cells among plasmablasts in
 in any of the 11 control participants (Fig. 2b). Importantly, none of the               blood samples  ples co
                                                                                                              coll
                                                                                                              collected
                                                                                                                 lected at the same time as the bone marrow aspirates
 convalescent patients had detectable S-specific antibody secreting                      by ELISpot  ott or flow cytometry
                                                                                                                 cy
                                                                                                                 cyttom       in any of the convalescent or control sam-
 cells in blood at the time of bone marrow sampling, indicating that
 the detected BMPCs represent bone marrow-resident cells and not
 contamination from circulating plasmablasts. Frequencies of anti-S IgG
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                                                                                         ples. Altogether,
                                                                                                   ltog
                                                                                         a long-lived
                                                                                         M
                                                                                                      gether,
                                                                                            ong ved BMPC
                                                                                            ong-liv
                                                                                         MBCs
                                                                                                        ether, thes

                                                                                                  in blood
                                                                                                          B
                                                                                                                the
                                                                                                                these data indicate mild SARS-CoV-2 infection elicits
                                                                                                                   response. Additionally, we showed that S-binding
                                                                                                     blood of convalescent patients are present at similar frequen-
                                                                        
 BMPCs were stable among the five participants sampled a second time                     cie
                                                                                         cies
                                                                                            es to tho
                                                                                                   those directed against influenza virus HA. Overall, our results are
 approximately 4m later, and anti-S IgA BMPC frequencies were stable               ble   consistent
                                                                                         consis
                                                                                         consististen with SARS-CoV-2 infection eliciting a canonical T-dependent
                                                                      

 in four of the five, with one decreasing below the limit of detection        ection n   B cell rresponse, in which an early transient burst of extrafollicular plas-
 (Fig. 2c). Consistent with their stable BMPC frequencies, anti-S IgG         G titers   mablasts generates a wave of serum antibodies that decline relatively
                                                                                         m
                                                                                         ma
 in the five participants remained consistent between 7- and 11-months    1-months
                                                                               onths     quickly. This is followed by more stably maintained serum antibody
 post symptom onset. IgG titers measured against the recep          rece
                                                                    receptorr bin
                                                                               bind
                                                                               bind--    levels that are supported by long-lived BMPCs.
 ing domain (RBD) of S, a primary target of neutralizing        lizing antibodies,
                                                                        antib i
                                                                        anti                 While this overall trend captures the serum antibody dynamics of
 were detected in four of the five convalescent patients    ati nts and we
                                                            atie          wer
                                                                          were also      the majority of participants, we observed that in three participants,
                                       



 stable between 7- and 11-months post symptom onset (Fig         (F
                                                                 (Fig.
                                                                    g 2d
                                                                       2d).
                                                                         ). F
                                                                            Frequen-     anti-S serum antibody titers increased between 4- and 7-months post
 cies of anti-S IgG BMPCs showed a modest but         but significant correlation        symptom onset after having initially declined between 1 and 4 months.
 with circulating anti-S IgG titers 7-8 months    onths post
                                                         posst symptom
                                                               symp          onset in    This could be stochastic noise, could represent increased net binding
 convalescent participants, consistent        nt with
                                                 wit long
                                                      long-ter
                                                      long-term maintenance of           affinity as early plasmablast-derived antibodies are replaced by those
                                     




 antibody levels by these cells. In accordance
                                          ccordance
                                             ordanc ce with previous reports22–24,
                                                         th p                            from affinity-matured BMPCs, or could represent increases in antibody
 frequencies of influenza vaccine-specific
                                        ine-
                                          e-specific
                                              pecific Ig
                                                       IgG
                                                        gG BMPCs and antibody            concentration from reencounter with the virus (although none of the
 titers exhibited a strong and significan
                                    signific
                                    significant
                                             antt corre
                                                  correlation
                                                  c           (Fig. 2e). Nine of the     participants in our cohort tested positive a second time). While anti-S
 aspirates from controls and       d twelve of the
                                                 th eighteen collected 7m post           IgG titers in the convalescent cohort were relatively stable in the interval
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 symptom onset yielded      ed a su
                                  suf
                                  sufficient
                                     fficient n
                                     fficie   number of BMPCs for additional             between 4- and 11-months post symptom onset, they did measurably
 analysis by flow cytometry.
                          ometry. We sta stained these samples intracellularly           decrease, in contrast to anti-influenza virus vaccine titers. While this
 with fluorescently  tly labe
                         labeled
                             eled S and influenza virus hemagglutinin (HA)               could represent an intrinsically less durable anti-S BMPC response
 probes to identify
                  entify and ch
                              characterize
                                hara           antigen specific BMPCs. As con-           compared to that against influenza virus, the largely stable frequencies
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 trols, we alsolso intracellularly
                   intracellula stained PBMC from healthy volunteers                     of anti-S BMPCs measured in the same individuals 7- and 11-months
 1 week after
         aftter SARS-CoV-2
                 SARS-CoV  V-2 or seasonal influenza virus vaccination (Fig. 3a,         post symptom onset argue against this possibility. It is possible that the
 Extended
       nded DaData
                ata Fig. 1a
                         1a-c). Consistent with the ELISpot data, low frequen-           decline reflects a final waning of early plasmablast-derived antibodies.
 cies
    es of S-binding
          S-bindin
          S-bind ng BMPCs were detected in ten of the twelve convales-                   It is also possible that the lack of decline in influenza titers was due to
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 cent specime
 cent  specimen
       specimens analyzed, but not in any of the nine control specimens                  boosting through exposure to influenza antigens from infection or
 (Fig. 3b
       3b).
         b)). While
              Wh both recently generated circulating plasmablasts and                    vaccination. Our data suggest that SARS-CoV-2 infection induces a
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 S- and HHA-binding BMPCs expressed Blimp1, BMPCs were differenti-                       germinal center response in humans because long-lived BMPCs are
 ated by
       b the lack of expression of Ki-67, indicating a quiescent state, as               thought to be predominantly germinal center-derived7. This is consist-
 well as higher levels of CD38 (Fig. 3c).
 we                                                                                      ent with a report demonstrating increased levels of somatic hypermuta-
                                                                                         tion in MBCs targeting the receptor binding domain of the S protein in
                                                                                         SARS-CoV-2 convalescent patients at 6 months compared to 1 month
 Robust S-binding memory B cell response                                                 after infection20.
 Memory B cells (MBCs) form the second arm of humoral immune mem-                            To our knowledge, the current study provides the first direct evidence
 ory. Upon antigen re-exposure, MBCs rapidly expand and differentiate                    for induction of antigen specific BMPCs after a viral infection in humans.


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 immune-mediated protection will be. Indeed, isotype-switched MBCs
 can rapidly differentiate into antibody secreting cells upon pathogen
 reexposure, offering a second line of defense34. Encouragingly, the
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 Article




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 Fig. 1 | SARS-CoV-2 infection elicits durable serum anti-spike antibody                                                      lescent donors
                                                                                 collected from five of the eighteen convalescent      donor
                                                                                                                                       donorsrs and
                                                                                                                                                an one additional




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 titers. a, Study design. Seventy-seven SARS-CoV-2 convalescent patients with    donor approximately 11 months after infection.
                                                                                                                          infecction. b,
                                                                                                                                      b, Blood
                                                                                                                                         Bloo IgG titers against S
 mild disease (ages 21–69) were enrolled and blood was collected approximately                                        right) measured
                                                                                                                      right
                                                                                 (left) and influenza virus vaccine (right)  me
                                                                                                                             measured b  by ELISA in convalescent
 1 month, 4 months, 7 months, and 11 months post onset of symptoms. Bone         patients (white circles) at the indicated
                                                                                                                       ated time
                                                                                                                            tim post
                                                                                                                                  pos onset of symptoms and
 marrow aspirates were collected from eighteen of the participants 7 to          controls (black circles). Dotted
                                                                                                               ted line indicates
                                                                                                                          dica
                                                                                                                          dicates  limit of detection. Means and
 8 months after infection and from eleven healthy volunteers (ages 23–60) with   pairwise differences at each   timepoint
                                                                                                           ach timep
                                                                                                                time        were
                                                                                                                              er estimated using a linear mixed
 no history of SARS-CoV-2 infection. Follow-up bone marrow aspirates were        model analysis.




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 Fig. 2 | SARS-CoV-2 infection elicits S-binding long-lived BMPCs.                         (n=18 co
                                                                                           (n=18    on
                                                                                                   convalescent, 11 control). c, Paired frequencies of BMPC secreting IgG
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 a, Representative images of ELISpot wells coated with the indicated antigens  igens or
                                                                               igen        (left) and
                                                                                           (left) a IgA (right) specific for S from convalescent participants 7m and 11m
 anti-Ig and developed in blue and red for IgG and IgA, respectively after ter             po symptom onset. d, Paired anti-S (left) and anti-RBD (right) IgG serum
                                                                                           post
 incubation of magnetically enriched BMPC from convalescent and control     ntrolol        antibody titers from convalescent participants 7m and 11m post symptom
 participants. b, Frequencies of BMPC secreting IgG (left) or IgA    (righ
                                                                  A (right)
                                                                     (righ                 onset. Data in panels (c) and (d, left) are also shown in (b) and Fig. 1b,
 antibodies specific for the indicated antigens, indicated as percentages
                                                                percentage of total        respectively. Each symbol represents one sample (n=5). e, Frequencies of IgG
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 IgG- or IgA-secreting BMPC in control (black circles) or convalescent
                                                           convalescent
                                                           conv vales                      BMPC specific for S (left) and influenza virus vaccine (right) plotted against
 participants 7m (white circles) or 11m (grey circles) post  symptom
                                                         ost symp
                                                             sympt      onset.
                                                                    om ons                 respective IgG titers in paired blood samples from control (black circles) or
 Horizontal lines indicate medians. P-values from two-sided
                                                     wo-sided Kruskal-Wallis
                                                                 Krusk l           tests   convalescent participants 7m post symptom onset (white circles). P- and
 with Dunn’s correction for multiple comparisons    between
                                                ons b
                                                    betwe       control and
                                                           een contr                       r-values from two-sided Spearman’s correlations. Each symbol represents one
 convalescent participants. Each symbol represents
                                              resents one
                                             pre        o sample
                                                             sa
                                                              amp                          sample (n=18 convalescent, 11 control).
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 Article




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 Fig. 3 | SARS-CoV-2 BMPCs are quiescent and distinct from circulating PBs.




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 a, Representative plots of intracellular S staining in CD20lo CD38+ IgDlo CD19+/lo
 CD3– live singlet BMPCs (gating in Extended Data Fig. 1a) from control (left) and




                                                                                           
 convalescent (right) magnetically enriched BMPC 7 months after symptom
 onset. b, Frequencies of S-binding BMPCs in total BMPC from control (black
 circles) or convalescent participants 7m post symptom onset (white circles).
 Horizontal lines indicate medians. P-value from two-sided Mann-Whitney
 U-test. Each symbol represents one sample (n=12 convalescent, 9 control).
 c, Histographs of Blimp1 (left), Ki-67 (center), and CD38 (right) staining on




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 S+ (blue) and HA+ (black) BMPC from magnetically enriched BMPC 7m post
 symptom onset and S+ plasmablasts (red), and naïve B cells (grey) from healthy
 donor PBMC 1 week after SARS-CoV-2 S immunization.



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 Fig. 4 | SARS-CoV-2 infection elicits a robust memory B cell response.              in (c). c, Frequencies of S- (left) and HA- (right)
                                                                                                                                    ight) binding memory
                                                                                                                                                    m
                                                                                                                                                    mem
                                                                                                                                                      em      B cells in PBMC




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 a, Representative plots of surface influenza virus hemagglutinin (HA) and S                                                    alesce
                                                                                     from control (black circles) and convalescent   ent (white circles)
                                                                                                                                                  cir      participants
 staining on CD20+ CD38lo/int IgDlo CD19+ CD3– live singlet memory B cells (gating   7 months after symptom onset. The      he dotted line
                                                                                                                                       lin
                                                                                                                                         ne in th
                                                                                                                                               the S plot indicates limit of
 in Extended Data Fig. 1d) from control (left) and convalescent (right) PBMCs        sensitivity, defined as the median + 2× SD o    of the controls. Each symbol
 7 months after symptom onset. b, Kinetics of S- (top) and HA- (bottom) binding      represents one sample (n=18     8c
                                                                                                                      co        scent, 11 control). Horizontal lines
                                                                                                                                scen
                                                                                                                      convalescent,
 memory B cells in PBMCs from convalescent patients collected at the indicated       indicate medians. P-values es from two-sided
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 days post onset of symptoms. Data from the 7-month timepoint are also shown




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 Article
 Methods
                                                                                  ELISA
 Sample collection, preparation, and storage                                      Assays were performed in 96-well plates (MaxiSorp; Thermo) coated
 All studies were approved by the Institutional Review Board of Wash-             with 100 μL of Flucelvax 2019/2020 or recombinant S in PBS, and plates
 ington University in St. Louis. Written consent was obtained from all            were incubated at 4 °C overnight. Plates were then blocked with 10%
 participants. Seventy-seven participants who had recovered from                  FBS and 0.05% Tween20 in PBS. Serum or plasma were serially diluted
 SARS-CoV-2 infection and eleven controls without SARS-CoV-2 infec-               in blocking buffer and added to the plates. Plates were incubated for
 tion history were enrolled (Extended Data Tables 1 and 3). Blood sam-            90 min at room temperature and then washed 3 times with 0.05%         5%
 ples were collected in EDTA tubes and peripheral blood mononuclear               Tween-20 in PBS. Goat anti-human IgG-HRP ( Jackson ImmunoRe-      noRe-
                                                                                                                                                    noRe
 cells (PBMCs) were enriched by density gradient centrifugation over              search, 1:2,500) was diluted in blocking buffer before adding  g to
                                                                                                                                                    o wells
 Ficoll 1077 (GE) or Lymphopure (BioLegend), remaining red blood                  and incubating for 60 min at room temperature. Plates were   ere washed
                                                                                                                                                   was
                                                                                                                                                   washhed
                                                                                                                                                        ed
 cells were lysed with ammonium chloride lysis buffer, and cells were             3 times with 0.05% Tween20 in PBS, and then washed 3 timtimes
                                                                                                                                            mes with PBS  S




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 immediately used or cryopreserved in 10% dimethylsulfoxide in FBS.               before the addition of o-Phenylenediamine dihydrochloride
                                                                                                                                       hlorid
                                                                                                                                         oride pperoxidase
                                                                                                                                                 eroxidas
 Approximately 30 mL bone marrow aspirates were collected in EDTA                 substrate (Sigma-Aldrich). Reactions were stopped  ped by the
                                                                                                                                              he ad
                                                                                                                                                  addition
                                                                                                                                                    di
 tubes from the iliac crest of eighteen convalescent participants and             of 1 M HCl. Optical density measurements were re taken
                                                                                                                                   t      at 4
                                                                                                                                             490 nm. The
 the controls. Bone marrow mononuclear cells were enriched by den-                half-maximal binding dilution for each serumum or plasma
                                                                                                                                      pl sma sa
                                                                                                                                      p       ssample was
 sity gradient centrifugation over Ficoll 1077, remaining red blood               calculated using nonlinear regression (Graphpad
                                                                                                                          Gra
                                                                                                                            aphpad Prism sm v8). The limit




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 cells were lysed with ammonium chloride buffer (Lonza) and washed                of detection was defined as 1:30.
 with PBS supplemented with 2% FBS and 2 mM EDTA. Bone marrow




                                                                                                                       
 plasma cells were enriched from bone marrow mononuclear cells                    Statistics
 using CD138 Positive Selection Kit II (Stemcell) and immediately used            Spearman’s correlation coefficientsients were
                                                                                                                           wer estimated
                                                                                                                                 esstim     to assess the relation-
 for ELISpot or cryopreserved in 10% dimethylsufoxide in FBS for flow             ship between 7-month anti-S and      d anti-influenza
                                                                                                                         anti-influ
                                                                                                                         ant              virus vaccine IgG titers
 cytometric analysis.                                                             and frequencies of BMPCs   Cs ssecr
                                                                                                                 secretingg IgG specific for S and influenza virus
                                                                                  vaccine, respectively.. Means and pairwise differences of antibody titers




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 Antigens                                                                         at each timepointt were   e estimated using a linear mixed model analysis
 Recombinant soluble spike protein (S) and its receptor binding                   with a first order
                                                                                                  err aut
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                                                                                                      autoregressive
                                                                                                               essiv covariance structure. Time since symp-
 domain (RBD) derived from SARS-CoV-2 was expressed as previously                 tom onset was tre
                                                                                                  trea
                                                                                                  treated
                                                                                                       ated as a ccategorical fixed effect for the four different
 described35. Briefly, mammalian cell codon-optimized nucleotide                  sample time             pace approximately 3 months apart. P-values were
                                                                                             me points spaced
                                                                                                        sp
 sequences coding for the soluble version of S (GenBank: MN908947.3,
 amino acids 1-1213) including a C-terminal thrombin cleavage site,
 T4 foldon trimerization domain, and hexahistidine tag cloned into
                                                                                  were
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                                                                                         8.4 (G
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                                                                                                 multiple comparisons using Tukey’s method. All analyses
                                                                                                cted
                                                                                                 ted u using SAS 9.4 (SAS Institute Inc, Cary, NC, USA) and
                                                                                              (Graphpad),
                                                                                               Grap         and P-values < 0.05 were considered significant.
                                                                   
 mammalian expression vector pCAGGS. The S protein sequence was
 modified to remove the polybasic cleavage site (RRAR to A) and two         wo    Flow
                                                                                     w cyto
                                                                                        cytometry
                                                                                        c
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 stabilizing mutations were introduced (K986P and V987P, wild           d typee   Staining for flow cytometry analysis was performed using cryo-
                                                                                  Staini
 numbering). RBD, along with the signal peptide (amino acids       cids
                                                                     ds 1-14)     preserved magnetically enriched BMPC and cryo-preserved PBMC.
                                                                                  pr
                                                                                  pre
 plus a hexahistidine tag were cloned into mammalian expression    pression
                                                                         ssion    For BMPC staining, cells were stained for 30 min on ice with CD45-A532
                                                                                  F
 vector pCAGGS. Recombinant proteins were produced           ed in Expi293F
                                                                      pi293F
                                                                          293     (HI30, Thermo, 1:50), CD38-BB700 (HIT2, BD Horizon, 1:500), CD19-PE
 cells (ThermoFisher) by transfection with purified       ed DNA using
                                                                   usi the
                                                                   us      th     (HIB19, 1:200), CXCR5-PE-Dazzle 594 ( J252D4, 1:50), CD71-PE-Cy7
 ExpiFectamine 293 Transfection Kit (ThermoFisher).   isher). Supernatants
                                                      ishe    Superna
                                                              Supern              (CY1G4, 1:400), CD20-APC-Fire750 (2H7, 1:400), CD3-APC-Fire810
                                    



 from transfected cells were harvested 3 (forr S) or 4 (for  (for RBD)
                                                                  RB days         (SK7, 1:50), and Zombie Aqua (all BioLegend) diluted in Brilliant Staining
 post-transfection, and recombinant proteins   ote
                                                 tein
                                                    ns were pu
                                                             purified using       buffer (BD Horizon). Cells were washed twice with 2% FBS and 2 mM
 Ni-NTA agarose (ThermoFisher), then buffer   buffe exchanged
                                                     ex
                                                      xchang into phos-           EDTA in PBS (P2), fixed for 1h using the True Nuclear permeabilization kit
 phate buffered saline (PBS) and concentrated
                                          ncen
                                             entrated us
                                                       using Amicon Ultra-        (BioLegend), washed twice with perm/wash buffer, stained for 1h with
                                  




 cel centrifugal filters (EMD Millipore).
                                      pore).
                                        ore). For
                                              Fo
                                               or flow
                                                    ow cytometry
                                                       c            staining,     DyLight 405-conjugated recombinant HA from A/Michigan/45/2015,
 recombinant S was labeled with    h Al
                                     Alexa
                                         xa Fluor 64
                                                  6647- or DyLight 488-NHS        DyLight 488- and Alexa 647-conjugated S, Ki-67-BV711 (Ki-67, 1:200,
 ester (Thermo Fisher); excess ess Alexa
                                   Alexxa Flu
                                          F
                                          Fluor 6647 and DyLight 488 were         BioLegend), and Blimp1-A700 (646702, 1:50, R&D), washed twice with
 removed using 7-kDa and 40-kDa Zeb      Zeba
                                            ba desalting columns, respec-         perm/wash buffer, and resuspended in P2. For memory B cell staining,
                    




 tively (Pierce). Recombinant
                         binant HA
                                H from
                                    fr     A/Michigan/45/2015
                                           A                     (a.a. 18-529,    PBMC were stained for 30 min on ice with biotinylated recombinant
 Immune Technology)   y) was labeledd with
                                      w DyLight 405-NHS ester (Thermo             HAs diluted in P2, washed twice, then stained for 30 min on ice with
 Fisher); excess DyLigh
                  DyLightht 405 was removed using 7-kDa Zeba desalting            Alexa 647-conjugated S, IgA-FITC (M24A, Millipore, 1:500), IgG-BV480
 columns. Recombinant
               coombinant H  HA ffrom A/Brisbane/02/2018 (a.a.18–529)             (goat polyclonal, Jackson ImmunoResearch, 1:100), IgD-SB702 (IA6-2,
       




 and B/Colorado/06/2017
             orado/06/2017 (a.a. 18–546) (both Immune Technology)
             orado/0                                                              Thermo, 1:50), CD38-BB700 (HIT2, BD Horizon, 1:500), CD20-Pacific
 were biotinylated
         iotinylated using
                     ussin the EZ-Link Micro NHS-PEG4-Biotinylation               Blue (2H7, 1:400), CD4-BV570 (OKT4, 1:50), CD24-BV605 (ML5, 1:100),
 Kit (Thermo
      Thermo Fisher);
                Fisher excess biotin was removed using 7-kDa Zeba                 streptavidin-BV650, CD19-BV750 (HIB19, 1:100), CD71-PE (CY1G4,
 desalting
   esalting
     alting col
            colu
            columns.
                  mn                                                              1:400), CXCR5-PE-Dazzle 594 ( J252D4, 1:50), CD27-PE-Cy7 (O323,
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                                                                                  1:200), IgM-APC-Fire750 (MHM-88, 1:100), CD3-APC-Fire810 (SK7,
 ELISpo
 ELISpot
       po
        ot                                                                        1:500), and Zombie NIR (all BioLegend) diluted in Brilliant Staining
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 Plates
      es were
         w    coated with Flucelvax Quadrivalent 2019/2020 seasonal               buffer (BD Horizon), and washed twice with P2. Cells were acquired
 influenza virus vaccine (Sequiris), tetanus/diphtheria vaccine (Grifols),
 influe                                                                           on an Aurora using SpectroFlo v2.2 (Cytek). Flow cytometry data were
 recombinant S, or anti-human Ig. Direct ex-vivo ELISpot was performed
 re                                                                               analyzed using FlowJo v10 (Treestar). In each experiment, PBMC were
 to determine the number of total, vaccine-binding, or recombinant                included from convalescent and control participants.
 S-binding IgG- and IgA-secreting cells present in BMPC and PBMC sam-
 ples using IgG/IgA double-color ELISpot Kits (Cellular Technologies,             Reporting summary
 Ltd.) according to the manufacturer’s instructions. ELISpot plates were          Further information on research design is available in the Nature
 analyzed using an ELISpot counter (Cellular Technologies Ltd.).                  Research Reporting Summary linked to this paper.
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                                                                                                    The WU353, WU367, and 368 studies were reviewed and approved by the Washington
 Data availability statement                                                                        University Institutional Review Board (approval nos. 202003186, 202009100, and 202012081,
                                                                                                    respectively).
 Relevant data are available from the corresponding author upon rea-
 sonable request.                                                                                   Author contributions A.H.E. conceived and designed the study. J.S.T. and A.H.E. designed
                                                                                                    experiments and composed the manuscript., A.H., M.K.K., I.P., J.A.O., and R.M.P. wrote and
                                                                                                    maintained the IRB protocol, recruited, and phlebotomized participants and coordinated
 35. Stadlbauer, D. et al. SARS‐CoV‐2 Seroconversion in Humans: A Detailed Protocol for a
                                                                                                    sample collection. J.S.T., W.K., E.K., A.J.S., and L.H. processed specimens. A.J.S. expressed
     Serological Assay, Antigen Production, and Test Setup. Curr. Protoc. Microbiol. 57,
                                                                                                    S and RBD proteins. J.S.T., W.K., and E.K. performed ELISA and ELISpot. J.S.T. performed flow
     (2020).
                                                                                                    cytometry. J.S.T., A.M.R., C.W.G. and A.H.E. analyzed data. All authors reviewed the
                                                                                                    manuscript.
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 specimens. We thank Lisa Kessels, AJ Winingham, the staff of the Infectious Diseases Clinical      Competing interests The Ellebedy laboratory received funding under sponsored research     sea
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 Research Unit at Washington University School of Medicine, and the nursing team of the bone        agreements that are unrelated to the data presented in the current study from Emergent
                                                                                                                                                                                        merge
                                                                                                                                                                                        mergent
 marrow biopsy suite at Washington University School of Medicine and Barnes Jewish Hospital         BioSolutions and from AbbVie. J.S.T., A.J.S., and A.H.E. are recipients of a licensing
                                                                                                                                                                                       ing agreement
                                                                                                                                                                                           agreemen
                                                                                                                                                                                           agreem    nt
 for sample collection and providing care for donors. The SARS-CoV-2 S and RBD protein              with Abbvie Inc. unrelated to the data presented in the current study. A.H.E.. is a consultant for




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 expression plasmids were kindly provided by F. Krammer (Icahn School of Medicine at Mt             Mubadala Investment Company and the founder of ImmuneBio Consulting         ing
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                                                                                                                                                                                    LLC. A
 Sinai). The Ellebedy laboratory was supported by National Institute of Allergy and Infectious      authors declare no competing interests.
 Diseases (NIAID) grants U01AI141990 and 1U01AI150747, NIAID Centers of Excellence
 for Influenza Research and Surveillance contracts HHSN272201400006C and                            Additional information
 HHSN272201400008C, and NIAID Collaborative Influenza Vaccine Innovation Centers                    Supplementary information The online version contains supplementary       material
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 contract 75N93019C00051. J.S.T. was supported by NIAID 5T32CA009547. L.H. was supported            https://doi.org/10.1038/s41586-021-03647-4.




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 by Norwegian Research Council grant 271160 and National Graduate School in Infection               Correspondence and requests for materials should be      addressed
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                                                                                                                                                             add ressed to A.H.E.
                                                                                                                                                                           A.H.
 Biology and Antimicrobials grant 249062. This study utilized samples obtained from the             Peer review information Nature thanks Stanley Perlman,    Andreas
                                                                                                                                                       lman, An
                                                                                                                                                              Andre    Radbruch and the other,
                                                                                                                                                                   eas Radb
 Washington University School of Medicine’s COVID-19 biorepository supported by the NIH/            anonymous, reviewer(s) for their contribution to the peer review of
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                                                                                                                                                                        th work. Peer reviewer




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 National Center for Advancing Translational Sciences grant UL1 TR002345. The content is            reports are available.
 solely the responsibility of the authors and does not necessarily represent the view of the NIH.                                             vailable at
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 Article
    a              4M           Lymphocytes                            4M                                                    4M                                                        4M




                                                                                                                                                                                                                                       CD3 :: APC-F810
                                                                                                                                                                                                                       Aqua–                             106                                                                        106                       IgDlo
                                95.5                                                                                                                                                                                    92.4                                                                                                                                  98.5
                                                                                                                                                                                                                                                         105




                                                                                                                                                                                                                                                                                                                 CD19 :: PE
                                                               FSC-W
                   3M                                                  3M                                                    3M                                                        3M                                                                                                                                           105




                                                                                                                                                                               SSC-A
     SSC-A




                                                                                                                     SSC-W
                                                                                                                                                                                                                                                                                                    CD19
                                                                                        Single CellsF                                                    Single CellsS                                                                                                                               84.8                           104
                   2M                                                  2M                                                    2M                                                        2M                                                                104
                                                                                                99.3                                                             99.6
                   1M                                                  1M                                                    1M                                                        1M                                                                    0
                                                                                                                                                                                                                                                                                                                                     0
                                                                                                                                                                                                                                                         -104
                       0                                                   0                                                         0                                                     0
                                                                                                                                                                                                                4      5    6                                                                  4    5      6
                            0      1M     2M   3M       4M                     0   1M      2M    3M       4M                              0    1M        2M     3M      4M                            0    10       10 10                                                        0        10       10 10                                     0            104 105 106
                                        FSC-A                                            FSC-H                                                      SSC-H                                             Zombie Aqua                                                      CD19 :: PE                                                            IgD :: PE-Cy5

     b                                                                                                         c                          Influenza virus                       SARS-CoV-2
                                        Control                      Convalescent                                                           vaccinated                           vaccinated                                                                                                        PBMC                                               BMPC
                                                                                                                                                                                                                                                                                                                                                         C
                                               HA   +
                                                                                                                            10   6                                                                                                                                               106                                                                       D20lo CD38+
                                                                                                                                                                                                                                                                                                                                                          CD20
                   106




                                                                                                                                                                                                                                                                 CD38 :: BB700
                                               0.16                                     0.065                                                       S+                                                                                                                                                  CD20lo CD38+                                             24.6
     HA :: Dy405




                                                                                                                                                                                               32.2




                                                                                                               S :: Dy488
                        5                                                                                                                           0                                                                                                                            105                            18.5
                   10                                                                                                       10   5




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                   -104                                                                                                 -104                                                                                                                                                     -103
                           -104     0      104 105 106                                                                               -104      0    104       105 106                                                                                                                      0         104 105 106
                                 S :: A647                                                                                               S :: A647                                                                                                                                      CD20 :: APC-F750
                                                                                                                                                                                                                                                                                                 PC-F75
                                                                                                                                                                                                                                                                                                  C-F7500




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   d          4M                                                     4M                                                     4M                                                       4M                                                                                                                                                               IgDlo




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                                                                                                                                                                                                                                                                                                               CD19 :: BV750
                                        Lymphocytes                                                                                                                                                             NIR-                                                                                                                                  13.5
                                                                                                                                                                                                                                                     105                                           CD19
                                                                                                                                                                                                                                                                                                   CD
                                                                                                                                                                                                                                                                                                    D19
                                                                                                                SSC-W




                                                                                                                                                                             SSC-W
                                                                                                                                                                                                                                                                                                                                         5
                                                                                                                                                                                                                                                                                                                                    10
                                                             FSC-W




              3M                                                     3M                                                     3M                                                       3M
   SSC-A




                                             68.9                                                                                                                                                               99.8
                                                                                          Single CellsF                                                                                                                                                                                                4
                                                                                                                                                                                                                                                                                                    7.94
                                                                                                 97.2                                         Single CellsS                                                                                          104                                                                            104
              2M                                                     2M                                                     2M                                                       2M
                                                                                                                                                      99.8
                                                                                                                                                                                                                                                         0                                                                          103
              1M                                                     1M                                                     1M                                                       1M
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                   0                                                   0                                                         0                                                     0                                                                                                                                        -103




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                       0          1M     2M    3M       4M                 0       1M     2M    3M         4M                         0       1M     2M       3M     4M                          0        104 105 106                                                    0               104 105 106                                          0           104 105 106
                                       FSC-A                                            FSC-H                                                      SSC-H                                          Zombie NIR
                                                                                                                                                                                                           R                                                     CD19 :: BV750
                                                                                                                                                                                                                                                                 CD                                                                              IgD :: SB702

                                                                                                                                                                                                                                                                                                                                                           CD20loCD38+




                                                                                                                                                                                                                                                                                                                    CD38 :: BB700
                                                                                                                                                                                                                                                                                                                                     106
                                                                                                                                                                                                                                                                                                                                                           4.94
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                                                                                                                                                                                                                                                                                                                                                94.2
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                                                                                                                                                                                                                                                                                                                                          CD20 :: Pacific Blue
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 Extended Data Fig. 1 | Flow cytometry identification of SARS-CoV-2     2 elicited                                                                                              (HA)
                                                                                                                                                                                (H staining in BMPC from control (left) and convalescent (right) samples
 plasma cells and memory B cells. a, d, Flow cytometry gating strategies
                                                                      egiess                                                                                                    7 months after symptom onset. c, Representative plots of intracellular
 for BMPC in magnetically enriched BMPC and plasmablasts in PBMC   BM (a)) and
                                                                            nd                                                                                                  S staining in plasmablasts in PBMC 1 week after seasonal influenza virus or
 isotype-switched memory B cells and plasmablasts in PBMC (d).                                                                                                                  SARS-CoV-2 vaccination.
 b, Representative plots of intracellular S and influenza viruss hemagglutinin
                                                                 hemagglutin
                                                                 hemagglut
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 Extended Data Table 1 | SARS-CoV-2 convalescent patient demographics

                                                                 Bone marrow biopsy
                                              Total N=77
                                                                        N=19
                                                N (%)
                                                                        N (%)
  Age (median [range])                         49 (21-69)             52 (30-69)
  Sex
    Female                                     38 (49.4)                7 (36.8)
    Male                                       39 (50.6)                12 (63.2)
  Race
    White                                      70 (90.9)                18 (94.7)




                                                                                          
    Black                                       1 (1.3)                   0 (0)
    Asian                                       4 (5.2)                   0 (0)
    Other                                       2 (2.6)                  1 (5.3)
  Comorbidities
    Asthma                                     13 (16.9)                3 (15.8)




                                                                                      
    Lung disease                                  0 (0)                    0 (0)
    Heart disease                               3 (3.9)                    0 (0)




                                                                                      
    Hypertension                               13 (16.9)                6 (31.6)
    Diabetes mellitus                            3 (3.9)                 3 (15.8)
    Cancer                                      10 (13)                 3 (15.8)
    Autoimmune disease                          4 (5.2)                 2 (10.5))
    Hyperlipidemia                              8 (10.4)                 2 (10.5)
                                                                              0.5
                                                                                5)




                                                                        
    Hypothyroidism                              5 (6.5)                 3 (15.8)
                                                                           (1
    Gastroesophageal reflux disease              5 (6.5)                 2 (10.5)
                                                                           (10.5
                                                                           (
    Other                                      26 (33.8)                10  (52.6)
                                                                          0 (52
                                                                            (52
                                                                              2.6)
       Solid organ transplant                   1 (1.3)                     (5.3)
                                                                          1 (5
                                                                             5.3
                                                                               .3)
       Obesity                                  1 (1.3)
                                                                          0 (0)
                                                                             (0
                                                 
                                               
                            
                          
               
     
 
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 Article
 Extended Data Table 2 | SARS-CoV-2 convalescent patient symptoms

                                                                Bone marrow biopsy
                                                  Total N=77
                                                                      N=19
                                                    N (%)
                                                                      N (%)
  First symptom
    Cough                                          12 (15.6)         3 (15.8)
    Diarrhea                                        1 (1.3)            0 (0)
    Dyspnea                                         2 (2.6)           1 (5.3)
    Fatigue                                         7 (9.1)            0 (0)
    Fever                                          22 (28.6)         9 (47.4)




                                                                                         
    Headache                                        8 (10.4)         2 (10.5)
    Loss of taste                                    3 (3.9)         2 (10.5)
    Malaise                                          4 (5.2)          1 (5.3)
    Myalgias                                        9 (11.7)           0 (0)
    Nasal congestion                                 2 (2.6)           0 (0)




                                                                                     
    Nausea                                           1 (1.3)           0 (0)
    Night sweats                                    1 (1.3)            0 (0)




                                                                                     
    Sore throat                                     5 (6.5)           1 (5.3)
  Symptom present during disease
    Fever                                          65 (84.4)         17 (89.5)
    Cough                                          54 (70.1)         14 (73.7)7)
    Dyspnea                                        31 (40.3)         11 (57.9)
                                                                           7.9)




                                                                    
    Nausea                                         19 (24.7)          4 (21.1)
                                                                        (2
    Vomiting                                        9 (11.7)          3 (15.8)
                                                                        (15.8
                                                                        (
    Diarrhea                                       39 (50.6)         10  (52.6)
                                                                       0 (52
                                                                         (52
                                                                           2.6)
    Headaches                                       47 (61)              (63.2)
                                                                     12 (663.2
                                                                           3
    Loss of taste
    Loss of smell
    Fatigue
                                                   42 (54.5)
                                                   42 (54.5)
                                                   38 (49.4)
                                                                    110
                                                                         (57.9)
                                                                     11 (5
                                                                       0 (52.6)
                                                                      7 (36.8)
                                                     
    Malaise                                          6 (7.8)           1 (5.3)
                                                   

    Myalgias or body aches                         34 (44.2)
                                                         4.2)         8 (42.1)
    Sore throat                                    12 (15.6)
                                                         5.6)          1 (5.3)
    Chills                                         25 (32.5)
                                                         2.5)         6 (31.6)
    Nasal congestion                                 6 (7.8)
                                                          8))           0 (0)
    Other                                              (41.6)
                                                   322 (4             7 (36.8)
                                



   Duration of symptoms in days                    14  (1-43)
                                                    4 (1
                                                       (1-           13 (6-30)
   (median [range])
   Days from symptom onset to positive    itive    6 (0-36)          6 (1-31)
   SARS-CoV-2 PCR test (median          n
                              




   [range])
   Days from symptom onset    ett too 1-month
                                      1-montnth   41 (21-84)        34 (22-71)
   blood sample collection n (median
                             (med
                             (me  edian
                                      ian
   [range])
                 




   Hospitalization                                  6 (7.8)           1 (5.3)
   COVID medications
                   atio s
                   ation
    Hydroxychloroquine
                loroquuine
                      ui
                       ine                          2 (2.6)            0 (0)
    Chloroquine
            uine
            uin                                     1 (1.3)            0 (0)
      




    Azithromycin
          romycin
          romycin                                  14 (18.2)         6 (31.6)
    Lopinavir/ritonavir
      opin
         navir/ritona                                0 (0)             0 (0)
    Remdesivir
    Remd sivir
    Remdes                                           0 (0)             0 (0)
    Convalescent
    Convales
    Convalesc      plasma                            0 (0)             0 (0)
 




    None
    N                                              61 (79.2)         12 (63.2)
    Other
    Ot
    Othher                                          2 (2.6)           1 (5.3)

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 Extended Data Table 3 | SARS-CoV-2 convalescent patient symptoms and follow up samples (months 4–11)
                                          Month 4                         Month 7                      Month 11
                                                Bone marrow                     Bone marrow                       Bone marrow
                                Total N= 76                     Total N= 76                     Total N= 42
                                                biopsy N=19                     biopsy N=18                       biopsy N=12
                                  N (%)                           N (%)                           N (%)
                                                   N (%)                           N (%)                             N (%)
  Days from positive SARS-      125 (102-192)   117 (105-150)   222 (191-275)   213 (200-247)   308 (283-369)     303 (283-325)
  CoV-2 PCR test to follow up
  visit (median [range])
  Days from symptom onset       131 (106-193)   124 (108-155)   227 (194-277)   222 (205-253)   314 (288-373)     309 (297-343)
                                                                                                                           3433)
                                                                                                                           343)
  to blood sample collection
  (median [range])




                                                                                                                    
  Any symptom present at          25 (32.9)       8 (42.1)         33 (43)          10 (55.6)     20 (47.6)             (50)
                                                                                                                      6 (50)
  follow up visit
    Fever                           0 (0)           0 (0)          2 (2.6)            0 (0)        1 (2.4)             0 (0)
    Cough                          1 (1.3)         1 (5.3)          0 (0)             0 (0)        1 (2.4)             0 (0)
                                                                                                                         (
    Dyspnea                        7 (9.2)        2 (10.5)         6 (7.9)          3 (16.7)             3)
                                                                                                  6 (14.3)              (
                                                                                                                      3 (25)




                                                                                                     
    Nausea                         1 (1.3)          0 (0)          1 (1.3)            0 (0)         0 (0)              0 (0)
    Vomiting                       1 (1.3)         1 (5.3)           0 (0)            0 (0)         0 (0)              0 (0)
    Diarrhea                       2 (2.6)         1 (5.3)         1 (1.3)            0 (0)         0 (0)              0 (0)




                                                                                                
    Headaches                      1 (1.3)          0 (0)          3 (3.9)            0 (0)        2 (4.8)
                                                                                                     (4.8
                                                                                                     (4 .8)            0 (0)
    Loss or altered taste         8 (10.5)          0 (0)          9 (11.8)          1 (5.6)      5 (1 1 9)
                                                                                                         9
                                                                                                    (11.9)            1 (8.3)
    Loss or altered smell         13 (17.1)       2 (10.5)        12 (15.8)         2 (11.1)         (19)
                                                                                                   8 (1              2 (16.7)
    Fatigue                       9 (11.8)        4 (21.1)        13 (17.1)         5 (27.8))      8 (19)             3 (25)
    Forgetfulness/brain fog       8 (10.5)        6 (31.6)        12 (15.8)         6 (33.3)
                                                                                          .3)     10 (23.8)          4 (33.3)




                                                                                
    Hair loss                      5 (6.6)         1 (5.3)         3 (3.9)           1 (5.6
                                                                                       (5.6))      2 (4.8)             0 (0)
    Other                          7 (9.2)        3 (15.8)        12 (15.8)          1 (5.6)
                                                                                       (5.6)      10 (23.8)           1 (8.3)
       Joint pain                  3 (3.9)         1 (5.3)          7 (9.2)          1 (5.3)
                                                                                       (5. )
                                                                                       (5.3        3 (7.1)             0 (0)



                                                                             
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 Article
 Extended Data Table 4 | Healthy control demographics

                                              Total N= 11
  Variable
                                                 N (%)
  Age (median [range])                         38 (23-53)
  Sex
    Female                                       4 (36.4)
    Male                                         7 (63.6)
  Race
    White                                        8 (72.7)
    Black                                         1 (9.1)




                                                                          
    Asian                                         1 (9.1)




                                                                  
                                                                 
                                                            
                                                            
                                                  
                                                
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     
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                   EXHIBIT 7
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     Immunological memory to SARS-CoV-2 assessed for greater than six
     months after infection

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     ABSTRACT
     Understanding immune memory to SARS-CoV-2 is critical for improving diagnostics and vaccines, and
     for assessing the likely future course of the pandemic. We analyzed multiple compartments of circulating
     immune memory to SARS-CoV-2 in 185 COVID-19 cases, including 41 cases at > 6 months post-
     infection. Spike IgG was relatively stable over 6+ months. Spike-specific memory B cells were more
     abundant at 6 months than at 1 month. SARS-CoV-2-specific CD4+ T cells and CD8+ T cells declined with
     a half-life of 3-5 months. By studying antibody, memory B cell, CD4+ T cell, and CD8+ T cell memory to
     SARS-CoV-2 in an integrated manner, we observed that each component of SARS-CoV-2 immune
     memory exhibited distinct kinetics.
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     INTRODUCTION
     Coronavirus disease 2019 (COVID-19), caused by the novel severe acute respiratory syndrome
     coronavirus 2 (SARS-CoV-2), is a serious disease that has resulted in widespread global morbidity and
     mortality. Humans make SARS-CoV-2-specific antibodies, CD4+ T cells, and CD8+ T cells in response to
     SARS-CoV-2 infection (1–4). Studies of acute and convalescent COVID-19 patients have observed that T
     cell responses are associated with lessened disease (5–7), suggesting that SARS-CoV-2-specific CD4+ T
     cell and CD8+ T cell responses may be important for control and resolution of primary SARS-CoV-2
     infection. Ineffective innate immunity has been strongly associated with a lack of control of primary SARS-
     CoV-2 infection and a high risk of fatal COVID-19 (8–12), accompanied by innate cell immunopathology
     (13–18). Neutralizing antibodies have generally not correlated with lessened COVID-19 disease severity
     (5, 19, 20), which was also observed for Middle Eastern respiratory syndrome (MERS), caused by
     infection with the human coronavirus MERS-CoV (21). Instead, neutralizing antibodies are associated
     with protective immunity against secondary (2°) infection with SARS-CoV-2 or SARS-CoV in non-human
     primates (3, 22–25). Additionally, human subjects with detectable neutralizing antibodies were
     protected from 2° COVID-19 in a ship outbreak (26). Passive transfer of neutralizing antibodies in
     advance of infection (mimicking the conditions of 2° infection) effectively limits upper respiratory tract
     (URT) infection, lower respiratory tract (lung) infection, and symptomatic disease in animal models (27–
     29). Passive transfer of neutralizing antibodies provided after initiation of infection in humans have had
     more limited effects on COVID-19 (30, 31), consistent with a substantial role for T cells in control and
     clearance of an ongoing SARS-CoV-2 infection. Thus, studying antibody, memory B cell, CD4+ T cell, and
     CD8+ T cell memory to SARS-CoV-2 in an integrated manner is likely important for understanding the
     durability of protective immunity against COVID-19 generated by primary SARS-CoV-2 infection (1, 19,
     32).
               While sterilizing immunity against viruses can only be accomplished by high-titer neutralizing
     antibodies, successful protection against clinical disease or death can be accomplished by several other
     adaptive immune memory scenarios. Possible mechanisms of immunological protection can vary based
     on the relative kinetics of the immune memory responses and infection. For example, clinical hepatitis
     after hepatitis B virus (HBV) infection is prevented by vaccine-elicited immune memory even in the
     absence of circulating antibodies, because of the relatively slow course of HBV disease (33, 34). The
     relatively slow course of severe COVID-19 in humans (median 19 days post-symptom onset (PSO) for
     fatal cases (35)) suggests that protective immunity against symptomatic or severe 2° COVID-19 may very
     well involve memory compartments such as circulating memory T cells and memory B cells (which can
     take several days to reactivate and generate recall T cell responses and/or anamnestic antibody
     responses) (19, 21, 32).
               Immune memory, from either primary infection or immunization, is the source of protective
     immunity from a subsequent infection (36–38). Thus, COVID-19 vaccine development is closely tied to
     the topic of immunological memory (1, 3). Despite intensive study, the kinetics, duration, and evolution
     of immune memory in humans to infection or immunization are not in general predictable based on the
     initial effector phase, and immune responses at short time points after resolution of infection are not
     very predictive of long-term memory (39–41). Thus, assessing responses over an interval of six months
     or more is usually required to ascertain the durability of immune memory.
               A thorough understanding of immune memory to SARS-CoV-2 requires evaluation of its various
     components, including B cells, CD8+ T cells, and CD4+ T cells, as these different cell types may have
     immune memory kinetics relatively independent of each other. Understanding the complexities of
     immune memory to SARS-CoV-2 is key to gain insights into the likelihood of durability of protective
     immunity against re-infection with SARS-CoV-2 and 2° COVID-19 disease. In the current study, we
     assessed immune memory of all three branches of adaptive immunity (CD4+ T cell, CD8+ T cell, and
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     humoral immunity) in a cross-sectional study of 185 recovered COVID-19 cases, extending out to greater
     than six months post-infection. The findings have implications for immunity against 2o COVID-19, and
     thus the potential future course of the pandemic (42, 43).

     COVID-19 cohort
     185 individuals with COVID-19 were recruited for this study. Subjects (43% male, 57% female)
     represented a range of asymptomatic, mild, moderate, and severe COVID-19 cases (Table S1), and were
     recruited from multiple sites throughout the United States. The majority of subjects were from California
     or New York. The majority of subjects had a mild case of COVID-19, not requiring hospitalization. 92%
     of subjects were never hospitalized for COVID-19; 7% of subjects were hospitalized, some of whom
     required intensive care unit (ICU) care (Table S1; hospitalization requirement not reported for 1 subject),
     consistent with the COVID-19 disease severity distribution in the USA. The majority of subjects (97%)
     reported symptomatic disease (Table S1; not reported for 1 subject). The ages of the subjects ranged
     from 19 to 81 years old (Table S1). Most subjects provided a blood sample at a single time point,
     between 6 days (d) post-symptom onset (PSO) and 240d PSO (Table S1), with 41 samples at > six months
     PSO (d178 or longer). Thirty-eight subjects provided longitudinal blood samples over a duration of
     several months (2-4 time points. Table S1).

     SARS-CoV-2 circulating antibodies over time
     The vast majority of SARS-CoV-2 infected individuals seroconvert, at least for a duration of months (1, 2,
     4, 20, 44–46). These estimates range from 91-99% in large studies (20, 46). Durability assessments of
     circulating antibody titers in Figure 1 were based on data > 20d PSO, using curve fits modeling a
     continuous decay, one-phased decay, or two-phased decay, with the best fitting model shown in blue.
     Negative and positive controls were used to standardize each assay and normalize across experiments.
     SARS-CoV-2 spike IgG endpoint ELISA titers in plasma were measured for all subjects of this cohort (Fig.
     1A-B). Spike receptor binding domain (RBD) IgG was also measured (Fig. 1C-D), as RBD is the target of
     the vast majority of neutralizing antibodies against SARS-CoV-2 (4, 28, 47, 48). SARS-CoV-2 pseudovirus
     (PSV) neutralizing antibody titers were measured in all subjects, as the functional complement of the
     antibody binding assays (Fig. 1E-F). Nucleocapsid (N) IgG endpoint ELISA titers were also measured for
     all subjects (Fig. 1G-H), as nucleocapsid is a common antigen in commercial SARS-CoV-2 serological
     test kits.
                SARS-CoV-2 spike IgG titers were nearly stable from d20-d240 PSO, when assessing all COVID-
     19 subjects by cross-sectional analysis (half-life t1/2 = 140d, Fig. 1A). Spike IgG titers were heterogenous
     among subjects (range 5 to 73,071; 575 median), as has been widely observed (20, 48). This gave a wide
     confidence interval for the spike IgG t1/2 (95% CI: 89 to 329d). While the antibody responses likely have
     underlying bi-phasic decay kinetics, the best fit curve was a linear decay, probably related to
     heterogeneity between individuals. SARS-CoV-2 nucleocapsid IgG kinetics were similar to spike IgG
     over 8 months (t1/2 67d, 95% CI: 49-105d. Fig. 1G). As a complementary approach, using paired samples
     from the subset of subjects who donated at two or more time points, the calculated spike IgG titer
     average t1/2 was 100d, (95% CI: 64-220d, Fig. 1B) and the nucleocapsid IgG titer average t1/2 was 67d,
     (95% CI: 54-88d, Fig. 1H). The percentage of subjects seropositive for spike IgG at 1 month PSO (d20-
     50) was 98% (54/55). The percentage of subjects seropositive for spike IgG at 6 to 8 months PSO (d
     >178) was 90% (36/40).
               Cross-sectional analysis SARS-CoV-2 RBD IgG titers from d20-d240 PSO gave an estimated t1/2
     of 83d, 95% CI 62-127d (Fig. 1C). As a complementary approach, we again used paired samples, which
     gave an average t1/2 of 68d, 95% CI: 57-85d (Fig. 1D). The percentage of subjects seropositive for RBD
     IgG at 6 to 8 months PSO was 88% (35/40). Thus, the RBD IgG titer maintenance largely matched that of
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     spike IgG. SARS-CoV-2 PSV neutralization titers in the full cohort largely matched the results of SARS-
     CoV-2 RBD IgG ELISA binding titers (Fig.1E-F). A one-phase decay model was the best fit (P=0.015, F
     test. Initial decay t1/2 27d, followed by an extended plateau phase. Fig. 1E), while a linear decay gave an
     estimated t1/2 of 114d. Paired timepoints analysis of the PSV neutralization titers gave an estimated t1/2
     87d, (95% CI: 68-123d, Fig. 1F). The percentage of subjects seropositive for SARS-CoV-2 neutralizing
     antibodies (titer > 20) at 6 to 8 months PSO was 90% (36/40). Notably, even low levels of circulating
     neutralizing antibody titers (> 1:20) were associated with a substantial degree of protection against
     COVID-19 in non-human primates (24, 49). Thus, modest levels of circulating SARS-CoV-2 neutralizing
     antibodies are of biological interest in humans.
                 SARS-CoV-2 spike IgA (Fig. 1I-J) and RBD IgA (Fig.1K-L) titers were also assessed. Paired
     timepoints analysis of spike IgA titers yielded an estimated t1/2 of 214d, 95% CI 126-703d (Fig. 1J).
     Cross-sectional analysis of spike IgA fit a shohrt one-phase decay model with an extended plateau phase
     (initial t1/2 of 11d, Fig. 1I). Circulating RBD IgA had an estimated t1/2 of 27d, 95% CI 15-58d, decaying by
     ~90d in a majority of COVID-19 cases to levels indistinguishable from uninfected controls (Fig. 1K),
     consistent with observations 3 months PSO (46, 50). By paired sample analysis, long-lasting RBD IgA was
     made in some subjects, but often near the limit of sensitivity (LOS) (Fig. 1L).

     SARS-CoV-2 memory B cells
     To identify SARS-CoV-2-specific memory B cells, fluorescently labeled multimerized probes were used
     to detect B cells specific to spike, RBD, and nucleocapsid (Fig 2A, Fig. S1). Antigen-binding memory B
     cells (defined as IgD– and/or CD27+) were further distinguished according to surface immunoglobulin
     (Ig) isotypes: IgM, IgG or IgA (Fig. 2B, Fig. S1).
              Spike-specific memory B cells in SARS-CoV-2 unexposed donors were rare (median 0.0078%.
     Fig 2A, 2C.). Cross-sectional analysis revealed that frequencies of SARS-CoV-2 spike-specific memory B
     cells increased over the first ~150d PSO and then plateaued (Pseudo-first order model for best fit curve.
     R2 = 0.14. Better fit than second order polynomial model by Akaike’s Information Criterion. Fig 2C, Fig.
     S2A). Spike-specific memory B cell frequencies increased from the first time-point (d36-d163) to the
     second time-point (d111-d240) in paired samples from 24 of 36 longitudinally tracked donors (Fig 2D).
              RBD-specific memory B cells displayed similar kinetics to spike-specific memory B cells. As
     expected, RBD-specific memory B cells were undetectable in SARS-CoV-2 unexposed subjects (Fig. 2E.
     Fig. S2C). RBD-specific memory B cells appeared as early as 16d PSO, and the frequency steadily
     increased in the following 4-5 months (Fig. 2E. Fig. S2B-C). 29 of 36 longitudinally tracked individuals
     had higher frequencies of RBD-specific memory B cells at the later time point (Fig. 2F), again showing
     an increase in SARS-CoV-2 specific memory B cells several months post-infection. ~10-30% of spike-
     specific memory B cells from SARS-CoV-2 convalescent donors were specific for the RBD domain (Fig.
     2A, Fig. S2B).
              SARS-CoV-2 nucleocapsid-specific memory B cells were also detected after SARS-CoV-2
     infection (Fig. 2A). Similar to spike- and RBD-specific memory B cells, nucleocapsid-specific memory B
     cell frequency steadily increased during the first ~5 months PSO (Fig. 2G, 2H, Fig. S2D). Antibody
     affinity maturation could potentially explain the increased frequencies of SARS-CoV-2-specific memory
     B cells detected by the antigen probes. However, geometric mean fluorescent intensity (MFI) of probe
     binding was stable over time (Fig. S2I-J), not supporting an affinity maturation explanation for the
     increased memory B cell frequencies.
              Representation of Ig isotypes among the SARS-CoV-2 spike-specific memory B cell population
     shifted with time (Fig. 2I-2O). During the earliest phase of memory (20-60d PSO), IgM+ and IgG+
     isotypes were similarly represented (Fig. 2O), but the IgM+ memory B cells gradually disappeared (Fig.
     2M, 2N, 2O), and IgG+ spike-specific memory B cells then dominated by 6 months PSO (Fig. 2O). IgA+
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     spike-specific memory B cells were detected as a small fraction of the total spike-specific memory B cells
     (~5%, Fig. 2O). IgG+ spike-specific memory B cell frequency increased while IgA+ was low and stable
     over the 8 month period (Fig. 2I-2L). Similar patterns of increasing IgG+ memory, short-lived IgM+
     memory, and stable IgA+ memory were observed for RBD- and nucleocapsid-specific memory B cells
     over the 8 month period (Fig. 2O-2Q, Fig. S2E-S2H).
              There is limited knowledge of memory B cell kinetics following primary acute viral infection in
     humans. We are not aware of other cross-sectional or longitudinal analyses of antigen-specific memory
     B cells covering a 6+ month window after an acute infection by flow cytometry, except for four individuals
     with Ebola (51) and two individuals studied after yellow fever virus immunization (52), and also excepting
     influenza vaccines, for which people have repeated exposures and complex immune history. In the
     yellow fever study, short-lived IgM+ memory and longer-lasting isotype-switched memory B cells were
     observed in the two individuals. Overall, based on the observations here, development of B cell memory
     to SARS-CoV-2 appeared to be robust and likely long-lasting.

     SARS-CoV-2 memory CD8+ T cells
     SARS-CoV-2 memory CD8+ T cells in 155 subjects were identified using a series of 23 peptide pools
     covering the entirety of the SARS-CoV-2 ORFeome (2, 5). The most commonly recognized ORFs were
     spike (S), membrane (M), nucleocapsid (N), and ORF3a (CD69+ CD137+, Fig. 3A and Fig. S3A-B),
     consistent with our previous study (2). The percentage of subjects with detectable circulating SARS-CoV-
     2 memory CD8+ T cells at 1 month PSO (d20-50) was 61% (30/49, Fig. 3B). The proportion of subjects
     positive for SARS-CoV-2 memory CD8+ T cells at > 6 months PSO was 50% (9/18). SARS-CoV-2 memory
     CD8+ T cells declined with an apparent t1/2 of 166d in the full cohort (Fig. 3B) and t1/2 139d among 24
     paired samples (Fig. 3C). Spike-specific memory CD8+ T cells exhibited similar kinetics to the overall
     SARS-CoV-2-specific memory CD8+ T cells (t1/2 271d for the full cohort and 164d among paired samples,
     Fig. 3D-E, respectively). Phenotypic markers indicated that the majority of SARS-CoV-2-specific memory
     CD8+ T cells were TEMRA (53), with small populations of TCM and TEM (Fig. 3F). In the context of influenza,
     CD8+ TEMRA were associated with protection against severe disease in humans (54). The memory CD8+
     T cell half-lives observed herein were comparable to the 123d t1/2 observed for memory CD8+ T cells
     within 1-2 years after yellow fever immunization (55). Overall, the decay of circulating SARS-CoV-2-
     specific CD8+ T cell is consistent with what has been reported for another acute virus.

     SARS-CoV-2 memory CD4+ T cells
     SARS-CoV-2 memory CD4+ T cells in 155 subjects were identified using the same series of 23 peptide
     pools covering the SARS-CoV-2 ORFeome (2, 5). The most commonly recognized ORFs were spike, M,
     N, ORF3a, and nsp3 (CD137+ OX40+, Fig. 4A and Fig. S4A-B), consistent with our previous study (2).
     Circulating SARS-CoV-2 memory CD4+ T cell responses were quite robust (Fig. 4B). Approximately one
     third (35%, 17/49) of COVID-19 cases at 1 month PSO had > 1.0% SARS-CoV-2-specific CD4+ T cells.
     SARS-CoV-2 memory CD4+ T cells declined over the 6 month time frame of this study with an apparent
     t1/2 of 96d in the full cohort (Fig. 4B) and t1/2 64d among paired samples (Fig. 4C). The percentage of
     subjects with detectable circulating SARS-CoV-2 memory CD4+ T cells at 1 month PSO (d20-50) was 94%
     (46/49, Fig. 4B). The proportion of subjects positive for SARS-CoV-2 memory CD4+ T cells at > 6 months
     PSO was 89% (16/18). Spike-specific and M-specific memory CD4+ T cells exhibited similar kinetics to
     the overall SARS-CoV-2-specific memory CD4+ T cells (whole cohort t1/2 150d and 174d, respectively.
     Fig. 4D-E, and Fig. S4D). A plurality of the SARS-CoV-2 memory CD4+ T cells present at > 6 months PSO
     were TCM (Fig. 4F).
              T follicular helpers (TFH) are the specialized subset of CD4+ T cells required for B cell help (56),
     and, therefore, critical for the generation of neutralizing antibodies and long-lived humoral immunity in
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     most contexts. Thus, we examined circulating TFH (cTFH) memory CD4+ T cells, with particular interest in
     spike-specific memory cTFH cells due to the importance of antibody responses against spike. Memory
     cTFH cells specific for predicted epitopes across the remainder of the SARS-CoV-2 genome were also
     measured, using the MP_R megapool (2). Memory cTFH cells specific for SARS-CoV-2 spike and MP_R
     were detected in the majority of COVID-19 cases at early time points (16/17 & 17/17. Fig. 4G-H, and
     Fig. S5A-C). cTFH memory appeared to be stable, with 100% of subjects positive for spike cTFH and 92%
     positive for MP_R cTFH memory at 6 months PSO (Fig. 4G-H).
              Recently activated cTFH cells are PD-1hi (56). Consistent with conversion to resting memory cTFH
     cells, the percentage of PD-1hi SARS-CoV-2-specific memory cTFH dropped over time (Fig. 4I). CCR6+
     SARS-CoV-2-specific cTFH cells have been associated with reduced COVID-19 disease severity (5) and
     have been reported to be a major fraction of spike-specific cTFH cells (5, 57). Here we confirmed that a
     significant fraction of both spike-specific and MP_R cTFH were CCR6+. We also observed significant
     increases in the fraction of CCR6+ cTFH memory over time (P < 0.001 and P < 0.01 compared to bulk cTFH
     at > 6 months PSO. Fig. 4J). Overall, substantial cTFH memory was observed after SARS-CoV-2 infection,
     with durability > 6 months PSO.

     Immune memory relationships
     Additional features of immune memory to SARS-CoV-2 were considered, including relationships
     between the compartments of immune memory. Immune memory was examined for associations
     between magnitude of memory and disease severity. Circulating antibody titers of severe COVID-19
     cases trended higher, consistent with other studies (Fig. S6A). No distinction was observed in B and T
     cell memory between hospitalized and non-hospitalized COVID-19 cases (Fig. S6B-F), though
     interpretations are limited by the relatively low number of severe cases in this cohort. The influence of
     gender on immune memory was also assessed. Overall, males had higher spike IgG (ANCOVA
     p=0.00019, Fig. 5A) and nucleocapsid and RBD IgG (Fig. S7A-D). Higher spike IgG in males was also
     observed in another convalescent cohort (48). In contrast, no differences were observed in SARS-CoV-2
     memory B cell frequencies or T cells between males and females (Fig. S7E-I). In sum, the heterogeneity
     in immune memory to SARS-CoV-2 was not primarily attributable to gender or COVID-19 disease
     severity.
              Very few published data sets compare antigen-specific antibody, B cell, CD8+ T cell, and CD4+
     T cell memory to an acute viral infection in the same individuals. To our knowledge, this is the largest
     study of its kind, for any acute infection. We examined relationships between immune memory
     compartments to gain insights into the interrelationships between immune memory types and better
     interpret the totality of immune memory to SARS-CoV-2. We focused on RBD IgG, RBD IgA, RBD memory
     B cells, total SARS-CoV-2-specific CD8+ T cells, and total SARS-CoV-2-specific CD4+ T cells, due to their
     putative potential roles in protective immunity. The majority (59%) of COVID-19 cases were positive for
     all five of these immune memory compartments at 1-2 months PSO (Fig. 5B), with the incomplete
     responses largely reflecting individuals with no detectable CD8+ T cell memory and/or poor RBD IgA
     responses (Fig. 5C). By 5+ months after COVID-19, the proportion of individuals positive for all five of
     these immune memory compartments had dropped to 40%; nevertheless, 96% of individuals were still
     positive for at least three out of five SARS-CoV-2 immune memory responses (Fig. 5B). Immune memory
     at 5+ months PSO represented different contributions by immune memory compartments in different
     individuals (Fig. 5C), again demonstrating heterogeneity of immune memory, with increasing
     heterogeneity in the population over time.
              Interrelationships between the components of memory were examined by assessing ratios over
     time. The ratio of SARS-CoV-2 CD4+ and CD8+ T cell memory was largely stable over time (Fig. 5D, Fig.
     S8A). Given that serological measurements are the simplest measurements of immune memory at a
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     population scale, we examined how well such measurements may serve as surrogate markers of other
     components of SARS-CoV-2 immune memory over time. The relationship between circulating RBD IgG
     and RBD-specific memory B cells changed ~20-fold over the time range studied (R=0.60, Fig. 5D, Fig.
     S8B). The changing relationship between circulating RBD IgA and RBD-specific memory B cells was even
     larger, with a 40-fold shift (R=0.62, Fig. 5D, Fig. S8C). The relationship between RBD IgG and SARS-
     CoV-2 CD4+ T cell memory was relatively flat over the time range studied (Fig. 5D); however, variation
     spanned a ~1000-fold range and thus predictive power of circulating RBD IgG for assessing T cell
     memory was poor due to heterogeneity between individuals (R=0.02, Fig. S8D-E). In aggregate, while
     heterogeneity of immune responses is a defining feature of COVID-19, immune memory to SARS-CoV-
     2 develops in almost all subjects, with complex relationships between the individual immune memory
     compartments.

     Conclusion
     In this study, we aimed to fill a gap in our basic understanding of immune memory after COVID-19. This
     required simultaneous measurement of circulating antibodies, memory B cells, CD8+ T cells, and CD4+
     T cells specific for SARS-CoV-2, in a group of subjects with a full range of disease and distributed from
     short time points PSO out to > 8 months PSO. To our knowledge, this is the first study of its kind,
     incorporating antigen-specific antibody, memory B cell, CD8+ T cell, and CD4+ T cell measurements, out
     past 6 months post-infection. By studying these multiple compartments of adaptive immunity in an
     integrated manner, we observed that each component of SARS-CoV-2 immune memory exhibited
     distinct kinetics.
               The spike IgG titers were durable, with modest declines in titers at 6 to 8 months PSO at the
     population level. RBD IgG and SARS-CoV-2 PSV neutralizing antibody titers were potentially similarly
     stable, consistent with the RBD domain of spike being the dominant neutralizing antibody target.
     However, due to the nature of only having data at two time points, the paired sample longitudinal data
     set could not distinguish between models of a continuous log-linear decay and a bi-phasic decay with a
     slower half-life later. It is well recognized that the magnitude of the antibody response against SARS-
     CoV-2 is highly heterogenous between individuals. We observed that heterogenous initial antibody
     responses did not collapse into a homogeneous circulating antibody memory. That heterogeneity is
     thus a central feature of immune memory to this virus. For antibodies, the responses spanned a ~200-
     fold range. Additionally, the heterogeneity showed that long-term longitudinal studies will be required
     to precisely define antibody kinetics to SARS-CoV-2. Nevertheless, at 5+ months PSO, almost all
     individuals were positive for SARS-CoV-2 spike and RBD IgG.
               Notably, memory B cells specific for spike or RBD were detected in almost all COVID-19 cases,
     with no apparent half-life at 5+ months post-infection. B cell memory to some other infections has been
     observed to be long-lived, including 60+ years after smallpox vaccination (58), or 90+ years after
     infection with influenza (59), another respiratory virus like SARS-CoV-2. The memory T cell half-lives
     observed over 6+ months PSO in this cohort (~166-271d for CD8+ and ~96-174d for CD4+ T cells) were
     comparable to the 123d t1/2 observed for memory CD8+ T cells soon after yellow fever immunization
     (55). Notably, the durability of a fraction of the yellow fever virus-specific memory CD8+ T cells possessed
     an estimated t1/2 of 485d by deuterium labeling (55). Using different approaches, the long-term
     durability of memory CD4+ T cells to smallpox, over a period of many years, was an estimated t1/2 of ~10
     years (58, 60), which is also consistent with recent detection of SARS-CoV T cells 17 years after the initial
     infection (61). These data suggest that T cell memory might reach a more stable plateau, or slower decay
     phase, later than the first 6 months post-infection.
               While immune memory is the source of long-term protective immunity, direct conclusions about
     protective immunity cannot be made on the basis of quantifying SARS-CoV-2 circulating antibodies,
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     memory B cells, CD8+ T cells, and CD4+ T cells, because mechanisms of protective immunity against
     SARS-CoV-2 or COVID-19 are not defined in humans. Nevertheless, some reasonable interpretations
     can be made. Antibodies are the only component of immune memory that can provide truly sterilizing
     immunity. Immunization studies in non-human primates have indicated that circulating neutralization
     titers of ~200 may provide sterilizing immunity against a relatively high dose URT challenge (62), and
     neutralizing titers of ~3,400 may provide sterilizing immunity against a very high dose URT challenge
     (63), although direct comparisons are not possible because the neutralizing antibody assays have not
     been standardized (3). Conclusions are also constrained by the limited overall amount of data on the
     topic of protective immunity to SARS-CoV-2, though progress in this field has been exceptionally rapid
     by any standard.
              Beyond sterilizing immunity, confining SARS-CoV-2 to the URT and oral cavity would minimize
     COVID-19 disease severity to ‘common cold’ or asymptomatic disease. This outcome is the primary goal
     of current COVID-19 vaccine clinical trials (3, 64). Such an outcome could potentially be mediated by a
     mixture of memory CD4+ T cells, memory CD8+ T cells, and memory B cells specific for RBD producing
     anamnestic neutralizing antibodies, based on mechanisms of action demonstrated in mouse models of
     other viral infections (65–67). In human COVID-19 infections, SARS-CoV-2-specific CD4+ T cells and CD8+
     T cells are associated with lessened COVID-19 disease severity of an ongoing SARS-CoV-2 infection (5),
     and rapid seroconversion was associated with significantly reduced viral loads in acute disease over 14
     days (30). Both of those associations are consistent with the hypothesis that SARS-CoV-2 memory T cells
     and B cells would be capable of substantially limiting SARS-CoV-2 dissemination and/or cumulative viral
     load, resulting in substantially reduced COVID-19 disease severity
                                                                   severity. The likelihood of such outcomes is
     also closely tied to the kinetics of the infection, as memory B and T cell responses can take 3-5 days to
     successfully respond to an infection. As noted above, given the relatively slow course of severe COVID-
     19 in humans, a large window of time is available for resting immune memory compartments to
     potentially contribute in meaningful ways to protective immunity against pneumonia or severe or fatal
     2° COVID-19. The presence of sub-sterilizing neutralizing antibody titers at the time of SARS-CoV-2
     exposure would blunt the size of the initial infection, and may provide an added contribution to limiting
     COVID-19 severity, based on observations of protective immunity for other human respiratory viral
     infections (38, 68–70) and observations of SARS-CoV-2 vaccines in non-human primates (49, 63, 71).
              This study has limitations. Longitudinal data for each subject, with at least 3 time points per
     subject, would be required to distinguish between linear, one-phase with plateau, and two-phase decay
     best fit models for more precise understanding of long-term kinetics of SARS-CoV-2 antibodies.
     Nevertheless, the current cross-sectional data describe well the dynamics of SARS-CoV-2 memory B
     cells, CD8+ T cell, and CD4+ T cell over 6 months PSO. Additionally, circulating memory was assessed
     here; it is possible that local URT immune memory is a minimal, moderate, or large component of
     immune memory after a primary infection with SARS-CoV-2. This remains to be determined.
              When considering potential connections between immune memory and protective immunity, it
     is key to consider the available epidemiological data. Individual case reports demonstrate that
     reinfections with SARS-CoV-2 are occurring (72, 73). What is currently lacking is an epidemiological
     framework for quantifying how rare or common such reinfection events are. Thus, interpretations of
     current events are very constrained. There is a high degree of heterogeneity in the magnitude of
     adaptive immune responses to this novel coronavirus. That heterogeneity was observed in this study to
     be carried on into the immune memory phase to SARS-CoV-2. As a result of the immune response
     heterogeneity, as observed in the cohort here, it may be expected that at least a fraction of the SARS-
     CoV-2-infected population with particularly low immune memory would be susceptible to re-infection
     relatively quickly. The source of heterogeneity in immune memory to SARS-CoV-2 is unknown and worth
     further examination. It is possible that some of that heterogeneity is a result of low cumulative viral load
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     or initial inoculum, essentially resulting in a very minor or transient infection that barely triggered an
     adaptive immune response in some individuals. Nevertheless, immune memory consisting of at least
     three immunological compartments was measurable in ~90%     90% of subjects > 5 months PSO, indicating
     that durable immunity against 2o COVID-19 disease is a possibility in most individuals.
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     METHODS

     Human Subjects
     The Institutional Review Boards of the University of California, San Diego (UCSD; 200236X) and the La
     Jolla Institute for Immunology (LJI; VD-214) approved the protocols used for blood collection for
     subjects with COVID-19 who donated at all sites other than Mt. Sinai. The Icahn School of Medicine at
     Mt. Sinai IRB approved the samples collected at this institution in New York City (IRB-16-00791). All
     human subjects were assessed for medical decision-making capacity using a standardized, approved
     assessment, and voluntarily gave informed consent prior to being enrolled in the study. Study inclusion
     criteria included a diagnosis of COVID-19 or suspected COVID-19, age of 18 years or greater,
     willingness and ability to provide informed consent. Although not a strict inclusion criterion, evidence of
     positive PCR-based testing for SARS-CoV-2 was requested from subjects prior to participation. 143 cases
     were confirmed SARS-CoV-2 positive by PCR-based testing (Table S1). Two subjects tested negative by
     SARS-CoV-2 PCR (Table S1). The remainder were not tested or did not have test results available for
     review (Table S1). Subjects who had a medical history and/or symptoms consistent with COVID-19, but
     lacked positive PCR-based testing for SARS-CoV-2 and subsequently had negative laboratory-based
     serologic testing for SARS-CoV-2 were then excluded; i.e., all COVID-19 cases in this study were
     confirmed cases by SARS-CoV-2 PCR or SARS-CoV-2 serodiagnostics, or both. Adults of all races,
     ethnicities, ages, and genders were eligible to participate. Study exclusion criteria included lack of
     willingness to participate, lack of ability to provide informed consent, or a medical contraindication to
     blood donation (e.g. severe anemia). Subject samples at LJI were obtained from individuals in California
     and at least seven other states.
              Blood collection and processing methods at LJI were performed as previously described (5).
     Briefly, whole blood was collected via phlebotomy in acid citrate dextrose (ACD) serum separator tubes
     (SST), or ethylenediaminetetraacetic acid (EDTA) tubes and processed for peripheral blood
     mononuclear cells (PBMC), serum, and plasma isolation. Most donors were screened for symptoms prior
     to scheduling blood draws, and had to be symptom-free and approximately 3-4 weeks out from
     symptom onset at the time of the initial blood draw at UCSD or LJI, respectively. Samples were coded,
     and then de-identified prior to analysis. Other efforts to maintain the confidentiality of participants
     included the labeling samples with coded identification numbers. An overview of the characteristics of
     subjects with COVID-19 is provided in Table S1.
              COVID-19 disease severity was scored from 0 to 10 using a numerical scoring system based on
     the NIH ordinal scale (5, 74). A categorical descriptor was applied based on this scoring system:
     “asymptomatic” for a score of 1, “mild” for a score of 2-3, “moderate” for a score of 4-5, and “severe” for
     a score of 6 or more. Subjects with a numerical score of 4 or higher required hospitalization (including
     admission for observation) for management of COVID-19. The days PSO was determined based on the
     difference between the date of the blood collection and the date of first reported symptoms consistent
     with COVID-19. For asymptomatic subjects, the day from first positive SARS-CoV-2 PCR-based testing
     was used in place of the date of first reported COVID-19 symptoms.

     SARS-CoV-2 ELISAs
     SARS-CoV-2 ELISAs were performed as previously described (2, 5, 75). Briefly, Corning 96-well half area
     plates (ThermoFisher 3690) were coated with 1μg/mL of antigen overnight at 4°C. Antigens included
     recombinant SARS-CoV-2 RBD protein, recombinant spike protein (5), and recombinant nucleocapsid
     protein (GenScript Z03488). The following day, plates were blocked with 3% milk in phosphate buffered
     saline (PBS) containing 0.05% Tween-20 for 1.5 hours at room temperature. Plasma was heat inactivated
     at 56°C for 30-60 minutes. Plasma was diluted in 1% milk containing 0.05% Tween-20 in PBS starting at
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     a 1:3 dilution followed by serial dilutions by 3 and incubated for 1.5 hours at room temperature. Plates
     were washed 5 times with 0.05% PBS-Tween-20. Secondary antibodies were diluted in 1% milk
     containing 0.05% Tween-20 in PBS. For IgG, anti-human IgG peroxidase antibody produced in goat
     (Sigma A6029) was used at a 1:5,000 dilution. For IgA, anti-human IgA horseradish peroxidase antibody
     (Hybridoma Reagent Laboratory HP6123-HRP) was used at a 1:1,000 dilution. The HP6123 monoclonal
     anti-IgA was used because of its CDC and WHO validated specificity for human IgA1 and IgA2 and lack
     of crossreactivity with non-IgA isotypes (76).
               Endpoint titers were plotted for each sample, using background subtracted data. A positive
     control standard was created by pooling plasma from 6 convalescent COVID-19 donors to normalize
     between experiments. The limit of detection (LOD) was defined as 1:3 for IgG, 1:10 for IgA. Limit of
     sensitivity (LOS) for SARS-CoV-2 infected individuals was established based on uninfected subjects,
     using plasma from normal healthy donors never exposed to SARS-CoV-2. For cross-sectional analyses,
     modeling for the best fit curve (e.g., one phase decay versus simple linear regression) was performed
     using GraphPad Prism 8.0. Best curve fit was defined by an extra sum-of-squares F Test, selecting the
     simpler model unless P < 0.05 (77). To calculate the t1/2, log2 transformed data was utilized. Using the
     best fit curve, either a one phase decay non-linear fit or a simple linear regression (-1/slope) was utilized.
     Pearson R was calculated for correlation. For longitudinal samples, a simple linear regression was
     performed, with t1/2 calculated from log2 transformed data for each pair. For gender analyses, modeling
     and t1/2 was performed similar to cross-sectional analyses; ANCOVA (VassarStats or GraphPad Prism 8.4)
     was then performed between male and female data sets.

     Neutralizing antibody assays
     The pseudovirus neutralizing antibody assay was performed as previously described (5). Briefly, Vero
     cells were seeded in 96 well plates to produce a monolayer at the time of infection. Pre-titrated amounts
     of rVSV-SARS-Cov-2 (phCMV3-SARS-CoV-2 spike SARS-CoV-2-pseduotyped VSV-ΔG-GFP were
     generated by transfecting 293T cells) were incubated with serially diluted human plasma at 37°C for 1
     hour before addition to confluent Vero monolayers in 96-well plates. Cells were incubated for 12-16
     hours at 37°C in 5% CO2. Cells were then fixed in 4% paraformaldehyde, stained with 1ug/mL Hoechst,
     and imaged using a CellInsight CX5 imager to quantify total number of cells expressing GFP. Infection
     was normalized to the average number of cells infected with rVSV-SARS-CoV-2 incubated with normal
     human plasma. The limit of detection (LOD) was established as < 1:20 based on plasma samples from a
     series of unexposed control subjects. Data are presented as the relative infection for each concentration
     of sera. Neutralization IC50 titers were calculated using One-Site Fit LogIC50 regression in GraphPad
     Prism 8.0.

     Detection of antigen-specific memory B cells
     To detect SARS-CoV-2 specific B cells, biotinylated protein antigens were individually multimerized with
     fluorescently labeled streptavidin at 4°C for one hour. Full-length SARS-CoV-2 spike (2P-stabilized,
     double Strep-tagged) and RBD were generated in-house. Biotinylation was performed using biotin-
     protein ligase standard reaction kit (Avidity, Cat# Bir500A) following the manufacturers standard
     protocol and dialyzed over-night against PBS. Biotinylated spike was mixed with streptavidin BV421
     (BioLegend, Cat# 405225) and streptavidin Alexa Fluor 647 (Thermo Fisher Scientific, Cat# S21374) at
     20:1 ratio (~6:1 molar ratio). Biotinylated RBD was mixed with streptavidin PECy7 (BioLegend, Cat#
     405206) at 2.2:1 ratio (~4:1 molar ratio). Biotinylated SARS-CoV-2 full length nucleocapsid (Avi- and His-
     tagged; Sino Biological, Cat# 40588-V27B-B) was multimerized using streptavidin PE (BioLegend, Cat#
     405204) and streptavidin BV711 (BioLegend, Cat# 405241) at 5.5:1 ratio (~6:1 molar ratio). Streptavidin
     PECy5.5 (Thermo Fisher Scientific, Cat# SA1018) was used as a decoy probe to gate out SARS-CoV-2
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     non-specific streptavidin-binding B cells. The antigen probes prepared individually as above were then
     mixed in Brilliant Buffer (BD Bioscience, Cat# 566349) containing 5μM free d-biotin (Avidity, Cat#
     Bir500A). Free d-biotin ensured minimal cross-reactivity of antigen probes. ~107 previously frozen PBMC
     samples were prepared in U-bottom 96-well plates and stained with 50μL antigen probe cocktail
     containing 100ng spike per probe (total 200ng), 27.5ng RBD, 40ng nucleocapsid per probe (total 80ng)
     and 20ng streptavidin PECy5.5 at 4°C for one hour to ensure maximal staining quality before surface
     staining with antibodies as listed in Table S2 was performed in Brilliant Buffer at 4°C for 30min. Dead
     cells were stained using LIVE/DEAD Fixable Blue Stain Kit (Thermo Fisher Scientific, Cat# L34962) in
     DPBS at 4°C for 30min. ~80% of antigen-specific memory (IgD– and/or CD27+) B cells detected using
     this method were IgM+, IgG+, or IgM– IgG– IgA+, which were comparable to non-specific memory B cells.
     Based on these observations, we concluded that the antigen probes did not significantly impact the
     quality of surface immunoglobulin staining. Stained PBMC samples were acquired on Cytek Aurora and
     analyzed using FlowJo10.7.1 (BD Bioscience). Frequency of antigen-specific memory B cells were
     expressed as a percentage of total B cells (CD19+ CD20+ CD38int/–, CD3–, CD14–, CD16–, CD56–,
     LIVE/DEAD–, lymphocytes), or as numbers per 106 PBMC (LIVE/DEAD– cells). LOD was set based on
     median + 2×SD of [1 / (number of total B cells recorded)] or median + 2×SD of [106 / (number of PBMC
     recorded)]. LOS was set as the median + 2×SD of the results in unexposed donors. Phenotype analysis
     of antigen-specific B cells was performed only in subjects with at least 10 cells detected in the respective
     antigen-specific memory B cell gate. In each experiment, PBMC from a known positive control (COVID-
     19 convalescent subject) and unexposed subjects were included to ensure consistent sensitivity and
     specificity of the assay. For each data set, second order polynomial, simple linear regression, and
     pseudo-first order kinetic models were considered. The model with a lower Akaike’s Information
     Criterion value was determined to be better-fit and visualized.

     Activation induced markers (AIM) T cell assay
     Antigen-specific CD4+ T cells were measured as a percentage of AIM+ (OX40+CD137+) CD4+ T and
     (CD69+CD137+) CD8+ T cells after stimulation of PBMCs with overlapping peptide pools spanning the
     entire ORFeome, as previously described (2). Cells were cultured for 24 hours in the presence of SARS-
     CoV-2 specific MPs [1 μg/mL] or 5 μg/mL phytohemagglutinin (PHA, Roche) in 96-wells U-bottom plates
     at 1x106 PBMCs per well. A stimulation with an equimolar amount of DMSO was performed as negative
     control, PHA, and stimulation with a combined CD4 and CD8 cytomegalovirus MP (CMV, 1 μg/mL) were
     included as positive controls. Any sample with low PHA signal was excluded as a quality control. Antigen-
     specific CD4+ and CD8+ T cells were measured as background (DMSO) subtracted data, with a minimal
     DMSO level set to 0.005%. All positive ORFs (> 0.02% for CD4s, > 0.05% for CD8s) were then
     aggregated into a combined sum of SARS-CoV-2-specific CD4+ or CD8+ T cells. The threshold for
     positivity for antigen-specific CD4+ T cell responses (0.03%) and antigen-specific CD8+ T cell responses
     (0.12%) has been calculated using the median two-fold standard deviation of all negative controls
     measured (>150). The antibody panel utilized in the (OX40+CD137+) CD4+ T and (CD69+CD137+) CD8+
     T cells AIM staining is shown in Table S2.
              For surface CD40L+ OX40+ CD4+ T cell AIM assays, experiments were performed as previously
     described (5), with the following modifications. Cells were cultured in complete RPMI containing 5%
     Human AB Serum (Gemini Bioproducts), 2Me, PenStrep, NaPy, and NE-AA. Prior to addition of peptide
     MPs, cells were blocked at 37C for 15 minutes with 0.5ug/mL anti-CD40 mAb (Miltenyi Biotec).

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     COMPETING INTERESTS
     A.S. is a consultant for Gritstone, Flow Pharma, Merck, Epitogenesis, Gilead and Avalia. S.C. is a
     consultant for Avalia. LJI has filed for patent protection for various aspects of T cell epitope and
     vaccine design work. Mount Sinai has licensed serological assays to commercial entities and has filed
     for patent protection for serological assays. D.S., F.A., V.S. and F.K. are listed as inventors on the
     pending patent application (F.K., V.S.), and Newcastle disease virus (NDV)-based SARS-CoV-2 vaccines
     that name F.K. as inventor. All other authors declare no conflict of interest.
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     FIGURE LEGENDS

     Figure 1. SARS-CoV-2 circulating antibodies over time. (A) Cross-sectional spike IgG from COVID-
     19 subject plasma samples (n=228). Linear decay preferred model for best fit curve, t1/2 = 140d, 95% CI:
     89-329 days. R = -0.20, p=0.003. (B) Longitudinal spike IgG (n=50), average t1/2 100d, 95% CI: 64-220d
     (C) Cross-sectional RBD IgG. Linear decay preferred model for best fit curve, t1/2 = 83d, 95% CI: 62 to
     127d. R = -0.34, p<0.0001. (D) Longitudinal RBD IgG, average t1/2 of 68d, 95% CI: 57-86d (E) Cross-
     sectional PSV neutralizing titers. One-phase decay (blue line) preferred model for best fit curve, t1/2 =
     27d, 95%: CI: 11 to 153d. R = -0.27, p <0.0001. Linear fit shown as black line. (F) Longitudinal PSV
     neutralizing titers of SARS-CoV-2 infected subjects, average t1/2 87d, 95% CI: 68-123d (G) Cross-
     sectional nucleocapsid IgG. Linear decay preferred model for best fit curve, t1/2 = 67d, 95% CI: 49-105d.
     R = -0.32, p<0.0001. (H) Longitudinal nucleocapsid IgG, average t1/2 was 67d, 95% CI: 54-88d. (I) Cross-
     sectional Spike IgA titers. One-phase decay (blue line) preferred model for best fit curve, t1/2 = 11d, 95%:
     CI: 5 to 25d. R = -0.14, p=0.04. Linear fit shown as black line. (J) Longitudinal Spike IgA, t1/2 = 214d, 95%
     CI 126-703d. (K) Cross-sectional RBD IgA. One phase decay (blue line) preferred model for best fit
     curve, t1/2 = 27d, 95% CI: 15 to 58d. R = -0.40, p<0.0001. Linear fit shown in black. (L) Longitudinal RBD
     IgA, average t1/2 was 72d, 95% CI: 55-104d. For cross-sectional analyses, SARS-CoV-2 infected subjects
     (white circles, n=238) and unexposed subjects (gray circles, n=51). For longitudinal samples, SARS-CoV-
     2 subjects (n=50). The dotted black line indicates limit of detection (LOD). The dotted green line
     indicates limit of sensitivity (LOS) above uninfected controls. Unexposed = gray, COVID subjects = white.
     Thick blue line represents best fit curve. When two fit curves are shown, the thin black line represents
     the alternative fit curve.

     Figure 2. Kinetics of SARS-CoV-2 memory B cell responses. (A) Example plots showing staining
     patterns of SARS-CoV-2 antigen probes on memory B cells (See Fig S1 for gating). One unexposed
     donor and three convalescent COVID-19 subjects are shown. Numbers indicate percentages. (B) Gating
     strategies to define IgM+, IgG+, or IgA+ SARS-CoV-2 spike-specific memory B cells. The same gating
     strategies were used for RBD- or nucleocapsid-specific B cells. (C) Cross-sectional analysis of frequency
     (% of CD19+ CD20+ B cells) of SARS-CoV-2 S-specific total (IgG+, IgM+, or IgA+) memory B cells. Pseudo-
     first order kinetic model for best fit curve (R2 = 0.14). (D) Longitudinal analysis of SARS-CoV-2 spike-
     specific memory B cells. (E) Cross-sectional analysis of SARS-CoV-2 RBD-specific total (IgG+, IgM+, or
     IgA+) memory B cells. Second order polynomial model for best fit curve (R2 = 0.21). (F) Longitudinal
     analysis of SARS-CoV-2 RBD-specific memory B cells. (G) Cross-sectional analysis of SARS-CoV-2
     nucleocapsid-specific total (IgG+, IgM+, or IgA+) memory B cells. Pseudo-first order kinetic model for
     best fit curve (R2 = 0.19). (H) Longitudinal analysis of IgG+ SARS-CoV-2 spike-specific memory B cells. (I)
     Cross-sectional analysis of SARS-CoV-2 spike-specific IgG+ memory B cells. Pseudo-first order kinetic
     model for best fit curve (R2 = 0.24). (J) Longitudinal analysis of SARS-CoV-2 spike-specific IgG+ memory
     B cells. (K) Cross-sectional analysis of SARS-CoV-2 spike-specific IgA+ memory B cells. Second order
     polynomial model for best fit curve (R2 = 0.10). (L) Longitudinal analysis of SARS-CoV-2 spike-specific
     IgA+ memory B cells. (M) Cross-sectional analysis of SARS-CoV-2 spike-specific IgM+ memory B cells.
     Second order polynomial model for best fit curve (R2 = 0.17). (N) Longitudinal analysis of SARS-CoV-2
     spike-specific IgM+ memory B cells. (O) Fraction of SARS-CoV-2 antigen-specific memory B cells that
     belong to indicated Ig isotypes at 1-8 months PSO. (P) Cross-sectional analysis of SARS-CoV-2 RBD-
     specific IgG+ memory B cells. Second order polynomial model for best fit curve (R2 = 0.27). (Q) Cross-
     sectional analysis of SARS-CoV-2 nucleocapsid-specific IgG+ memory B cells. Second order polynomial
     model for best fit curve (R2 = 0.26). n = 20 unexposed subjects (gray circles) and n = 180 COVID-19
     subjects (n = 217 data points, white circles) for cross-sectional analysis. n = 36 COVID-19 subjects (n =
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     73 data points, white circles) for longitudinal analysis. The dotted black line indicates limit of detection
     (LOD). The dotted green line indicates limit of sensitivity (LOS).

     Figure 3. SARS-CoV-2 memory CD8+ T cells. (A) Representative flow cytometry plots of SARS-CoV-2-
     specific CD8+ T cells (CD69+ CD137+, See Fig S3 for gating) after overnight stimulation with S, N, M,
     ORF3a, or nsp3 peptide pools, compared to negative control (DMSO). (B) Cross-sectional analysis of
     frequency (% of CD8+ T cells) of total SARS-CoV-2-specific CD8+ T cells. (C) Longitudinal analysis of total
     SARS-CoV-2-specific CD8+ T cells in paired samples from the same subjects. (D) Cross-sectional analysis
     of spike-specific CD8+ T cells. (E) Longitudinal analysis of spike-specific CD8+ T cells in paired samples
     from the same subjects. (F) Distribution of TCM, TEM, and TEMRA among total SARS-CoV-2-specific CD8+ T
     cells. n = 155 COVID-19 subject samples (white circles) for cross-sectional analysis. n = 30 COVID-19
     subjects (white circles) for longitudinal analysis. The dotted black line indicates limit of detection (LOD).

     Figure 4. SARS-CoV-2 memory CD4+ T cells. (A) Representative flow cytometry plots of SARS-CoV-2-
     specific CD4+ T cells (CD137+ OX40+, See Fig S4 for gating) after overnight stimulation with S, N, M,
     ORF3a, or nsp3 peptide pools, compared to negative control (DMSO). (B) Cross-sectional analysis of
     frequency (% of CD4+ T cells) of total SARS-CoV-2-specific CD4+ T cells. (C) Longitudinal analysis of total
     SARS-CoV-2-specific CD4+ T cells in paired samples from the same subjects. (D) Cross-sectional analysis
     of spike-specific CD4+ T cells. (E) Longitudinal analysis of spike-specific CD4+ T cells in paired samples
     from the same subjects. (F) Distribution of TCM, TEM, and TEMRA among total SARS-CoV-2-specific CD4+ T
     cells. (G, H) Quantitation of SARS-CoV-2-specific TFH cells (surface CD40L+ OX40+, as % of CD4+ T cells.
     See Fig S5 for gating) after overnight stimulation with (G) spike (S) or (H) MP_R peptide pools. (I) PD-1hi
     SARS-CoV-2-specific TFH at 1-2 months (mo) and 6 mo PSO. (J) CCR6+ SARS-CoV-2-specific TFH in
     comparison to bulk cTFH cells in blood.
     For A-F, n = 155 COVID-19 subject samples (white circles) for cross-sectional analysis. n = 30 COVID-19
     subjects (white circles) for longitudinal analysis. The dotted black line indicates limit of detection (LOD).
     For G-J, n = 34 COVID-19 subject samples (white circles), n = 21 COVID-19 subjects at 1-2 mo, n = 13
     COVID-19 subjects at 6 mo. The dotted black line indicates limit of detection (LOD).* p<0.05, **p<0.01,
     *** p<0.001, **** p<0.0001.

     Figure 5. Immune memory relationships. (A) Relationship between gender and spike IgG titers over
     time. Males: One phase decay preferred model, t1/2 = 23d, 95% CI: 7-224d, R = -0.26, p=0.0057.
     Females: linear decay preferred model, t1/2 = 159d, 95% CI 88-847d, R = -0.18, p=0.05. (B) Immune
     memory to SARS-CoV-2 during the early phase (1-2 mo, black line), medium phase (3-4 mo, red line), or
     late phase (5+ mo, blue line). For each individual, a score of 1 was assigned for each response above
     LOS in terms of RBD-specific IgG, RBD-specific IgA, RBD-specific memory B cells, SARS-CoV-2 specific
     CD4+ T cells, and SARS-CoV-2-specific CD8+ T cells, giving a maximum total of 5 components of SARS-
     CoV-2 immune memory. Only COVID-19 convalescent subjects with all five immunological parameters
     tested were included in the analysis. n = 83 (1-2 mo), n = 53 (3-4 mo), n = 28 (5+ mo). (C) Percentage
     dot plots showing frequencies (normalized to 100%) of subjects with indicated immune memory
     components as described in (B) during the early (1-2 mo) or late (5+ mo) phase. “G”, RBD-specific IgG.
     “B”, RBD-specific memory B cells. “4”, SARS-CoV-2 specific CD4+ T cells. “8”, SARS-CoV-2 specific CD8+
     T cells. “A”, RBD-specific IgA. (D) Relationships between immune memory compartments in COVID-19
     subjects over time, as ratios (full curves and data shown in Fig. S8). AU = arbitrary units, scaled from Fig.
     S8. “B:IgA”, RBD-specific memory B cell ratio to RBD IgA antibodies. “B:IgG”, RBD-specific memory B
     cell ratio to RBD IgG antibodies. “B:CD4”, RBD-specific memory B cell ratio to SARS-CoV-2-specific CD4+
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     T cells. “CD4:CD8”, SARS-CoV-2-specific CD4+ T cells ratio to SARS-CoV-2-specific CD8+ T cells.
     “CD4:IgG”, SARS-CoV-2-specific CD4+ T cells ratio to RBD IgG antibodies.
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     SUPPLEMENTARY MATERIALS

     Table S1. Participant characteristics
                                                                  COVID-19 (n = 185)

         Age (years)                                              19-81 [Median = 40, IQR = 19.5]

         Gender
              Male (%)                                            43% (79/185)
              Female (%)                                          57% (106/185)
         Race
               African American                                   3% (5/185)
               or Black (%)
               Alaskan Native or                                  1% (1/185)
               American Indian
               (%)
               Asian (%)                                          8% (14/185)
               Native Hawaiian or                                 0% (0/185)
               Pacific Islander (%)
                Multiracial (%)                                   1% (2/185)
                Other (%)                                         1% (1/185)
                Unknown (%)                                       10% (19/185)
                White (%)                                         77% (143/185)
         Ethnicity
                Hispanic or Latino (%)                            15% (27/185)
               Non-Hispanic (%)                                   80% (148/185)
               Unknown (%)                                        5% (10/185)
         Hospitalization status
                Never hospitalized (%)                            92% (171/185)
                Hospitalized (%)                                  7% (13/185)
                Unknown if hospitalized                           1% (1/185)
                (%)
         Sample Collection Dates                                  March-October 2020

         SARS-CoV-2 PCR Positivity
               Positive                                           77% (143/185)
               Negative                                           1% (2/185)
               Not performed                                      20% (37/185)
               Unknown                                            2% (3/185)
         Peak Disease Severity
                Asymptomatic (score 1)                            2% (4/185)
                Mild (non-hospitalized. Score 2-3)                90% (167/185)
                Moderate (hospitalized. Score 4-5)                3% (6/185)
                Severe (hospitalized. Score 6+)                   4% (7/185)
                Unknown                                           1% (1/185)
         Days Post Symptom Onset at Collection; n = 233           6-240 (Median 90.5, IQR 99)

         Blood Collection Frequency
                Multiple Time Point                               21% (38/185)
                Donors (2-4 times)
                Single Time Point Donors                          79% (147/185)




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     Table S2. Memory B cell flow cytometry panel.
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                                    Reagents                                             SOURCE                       IDENTIFIER
              Mouse anti-human CD62L BV615 (clone SK11)                               BD Bioscience                  Cat# 565219
             Mouse anti-human CD19 BUV563 (clone SJ25C1)                              BD Bioscience                  Cat# 612916
         Mouse anti-human FCRL5 (CD307e) BUV615 (clone 509F6)                         BD Bioscience                  Cat# 751131
               Mouse anti-human CD95 BUV737 (clone DX2)                               BD Bioscience                  Cat# 612790
              Mouse anti-human CCR6 BUV805 (clone 11A9)                               BD Biosicnece                  Cat# 749361
              Mouse anti-human CD138 BV480 (clone MI15)                               BD Bioscience                  Cat# 566140
                Mouse anti-human IgD BV510 (clone IA6-2)                               BioLegend                     Cat# 348220
              Mouse anti-human IgM BV570 (clone MHM-88)                                BioLegend                     Cat# 314517
               Mouse anti-human CD24 BV605 (clone ML5)                                 BioLegend                     Cat# 311124
               Mouse anti-human CD20 BV650 (clone 2H7)                                 BioLegend                     Cat# 302336
               Rat anti-human CXCR5 BV750 (clone RF8B2)                               BD Bioscience                  Cat# 747111
              Mouse anti-human CD71 BV786 (clone M-A712)                              BD Bioscience                  Cat# 563768
              Mouse anti-human CD27 BB515 (clone M-T271)                              BD Bioscience                  Cat# 564642
          Mouse anti-human IgA Vio Bright FITC (clone IS11-8E10)                      Miltenyi Biotec              Cat# 130-113-480
                 Mouse anti-human CD3 PerCP (clone SK7)                                BioLegend                     Cat# 344814
               Mouse anti-human CD14 PerCP (clone 63D3)                                BioLegend                     Cat# 367152
               Mouse anti-human CD16 PerCP (clone 3G8)                                 BioLegend                     Cat# 302030
              Mouse anti-human CD56 PerCP (clone HCD56)                                BioLegend                     Cat# 318342
         Rat anti-human IgG PerCP/Cyanine5.5 (clone M1310G05)                          BioLegend                     Cat# 410710
                  Mouse anti-human CD85j PE/Dazzle 594                                 BioLegend                     Cat# 333716
            Mouse anti-human CD11c PE/Cyanine5 (clone 3.9)                             BioLegend                     Cat# 301610
           Mouse anti-human CD21 Alexa Fluor 700 (clone Bu32)                          BioLegend                     Cat# 354918



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     Table S3. Antibodies utilized in the CD8+ and CD4+ T cell activation induced markers (AIM) assays



          Membrane Antibody               Fluorochrome                         Clone/vendor/catalog                       Dilution
                  CD45RA                       BV421                          HI100/BioLegend/304130                        1:50
                   CD14                       BUV563                              M5E2/BD/741360                            1:100
                   CD19                       BUV805                              HIB19/BD/742007                           1:100
                 Live/Dead                  ef506/Aqua                       Thermo Fisher/65-0866-18                       1:200
                    CD8                        BV650                         RPA-T8/BioLegend/301042                        1:50
                    CD4                        BV605                             RPA-T4/BD/562658                           1:25
                   CCR7                         FITC                        G043H7/BioLegend/353216                         1:50
                   CD69                          PE                               FN50/BD/555531                            1:10
                   OX40                       PE-Cy7                       Ber-ACT35/BioLegend/350012                       1:50
                   CD137                        APC                           4B4-1/BioLegend/309810                        1:25
                    CD3                        AF700                     UCHT1/Thermo Fisher/56-0038-42                     1:25
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     SUPPLEMENTARY FIGURE LEGENDS

     Figure S1. SARS-CoV-2 memory B cells. (A) Gating strategies to define spike-, RBD-, or nucleocapsid-
     specific memory B cells.

     Figure S2. Kinetics of memory B cell responses. (A) Cross-sectional analysis showing SARS-CoV-2
     Spike-specific memory B cell numbers per 106 PBMC. Second order polynomial model for best fit curve
     (R2 = 0.14). (B) Percentage of Spike-specific B cells that are specific to RBD. Simple linear regression (R2
     = 0.024) (C) Cross-sectional analysis showing SARS-CoV-2 RBD-specific memory B cell numbers per 106
     PBMC. Second order polynomial model for best fit curve (R2 = 0.15). (D) Cross-sectional analysis showing
     SARS-CoV-2 nucleocapsid-specific memory B cell numbers per 106 PBMC. Second order polynomial
     model for best fit curve (R2 = 0.14). (E) Cross-sectional analysis of frequency (% of CD19+ CD20+ B cells)
     of SARS-CoV-2 RBD-specific IgA+ memory B cells. Second order polynomial model for best fit curve (R2
     = 0.036). (F) Cross-sectional analysis of frequency (% of CD19+ CD20+ B cells) of SARS-CoV-2 RBD-
     specific IgM+ memory B cells. Second order polynomial model for best fit curve (R2 = 0.034). (G) Cross-
     sectional analysis of frequency (% of CD19+ CD20+ B cells) of SARS-CoV-2 nucleocapsid-specific IgA+
     memory B cells. Second order polynomial model for best fit curve (R2 = 0.0031). (H) Cross-sectional
     analysis of frequency (% of CD19+ CD20+ B cells) of SARS-CoV-2 nucleocapsid-specific IgM+ memory B
     cells. Second order polynomial model for best fit curve (R2 = 0.029). (I) Cross-sectional analysis of
     geometric mean fluorescence intensity of spike, RBD and nucleocapsid probes on S-, RBD- and
     nucleocapsid-specific memory B cells, respectively. Data shown are simple linear-regression lines for
     individual probes. (J) Cross-sectional analysis of geometric mean fluorescence intensity of spike, RBD
     and nucleocapsid probes on S-, RBD- and nucleocapsid-specific memory B cells, respectively,
     normalized to a positive control sample. Data shown are simple linear-regression lines for individual
     antigen.

     Figure S3. SARS-CoV-2 circulating memory CD8+ T cells. (A) Gating strategies to define SARS-CoV-
     2-specific CD8+ T cells by AIM assay, using individual SARS-CoV-2 ORF peptide pools. (B)
     Representative examples of flow cytometry plots of SARS-CoV-2-specific CD8+ T cells (CD69+ CD137+,
     after overnight stimulation with S, M, N, ORF3a, or nsp3 peptide pools, compared to negative control
     (DMSO) from three COVID-19 subjects and one uninfected control. (C) Cross-sectional analysis of total
     SARS-CoV-2-specific CD4+ T cells, as per Figure 3, but graphing stimulation index (SI). n = 155 COVID-
     19 subject samples (clear circles) for cross-sectional analysis. n = 30 COVID-19 subjects (white circles)
     for longitudinal analysis.

     Figure S4. SARS-CoV-2 circulating memory CD4+ T cells. (A) Gating strategies to define SARS-CoV-
     2-specific CD4+ T cells by AIM assay, using individual SARS-CoV-2 ORF peptide pools. (B)
     Representative examples of flow cytometry plots of SARS-CoV-2-specific CD4+ T cells (OX40+ CD137+,
     after overnight stimulation with S, M, N, ORF3a, or nsp3 peptide pools, compared to negative control
     (DMSO). From three COVID-19 subjects and one uninfected control. (C) Cross-sectional analysis of total
     SARS-CoV-2-specific CD4+ T cells, as per Figure 4, but graphing stimulation index (SI). (D) Cross-
     sectional analysis of M-specific CD4+ T cells. (E) Longitudinal analysis of M-specific CD4+ T cells in paired
     samples from the same subjects. n = 155 COVID-19 subject samples (white circles) for cross-sectional
     analysis. n = 30 COVID-19 subjects (white circles) for longitudinal analysis.

     Figure S5. SARS-CoV-2 memory TFH cells. (A) Gating strategies to define SARS-CoV-2-specific CD4+ T
     cells by AIM assay, using S and MP_R peptide pools. (B) Representative examples of flow cytometry plots
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     of SARS-CoV-2-specific CD4+ T cells. Surface CD40L+ OX40+, after overnight stimulation with S and
     MP_R peptide pools, compared to negative control (DMSO) from a representative COVID-19 subject
     and an uninfected control. (C, D) SARS-CoV-2-specific CD4+ T cells based on surface CD40L+ OX40+,
     gated as in A, after overnight stimulation with S or MP_R peptide pools. n = 34 COVID-19 subject
     samples (white circles), n = 21 at 1-2 mo, n = 13 at 6 mo. The dotted black line indicates LOD.* p<0.05,
     **p<0.01, *** p<0.001, **** p<0.0001.

     Figure S6. Immune memory and disease severity. (A) Spike IgG, as per Figure 1. Symbol colors
     represent disease severity (white: asymptomatic, gray: mild, black: moderate, red: severe). (B) Cross-
     sectional analysis of SARS-CoV-2 spike-specific total (IgG+, IgA+, or IgA+) memory B cells, as per Figure
     2C, color coded based on subject COVID-19 disease severity. (C) Cross-sectional analysis of SARS-CoV-
     2 RBD-specific total (IgG+, IgA+, or IgA+) memory B cells, as per Figure 2E, color coded based on subject
     COVID-19 disease severity. (D) Cross-sectional analysis of SARS-CoV-2 nucleocapsid-specific total (IgG+,
     IgA+, or IgA+) memory B cells, as per Figure 2F, color coded based on subject COVID-19 disease
     severity. (E) Cross-sectional analysis of SARS-CoV-2-specific CD8+ T cells, as per Figure 3B, color coded
     based on subject COVID-19 disease severity. (F) Cross-sectional analysis of SARS-CoV-2-specific CD4+
     T cells, as per Figure 4B, color coded based on subject COVID-19 disease severity.

     Figure S7. Immune memory and gender. Cross-sectional analyses of SARS-CoV-2 serologies by male
     and female gender. (A) Nucleocapsid IgG titers. Males: Linear decay preferred model, t1/2 = 69d, 95%
     CI: 42-209d, R = -0.28, p=0.0035. Females: linear decay preferred model, t1/2 = 64d, 95% CI: 47-104d,
     R = -0.41, p<0.0001. (B) RBD IgG titers. Males: One phase decay preferred model, t1/2 = 24d, 95% CI
     10-122d, R = -0.38, p<0.0001. Females: linear decay preferred model, t1/2 = 94d,95% CI: 64-179d R = -
     0.34, p=0.0.0002. (C) RBD IgA titers. Males: One phase decay preferred model, t1/2 = 15d,95% CI 8-30d,
     R = -0.45, p<0.0001. Females: linear decay preferred model, t1/2 = 92d, 95% CI: 60-195d, R = -0.32,
     p=0.0004. (D) Pseudovirus neutralizing titers. Males: One phase decay preferred model, t1/2 = 16d, 95%
     CI: 7-49d, R = -0.35, p=0.0022. Females: linear decay preferred model, t1/2 = 169d, 95% CI: 96-710d, R
     = -0.25, p=0.0069. (E) Spike IgA titers. Males: One phase decay preferred model, t1/2 = 8d, 95% CI 4-
     13d, R = -0.22, p=0.019. Females: linear decay preferred model, t1/2 = 337d, 95% CI 116-370d: R = -
     0.056, p=0.54. (F) Cross-sectional analysis of frequency (% of CD19+ CD20+ B cells) of SARS-CoV-2
     spike-specific memory B cells (IgG+, IgA+, or IgM+), as per Figure 2C, color coded based on subject
     gender Pseudo-first order kinetic model for best fit curves. R2 = 0.27 (females), R2 = 0.057 (males). No
     significant difference between males and females. p = 0.10 by One-way ANCOVA. (G) Cross-sectional
     analysis of SARS-CoV-2 RBD-specific total (IgG+, IgA+, or IgA+) memory B cells, as per Figure 2E, color
     coded based on subject gender. Second order polynomial model for best fit curves. R2 = 0.37 (females)
     and R2 = 0.12 (males). No significant difference between males and females. p = 0.24 by one-way
     ANCOVA. (H) Cross-sectional analysis of SARS-CoV-2 nucleocapsid-specific total (IgG+, IgA+, or IgA+)
     memory B cells, as per Figure 2F, color coded based on subject gender. Second order polynomial
     model for best fit curves. R2 = 0.28 (females), R2 = 0.16 (males). No significant difference between males
     and females. p = 0.45 by one-way ANCOVA. (I). No significant difference between males and females.
     p = 0.16 by one-way ANCOVA. (J) No significant difference between males and females. p = 0.24 by
     one-way ANCOVA.

     Figure S8. Immune memory relationships. (A) The ratio of SARS-CoV-2 specific CD4+ T cell frequency
     relative to SARS-CoV-2 specific CD8+ T cell frequency (best-fit simple linear regression line, R2 =
     0.02932). Two data points are outside the axis limits. (B) The ratio of RBD-specific memory B cell
     frequency (percentage) relative to RBD-specific IgG (pseudo-first order kinetic model, R2 = 0.3659).
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     Three data points are outside the axis limits (C) The ratio of RBD-specific memory B cell frequency
     (percentage) relative to RBD IgA antibodies (pseudo-first order kinetic model, R2 = 0.3804). Two data
     points are outside the axis limits. (D) The ratio of SARS-CoV-2 specific CD4+ T cell frequency relative to
     RBD IgG antibodies (best-fit simple linear regression line, R2 = 0.0003891). Two data points are outside
     the axis limits. (E) The ratio of RBD-specific memory B cell frequency (percentage) relative to total SARS-
     CoV-2 specific CD4+ T cell frequency (best-fit simple linear regression line, R2 = 0.2351). One data point
     is outside the axis limits. For Figure 5: The ratio of RBD-specific memory B cell frequency (percentage)
     relative to RBD IgA antibodies (orange curve; best-fit second order polynomial curve transformed by
     ×105), RBD IgG antibodies (magenta; best-fit simple linear regression line transformed by ×105) and
     total SARS-CoV-2 specific CD4+ T cell frequency (blue; best-fit simple linear regression line transformed
     by ×102), or the ratio of SARS-CoV-2 specific CD4+ T cell frequency relative to SARS-CoV-2 specific CD8+
     T cell frequency (till; best-fit simple linear regression line) and RBD IgG antibodies (black; best-fit simple
     linear regression line transformed by ×103).
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                               105                                                                                  105

                               104                                                                                  104
        Spike IgG (ET)




                                                                                           Spike IgG
                               103                                                                                  103

                               102                                                                                  102
                                                                                 LOS
                               101                                                                                  101
                                                                                 LOD
                               100                                                                                  100
                                     0   30   60   90   120   150   180   210   240                                       0   30   60   90   120   150   180   210   240
                                                    Days PSO                                                                             Days PSO

                              105                                                                                 105

                               104                                                                                  104
    RBD IgG (ET)




                                                                                            RBD IgG
                               103                                                                                  103

                               102                                                                                  102

                               101                                                                                  101

                               100                                                                                  100
                                     0   30   60   90   120   150   180   210   240                                       0   30   60   90   120   150   180   210   240
                                                    Days PSO                                                                             Days PSO

                              104                                                                                 104
                                                                                           PSV Neutralizing Titer
      PSV Neutralizing Titer




                               103                                                                                  103



                               102                                                                                  102



                               101                                                                                  101
                                     0   30   60   90   120   150   180   210   240                                       0   30   60   90   120   150   180   210   240
                                                    Days PSO                                                                             Days PSO

                                                                                      
                               106                                                                                  106
      Nucleocapsid IgG (ET)




                                                                                           Nucleocapsid IgG




                               105                                                                                  105

                               104                                                                                  104

                               103                                                                                  103

                               102                                                                                  102

                               101                                                                                  101

                               100                                                                                  100
                                     0   30   60   90   120   150   180   210   240                                       0   30   60   90   120   150   180   210   240
                                                    Days PSO                                                                             Days PSO

                              106                                                                                 106

                               105                                                                                  105
    Spike IgA (ET)




                                                                                           Spike IgA




                               104                                                                                  104

                               103                                                                                  103

                               102                                                                                  102

                               101                                                                                  101

                               100                                                                                  100
                                     0   30   60   90   120   150   180   210   240                                       0   30   60   90   120   150   180   210   240
                                                    Days PSO                                                                             Days PSO


                              105                                                                                 105

                               104                                                                                  104
     RBD IgA (ET)




                                                                                           RBD IgA




                               103                                                                                  103

                               102                                                                                  102

                               101                                                                                  101

                               100                                                                                  100
                                     0   30   60   90   120   150   180   210   240                                       0   30   60   90   120   150   180   210   240
                                                    Days PSO                                                                             Days PSO
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           A                               DMSO                                 S                         M                                        N                    ORF3a                Nsp3
                                                                                                                                                                                               p
                 CD69




                                                0.029                               0.30                        0.63                                       0 28
                                                                                                                                                           0.                  0.072               0.053
                                               CD137
           B                         20                                                                                C                         20
                                     10                                                                                                          10




                                                                                                                           SARS-CoV-2-speciﬁc
               SARS-CoV-2-speciﬁc




                                                                                                                             CD8+ T cells (%)
                 CD8+ T cells (%)




                                      1                                                                                                           1



                                     0.1                                                                                                         0.1
                                    0.05                                                                                                        0.05
                                           0     30     60    90                120     150         180   210     240                                  0    30     60    90     120    150   180   210   240
                                                                   Days PSO                                                                                               Days PSO
           D                        20                                                                             E                             20
                                    10                                                                                                           10



                                                                                                                           CD8+ T cells (%)
           CD8+ T cells (%)




                                                                                                                            Spike-speciﬁc
            Spike-speciﬁc




                                     1                                                                                                             1



                                0.1                                                                                                              0.1
                               0.05                                                                                                             0.05
                                         0      30      60    90               120      150     180       210    240                                   0     30    60    90     120    150   180   210     240
                                                               Days PSO                                                                                                       Days PSO
           F                          Ag-specific/total
                                                c
                                       CD8+ T cells                        100                                                                               TCM

                                                                               80                                                                            TEM
                                      TCM                TN
                            CCR7




                                                               Phenotype (%)




                                                                                                                                                             TEMRA
                                                                               60

                                                                               40

                                      TEM             TEMRA                    20

                                                 CD45RA                         0
                                                                                    0   30     60    90   120 150 180 210 240
                                                                                              Days post symptom onset
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A                                DMSO                                       S                        M                                           N                ORF3a                  Nsp3
                                                                                                                                                                                           p
      OX40




                                      0.002                                     0.31                       0.54                                      0.30              0.078                    0.062
                                     CD137
B                        20                                                                                       C                        20
                         10                                                                                                                10




                                                                                                                      SARS-CoV-2-speciﬁc
    SARS-CoV-2-speciﬁc




                                                                                                                        CD4+ T cells (%)
      CD4+ T cells (%)




                             1                                                                                                              1



                         0.1                                                                                                               0.1

                   0.02                                                                                                               0.02
                                 0    30      60      90                120       150        180     210    240                                  0   30      60   90   120     150   180   210     240

D                                                          Days PSO                                              E                                                 Days PSO
                    20                                                                                                                     20
                    10                                                                                                                     10
                                                                                                                      CD4+ T cells (%)
CD4+ T cells (%)




                                                                                                                       Spike-speciﬁc
 Spike-speciﬁc




                         1                                                                                                                  1


                   0.1                                                                                                                     0.1

               0.02                                                                                                                  0.02
                             0       30    60        90                120       150     180        210    240                                   0   30      60   90   120     150   180   210     240
                                                      Days PSO                                                                                                     Days PSO
                             Ag-specific/total
                                       c
F                             CD4+ T cells
                                                                      100                                                                            TCM
                                                                       80                                                                            TEM
                             TCM                TN
                                                      Phenotype (%)
             CCR7




                                                                                                                                                     TEMRA
                                                                       60

                                                                       40

                          TEM              TEMRA                       20


                                      CD45RA                            0
                                                                            0    30     60     90    120 150 180 210 240
                                                                                               Days PSO

                                                                                                                                                                                    
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                     106        Male                ANCOVA p = 0.00019                         80
                                Female                                                                  1-2 Mo PSO
                     105
    Spike IgG (ET)




                                                                                                        3-4 Mo PSO




                                                                               % of subjects
                                                                                               60
                     104                                                                                5+ Months PSO

                     103                                                                       40

                     102                                                                       20
                                                                         LOS
                     101
                                                                         LOD                    0
                     100                                                                            0   1        2             3    4   5
                           0   30   60   90   120    150   180   210   240                     Immune memory components
                                          Days PSO


                                                                                                           
                                                                                                                                   B : IgA
                                                                                                                             100
                                                                                                                                   B : IgG
                                                                                                                                   B : CD4




                                                                                                                Ratio (AU)
                                                                                                                                   CD4 : CD8
                                                                                                                             10    CD4 : IgG



                                                                                                                              1

                                                                                                                                    0   30     60   90   120   150   180   210   240
                                                                                                                                                     Days PSO
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                                                                                                                                                      % Spike-specific memory B
                                                          104
       Spike-specific memory B,
           # per 106 PBMC                                                                                                                                                                              50

                                                          103                                                                                                                                          40




                                                                                                                                                            binding RBD
                                                                                                                                                                                                       30
                                                          102
                                                                                                                                                                                                       20
                                                          101
                                                                                                                                                                                                       10

                                                         <100                                                                                                                                           0
                                                                0    30    60   90     120   150   180   210   240                                                                                          0    30     60   90     120   150   180   210   240
                                                                                     Days PSO                                                                                                                                 Days PSO

                                                                                                                                        




                                                                                                                                             Nucleocapsid-specific memory B,
                                                          104                                                                                                                                          104
       RBD-specific memory B,




                                                                                                                                                    # per 106 PBMC
          # per 106 PBMC




                                                          103                                                                                                                                          103


                                                          102                                                                                                                                          102


                                                          101                                                                                                                                          101


                                                         <100                                                                                                                                         <100
                                                                0    30    60   90     120   150   180   210   240                                                                                           0    30    60   90     120   150   180   210   240
                                                                                     Days PSO                                                                                                                                     Days PSO

                                                                                                                                        
                     RBD-specific memory B, %




                                                                                                                                                                  RBD-specific memory B, %
                                                           1
                                                                    IgA+                                                                                                                                 1
                                                                                                                                                                                                                 IgM+


                                                          0.1                                                                                                                                          0.1


                                                         0.01                                                                                                                                         0.01



                                                                0    30    60   90     120   150   180   210   240                                                                                           0    30    60   90     120   150   180   210   240
                                                                                 Days PSO                                                                                                                                         Days PSO


                                                                                                                                        
                     Nucleocapsid-specific memory B, %




                                                                                                                                                                  Nucleocapsid-specific memory B, %




                                                           1
                                                                    IgA+                                                                                                                                 1
                                                                                                                                                                                                                 IgM+


                                                          0.1                                                                                                                                          0.1


                                                         0.01                                                                                                                                         0.01



                                                                0    30    60   90     120   150   180   210   240                                                                                           0    30    60   90     120   150   180   210   240
                                                                                 Days PSO                                                                                                                                         Days PSO
                                                                                                                                        
                                                                                                                                                                                                      1.2
                                                                                                                                                                                                                                                        Spike
                                                         105                                                                                                                                          1.0
                                                                                                                     SpikeAF647                                                                                                                         RBD
                    Geometric MFI




                                                                                                                                                Geometric MFI
                                                                                                                                                 (Normalized)




                                                                                                                     SpikeBV421                                                                       0.8                                               Nucleocapsid
                                                                                                                     RBDPECy7                                                                         0.6
                                                         104                                                         NucleocapsidBV711                                                                0.4
                                                                                                                     NucleocapsidPE
                                                                                                                                                                                                      0.2

                                                         103                                                                                                                                          0.0
                                                                0    30    60   90     120   150   180   210   240                                                                                           0    30    60   90     120   150   180   210   240
                                                                                 Days PSO                                                                                                                                     Days PSO
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      A                   Lymphocytes
                           y p   y                                                                                                    CD14-CD19-                   T cells                  CD8+ T cells




                                                                                                                                                       LIVE/DEAD
                                                                                             SSC-B-H
                                                    46                                98.6                            96.6                    80.4                           82.3                      27
          SSC-A




                                                              FSC-H




                                                                                                                             CD14




                                                                                                                                                                                     CD8
                                            FSC-A                               FSC-A                              SSC-B-A                 CD19                      CD3                        CD4

       B                            DMSO                                   S                       M                         N               ORF3a                   Nsp3



                                                                                                                                                                                           Unexposed

                                             0.017                         0.005                             0.0                 0.016               0.006                   0.020




                                             0.050                             0.31                      0.31                    0.18                0.083                   0.061




                                                                                                                                                                                             COVID-19

                                             0.092                             0.35                      0.50                       0.27             0.054                    0.12
          CD69




                                             0.005                             0.20                     0.044                    0.060               0.031                   0.032

                                            CD137

       C                          200
            SARS-CoV-2-speciﬁc




                                  100
              CD8+ T cells (SI)




                                   10


                                    3
                                        0      30        60           90   120     150   180           210    240
                                                         Days post symptom onset
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    A             Lymphocytes
                   y p   y                                                                                                                CD14-CD19-                        T cells                   CD4+ T cells




                                                                                                                                                              LIVE/DEAD
                                                                                  SSC-B-H
                                              39
                                               9.6
                                                 6                         98.4                           98.1                                       85.1                             62.6                        71.6
     SSC-A




                                                      FSC-H




                                                                                                                               CD14




                                                                                                                                                                                              CD8
                                     FSC-A                           FSC-A                          SSC-B-A                                       CD19                        CD3                           CD4

    B                              DMSO                        S                        M                                 N                         ORF3a                         Nsp3



                                                                                                                                                                                                    Unexposed

                                          0.004                    0.013                    0.009                                0.009                      0.008                     0.005




                                          0.001                     0.13                     0.11                                0.079                      0.029                     0.015




                                                                                                                                                                                                          COVID-19

                                          0.004                     0.17                     0.21                                     0.14                  0.013                     0.017
     OX40




                                          0.004                     0.21                    0.097                                0.037                      0.009                     0.014

                                     CD137

    C                              200
             SARS-CoV-2-speciﬁc




                                   100
               CD4+ T cells (SI)




                                    10



                                     2
                                         0      30    60      90     120   150    180       210     240
                                                               Days PSO
    D                                                                                                      E
                                    20                                                                                         20
                                    10                                                                                         10
               Membrane-speciﬁc




                                                                                                           Membrane-speciﬁc
                CD4+ T cells (%)




                                                                                                            CD4+ T cells (%)




                                     1                                                                                           1


                                   0.1                                                                                         0.1

                                   0.02                                                                                   0.02
                                          0      30   60      90     120    150    180       210    240                               0      30    60    90           120   150    180   210        240
                                                                   Days PSO                                                                                 Days PSO
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                                                106
                                                                                                        Mild
                                                105
                Spike IgG (ET)


                                                                                                        Moderate
                                                104                                                     Severe
                                                103                                                     Asymptomatic
                                                102
                                                101
                                                100
                                                       0   30   60   90   120   150   180   210   240
                                                                      Days PSO
                                                                                                        
            Spike-specific memory B, %




                                                                                                                   RBD-specific memory B, %
                                                  1                                                                                             1


                                                 0.1                                                                                           0.1


                                                0.01                                                                                          0.01


                                                       0   30   60   90   120   150   180   210   240                                                0   30   60   90   120   150   180   210   240
                                                                      Days PSO                                                                                      Days PSO


            Nucleocapsid-specific memory B, %




                                                  1


                                                 0.1


                                                0.01



                                                       0   30   60   90   120   150   180   210   240
                                                                      Days PSO



                                                                                                       
                                                 20                                                                                            20
                                                 10                                                                                            10
                                                                                                            SARS-CoV-2-speciﬁc
    SARS-CoV-2-speciﬁc




                                                                                                              CD4+ T cells (%)
      CD8+ T cells (%)




                                                                                                                                                1
                                                  1


                                                                                                                                              0.1
                                                 0.1
                                                0.05                                                                                          0.02
                                                       0   30   60   90   120   150   180   210   240                                                0   30   60   90   120   150   180   210   240
                                                                      Days PSO                                                                                      Days PSO
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                                       107         Male                  ANCOVA p = 0.020                                                             105                               ANCOVA p = 0.00087
               Nucleocapsid IgG (ET)
                                                   Female
                                       106
                                                                                                                                                      104




                                                                                                                                  RBD IgG (ET)
                                       105
                                       104                                                                                                            103

                                       103                                                                                                            102
                                       102
                                                                                                                                                      101
                                       101
                                       100                                                                                                            100
                                              0   30   60   90     120   150   180   210   240                                                               0   30   60   90     120     150   180   210   240
                                                             Days PSO                                                                                                       Days PSO
                                                                                                         
                                       105                                ANCOVA p = 0.49                                                             104                                 ANCOVA p= 0.22




                                                                                                                             PSV Neutralizing Titer
               RBD IgA (ET)




                                       104                                                                                                            103

                                       103                                                                                                            102

                                       102                                                                                                            101

                                       101                                                                                                            100
                                              0   30   60   90     120   150   180   210   240                                                               0   30   60   90     120     150   180   210   240
                                                             Days PSO                                                                                                       Days PSO

                                                                                                         
                                       106
                                                                          ANCOVA p = 0.19                            Spike-specific memory B, %                                           ANCOVA p = 0.50
                                                                                                                                                                  Male
           Spike IgA (ET)




                                                                                                                                                        1         Female
                                       104

                                                                                                                                                       0.1
                                       102

                                                                                                                                                      0.01
                                       100
                                              0   30   60   90     120   150   180   210   240
                                                             Days PSO                                                                                        0   30   60   90     120     150   180   210   240
                                                                                                                                                                            Days PSO


                                                                                                          
                                                                                                              Nucleocapsid-specific memory B, %




 
        RBD-specific memory B, %




                                                   Male                   ANCOVA p = 0.92                                                                         Male                    ANCOVA p = 0.66
                                         1         Female                                                                                               1         Female


                                        0.1                                                                                                            0.1


                                       0.01                                                                                                           0.01



                                              0   30   60   90     120   150   180   210   240                                                               0   30   60   90     120     150   180   210   240
                                                             Days PSO                                                                                                       Days PSO



                                       20                                                                                                             20
                                                                                       Female
                                                                                                                                                                                              
                                        10                                                                                                              10                                                        Female
  SARS-CoV-2-speciﬁc




                                                                                                              SARS-CoV-2-speciﬁc




                                                                                                 Male                                                                                                             Male
    CD8+ T cells (%)




                                                                                                                CD4+ T cells (%)




                                                                                                                                                         1
                                         1


                                                                                                                                                       0.1
                                        0.1
                                       0.05                                                                                                           0.02
                                              0   30   60   90     120   150   180   210   240                                                               0   30   60   90     120     150   180   210   240
                                                                 Days PSO                                                                                                       Days PSO
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                                   102                                                                                        10-3




                                                                                                      RBD-specific memory B
        / Ag-specific CD8
         Ag-specific CD4




                                                                                                           / RBD IgG
                                   101                                                                                        10-4


                                   100                                                                                        10-5


                                   10-1                                                                                       10-6
                                          0   30        60   90     120   150   180   210   240                                      0   30        60   90     120   150   180   210   240
                                                              Days PSO                                                                                     Days PSO



                                                                                                 
                                   10-2
                                                                                                                                          
           RBD-specific memory B




                                                                                                                              10-1
                                   10-3




                                                                                                        Ag-specific CD4
                / RBD IgA




                                                                                                                              10-2




                                                                                                          / RBD IgG
                                   10-4
                                                                                                                              10-3
                                   10-5
                                                                                                                              10-4
                                   10-6
                                          0   30        60   90     120   150   180   210   240                               10-5
                                                                                                                                     0   30        60     90   120   150   180   210   240
                                                                  Days PSO
                                                                                                                                                           Days PSO


    
                                                   
                                   101
        RBD-specific memory B




                                   100
             / Total CD4




                                   10-1

                                   10-2

                                   10-3
                                          0   30        60   90     120 150 180 210 240
                                                              Days PSO
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                  EXHIBIT 8
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    Protection afforded by the BNT162b2 and mRNA-1273 COVID-19
    vaccines in fully vaccinated cohorts with and without prior infection

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    Abstract

    Effect of prior SARS-CoV-2 infection on vaccine protection remains poorly understood. Here,

    we investigated whether persons vaccinated after a prior infection have better protection against

    future infection than those vaccinated without prior infection
                                                         infection. Effect of prior infection was

    assessed in Qatar’s population, where the Alpha (B.1.1.7) and Beta (B.1.351) variants dominate

    incidence, using two national retrospective, matched-cohort studies, one for the BNT162b2

    (Pfizer-BioNTech) vaccine, and one for the mRNA-1273 (Moderna) vaccine. Incidence rates of

    infection among BNT162b2-vaccinated persons, with and without prior infection, were

    estimated, respectively, at 1.66 (95% CI: 1.26-2.18) and 11.02 (95% CI: 9.90-12.26) per 10,000

    person-weeks. The incidence rate ratio was 0.15 (95% CI: 0.11-0.20). Analogous incidence rates

    among mRNA-1273-vaccinated persons were estimated at 1.55 (95% CI: 0.86-2.80) and 1.83

    (95% CI: 1.07-3.16) per 10,000 person-weeks. The incidence rate ratio was 0.85 (95% CI: 0.34-

    2.05). Prior infection enhanced protection of those BNT162b2-vaccinated, but not those mRNA-

    1273-vaccinated. These findings may have implications for dosing, interval between doses, and

    potential need for booster vaccination.




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    Main text

    Effect of prior acute respiratory syndrome coronavirus 2 (SARS-CoV-2) infection on vaccine

    protection against acquisition of infection remains poorly understood1-3. Qatar launched

    Coronavirus Disease 2019 (COVID-19) immunization in December 21, 2020, first using the

    BNT162b24 (Pfizer-BioNTech) vaccine and subsequently adding the mRNA-12735 (Moderna)

    vaccine6,7. As vaccination was scaled up following the FDA-approved protocol, the country

    experienced two back-to-back SARS-CoV-2 waves from January-June, 2021, which were

    dominated by the Alpha8 (B.1.1.7) and Beta8 (B.1.351) variants6,7,9-11 (Methods). This provided

    an opportunity to assess whether persons vaccinated after a prior SARS-CoV-2 infection have

    better protection against future infection than those vaccinated without prior infection.

    Leveraging the national, federated databases that have captured all SARS-CoV-2 vaccinations

    and PCR testing since the epidemic onset (Methods), we investigated this question using two

    retrospective, matched-cohort studies. We compared incidence of documented SARS-CoV-2

    infection in the national cohort of individuals who completed ≥14 days after the second

    BNT162b2 vaccine dose, but who had experienced a prior PCR-confirmed infection, with

    incidence among individuals who completed ≥14 days after the second BNT162b2 dose, but who

    had not experienced a prior infection, between December 21, 2020-June 6, 2021 (Figure 1). The

    same comparison was made for the mRNA-1273 vaccine (Figure 2). Cohorts were matched in a

    1:1 ratio by sex, 5-year age group, nationality, and calendar week of the first vaccine dose, to

    control for differences in exposure risk12,13 and variant exposure6,7,9-11. Reporting of the study

    followed the STROBE guidelines (Supplementary Table 1).

    Figures 1-2 show the process for identifying infections in these cohorts, and Table 1 presents

    their demographic characteristics. Using the Kaplan–Meier estimator14, cumulative infection

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    incidence among BNT162b2-vaccinated persons, with and without prior infection, was estimated

    at 0.14% (95% CI: 0.11-0.19%) and 0.93% (95% CI: 0.83-1.04%), respectively, after 63 days of

    follow-up (Figure 1). Incidence rates of infection were estimated, respectively, at 1.66 (95% CI:

    1.26-2.18) and 11.02 (95% CI: 9.90-12.26) per 10,000 person-weeks. The incidence rate ratio

    was estimated at 0.15 (95% CI: 0.11-0.20).

    Cumulative infection incidence among mRNA-1273-vaccinated persons, with and without prior

    infection, was estimated at 0.06% (95% CI: 0.03-0.12%) and 0.08% (95% CI: 0.04-0.15%),

    respectively, after 63 days of follow-up (Figure 1). Incidence rates were estimated, respectively,

    at 1.55 (95% CI: 0.86-2.80) and 1.83 (95% CI: 1.07-3.16) per 10,000 person-weeks. The

    incidence rate ratio was estimated at 0.85 (95% CI: 0.34-2.05).

    Infection incidence was low in these cohorts during a time of intense incidence in Qatar6,7,15,

    indicating that both vaccines were highly effective against the Alpha and Beta variants6,7, which

    dominated incidence9 (Methods). Still, prior infection of those BNT162b2-vaccinated further

    enhanced protection and reduced the incidence rate by 85% (6.6-fold) compared to those without

    prior infection. No evidence for such an effect was found for those mRNA-1273-vaccinated.

    These findings are perhaps explained by the observed differences in effectiveness of these two

    vaccines against the Alpha and Beta variants, estimated in Qatar at 89.5% (95% CI: 85.9-92.3%)

    and 75.0% (95% CI: 70.5-78.9%) for BNT162b2, respectively6, and at 100% (95% CI: 91.8-

    100.0%) and 96.4% (95% CI: 91.9-98.7%) for mRNA-1273, respectively7.

    The differences in effectiveness could have risen for a variety of reasons, such as differences in

    dosing, interval between doses, or the biology of both vaccines and their mechanisms of action.

    The dose of each of these two vaccines differed—it was 30-μg per dose for BNT162b24 and 100

    μg per dose for mRNA-12735. This may have resulted in a more activated immune response for

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    the mRNA-1273 vaccine than the BNT162b2 vaccine, and made the existence of prior immunity

    due to natural infection of no additional benefit for the mRNA-1273 vaccine. The interval

    between doses also differed and was one week longer for mRNA-12735. Evidence suggests that a

    longer dose interval could be associated with improved protection after receiving the second

    dose16.

    Limitations include identifying prior infection based on a record of a PCR-positive result,

    thereby missing those who may have been infected, but were unaware of their infection, or who

    did not seek testing by PCR to document the infection. Misclassification of prior infection status

    could lead to underestimation of the effect size of prior infection on vaccine protection.

    Depletion of the cohorts with prior infection due to COVID-19 mortality at time of the prior

    infection may have biased these cohorts toward healthier individuals with stronger immune

    responses. However, COVID-19 mortality has been low in Qatar’s predominantly young and

    working-age population12,17, and no evidence for such bias was found in the mRNA-1273

    vaccine results, where the incidence rate was similar for those with and without prior infection.

    We assessed risk of only documented infections, but other infections may have occurred and

    gone undocumented, perhaps because of minimal/mild or no symptoms. Our cohorts

    predominantly included working-age adults; therefore, results may not necessarily be

    generalizable to other population groups, such as children or the elderly. Matching was done for

    age, sex, nationality, and calendar week of the first vaccine dose, and could not be done for other

    factors, such as comorbidities or additional socio-demographic factors, as these were not

    available to study investigators. However, matching by age and sex may have served as a proxy

    given that co-morbidities are associated with older age and may be different between women and




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    men. Matching by nationality may have also captured some of the occupational risk given the

    distribution of the labor force in Qatar18-20.

    Imperfect assay sensitivity and specificity of PCR or antibody testing could have affected current

    or prior infection ascertainment. However, all PCR and serological testing was performed with

    extensively used, investigated, and validated commercial platforms with essentially 100%

    sensitivity and specificity (Methods). Unlike blinded, randomized clinical trials, the investigated

    observational cohorts were neither blinded nor randomized.

    Our results demonstrate low infection incidence among those vaccinated with BNT162b2 or

    mRNA-1273, but among those vaccinated with BNT162b2, protection against infection was

    further enhanced and infection incidence was further reduced by prior infection. In contrast,

    those vaccinated with mRNA-1273 were as well protected as those who received the vaccine

    after a prior infection. These findings may have implications for the potential need of a booster

    vaccination.




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    the authors.

    Author contributions

    LJA conceived and co-designed the study, led the statistical analyses, and co-wrote the first draft

    of the article. HC co-designed the study, performed the statistical analyses, and co-wrote the first

    draft of the article. All authors contributed to data collection and acquisition, database

    development, discussion and interpretation of the results, and to the writing of the manuscript.

    All authors have read and approved the final manuscript.

    Competing interests

    Dr. Butt has received institutional grant funding from Gilead Sciences unrelated to the work

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Figure 1. The process for identifying SARS-CoV-2 infections in the national cohort of individuals who completed ≥14 days
after the second BNT162b2 vaccine dose and who had experienced a PCR-confirmed infection before the first dose, compared
with the process for identifying SARS-CoV-2 infections in the national cohort of individuals who completed ≥14 days after the
second BNT162b2 vaccine dose, but who had experienced no PCR-confirmed infection before the first dose. Cohorts were
matched in a 1:1 ratio by sex, 5-year age group, nationality, and calendar week of the first vaccine dose. Total follow-up time
among BNT162b2-vaccinated persons, with and without prior infection, was 308,086.0 and 305,891.9 person-weeks,
respectively.
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                                                                                                                             11
Figure 2. The process for identifying SARS-CoV-2 infections in the national cohort of individuals who completed ≥14 days
after the second mRNA-1273 vaccine dose and who had experienced a PCR-confirmed infection before the first dose,
compared with the process for identifying SARS-CoV-2 infections in the national cohort of individuals who completed ≥14
days after the second mRNA-1273 vaccine dose, but who had experienced no PCR-confirmed infection before the first dose.
Cohorts were matched in a 1:1 ratio by sex, 5-year age group, nationality, and calendar week of the first vaccine dose. Total
follow-up time among mRNA-1273-vaccinated persons, with and without prior infection, was 70,729.9 and 70,872 person-
weeks, respectively.
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                                                                                                                                12
Table 1. Demographic characteristics of matched cohorts that received the BNT162b2 and mRNA-1273 vaccines.
 Characteristics                                         Vaccination with the BNT162b2 vaccine                                                    Vaccination with the mRNA-1273 vaccine
                                            Individuals with a         Individuals with no                          p-value            Individuals with a        Individuals with no     p-value
                                           prior PCR-confirmed        prior PCR-confirmed                                             prior PCR-confirmed       prior PCR-confirmed
                                                  infection                  infection                                                       infection                 infection
 Median age (IQR) — years                        39 (32-48)                 39 (32-48)                               0.972                  40 (33-47)                40 (33-47)          0.869
 Age group — no. (%)
   <20 years                                      1,573 (3.1)                        1,573 (3.1)                     1.000                    194 (0.8)                          194 (0.8)      1.000
   20-29 years                                   7,282 (14.1)                       7,282 (14.1)                                             3,481 (14.5)                       3,481 (14.5)
   30-39 years                                   18,027 (35.0)                      18,027 (35.0)                                            8,216 (34.2)                       8,216 (34.2)
   40-49 years                                   13,593 (26.4)                      13,593 (26.4)                                            7,972 (33.1)                       7,972 (33.1)
   50-59 years                                   7,468 (14.5)                       7,468 (14.5)                                             3,368 (14.0)                       3,368 (14.0)
   60-69 years                                    2,830 (5.5)                        2,830 (5.5)                                              704 (2.9)                          704 (2.9)
   70+ years                                       713 (1.4)                          713 (1.4)                                               117 (0.5)                          117 (0.5)
 Sex
   Male                                          36,970 (71.8)                      36,970 (71.8)                    1.000                  18,697 (77.7)                       18,697 (77.7)   1.000
   Female                                        14,516 (28.2)                      14,516 (28.2)                                           5,355 (22.3)                         5,355 (22.3)
 Nationality†
   Bangladeshi                                    3,728 (7.2)                        3,728 (7.2)                     1.000                    2,066 (8.6)                        2,066 (8.6)    1.000
   Egyptian                                       3,470 (6.7)                        3,470 (6.7)                                              1,748 (7.3)                        1,748 (7.3)
   Filipino                                       4,792 (9.3)                        4,792 (9.3)                                             2,435 (10.1)                       2,435 (10.1)
   Indian                                        13,033 (25.3)                      13,033 (25.3)                                            8,180 (34.0)                       8,180 (34.0)
                                                                                                                                                                                                                                                  165




   Nepalese                                       4,570 (8.9)                        4,570 (8.9)                                             2,730 (11.4)                       2,730 (11.4)
   Pakistani                                      1,892 (3.7)                        1,892 (3.7)                                              1,105 (4.6)                        1,105 (4.6)
   Qatari                                        9,700 (18.8)                       9,700 (18.8)                                              1,047 (4.4)                        1,047 (4.4)
   Sri Lankan                                     1,490 (2.9)                        1,490 (2.9)                                              1,114 (4.6)                        1,114 (4.6)
   Sudanese                                       1,259 (2.5)                        1,259 (2.5)                                               481 (2.0)                          481 (2.0)
   Other nationalities                           7,552 (14.7)‡                      7,552 (14.7)‡                                            3,146 (13.1)                       3,146 (13.1)
*Cohorts were matched in a 1:1 ratio by sex, 5-year age group, nationality, and calendar week of first vaccine dose.
†
  Nationalities were chosen to represent the most numerous groups in the population of Qatar.
‡
  Individuals who received the BNT162b2 vaccine in Qatar comprised 96 other nationalities, while those who received the mRNA-1273 vaccine represented 78 other nationalities.
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    Figure 3. Kaplan-Meier curves showing the cumulative incidence of documented SARS-
    CoV-2 infection in the national cohort of individuals who completed ≥14 days after the
    second vaccine dose and who had a prior PCR-confirmed infection, compared to the
    cumulative incidence of documented SARS-CoV-2 infection in the matched national cohort
    of individuals who completed ≥14 days after the second vaccine dose, but without prior
    PCR-confirmed infection. The curves compare vaccination with A) the BNT162b2 (Pfizer-
    BioNTech) vaccine and B) the mRNA-1273 vaccine. Cohorts were matched in a 1:1 ratio by
    sex, 5-year age group, nationality, and calendar week of the first vaccine dose. The curves
    for a longer time of follow up for only the BNT162b2 vaccine are in Supplementary Figure
    1. Vaccination with BNT162b2 started few weeks before vaccination with mRNA-1273.




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    Methods

    Data sources and study design

    Analyses were conducted using the centralized, integrated, and standardized national severe

    acute respiratory syndrome coronavirus 2 (SARS-CoV-2) databases compiled at Hamad Medical

    Corporation (HMC), the main public healthcare provider and the nationally designated provider

    for all Coronavirus Disease 2019 (COVID-19) healthcare needs. Through a nation-wide digital

    health information platform, these databases have captured all SARS-CoV-2-related data along

    with related-demographic details with no missing information since the start of the epidemic,

    including all records of polymerase chain reaction (PCR) testing, antibody testing, COVID-19

    hospitalizations, vaccinations, infection severity classification per World Health Organization

    (WHO) guidelines21 (performed by trained medical personnel through individual chart reviews),

    and COVID-19 deaths, also assessed per WHO guidelines22. Every PCR test conducted in Qatar,

    regardless of location (outpatient clinic, drive-thru, or hospital, etc.), is classified on the basis of

    symptoms and the reason for testing (clinical symptoms, contact tracing, random testing

    campaigns (surveys), individual requests, routine healthcare testing, pre-travel, and port of

    entry). Qatar has unique demographics by sex and nationality, since expatriates from over 150

    countries comprise 89% of the population12,23.

    The nature of circulating SARS-CoV-2 virus was informed by weekly rounds of viral genome

    sequencing and multiplex, quantitative, reverse-transcription PCR (RT-qPCR) variant

    screening24 of randomly collected clinical samples6,7,9-11, as well as by the results of deep

    sequencing of wastewater samples9. The weekly rounds of viral genome sequencing from

    January 1-May 19, 2021 identified Beta (n=623; 50.9%), Alpha (n=193; 15.8%), Delta (n=43;

    3.5%), and wild-type/undetermined variants (n=366; 29.9%) in 1,225 randomly collected, PCR-

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    positive specimens9,10. Meanwhile, the weekly rounds of multiplex RT-qPCR variant screening

    from March 23-May 10, 2021 identified Beta-like (n=2,605; 66.4%), Alpha-like (n=970; 24.7%),

    and “other” variants (n=349; 8.9%) in 3,924 randomly collected PCR-positive specimens9,11.

    Sanger sequencing of the receptor binding domain of SARS-CoV-2 spike protein on 109 “other”

    specimens confirmed that 103 were Delta-like, 3 were B.1-like, and 3 were undetermined9,11.

    All records of PCR testing in Qatar were examined in this study. Every individual that met the

    inclusion criteria in the national database, that is being vaccinated with BNT162b2 or mRNA-

    1273 and completing ≥14 days after the second vaccine dose, for each of these cohort studies,

    was classified based on infection status (with or without PCR-positive swab before the start of

    the study). Individuals were matched based on infection status on a 1:1 ratio by sex, 5-year age

    group, nationality (>75 nationality groups), and calendar week of first vaccine dose to control for

    differences in exposure risk12,13 and variant exposure6,7,9-11. Only matched samples were included

    in the analysis.

    Further background on Qatar’s epidemic, such as on reinfections25,26, national seroprevalence

    surveys12,18-20, PCR surveys12, and other epidemiological studies can be found in previous

    publications on this epidemic6,7,12,13,27-34.

    Laboratory methods

    Nasopharyngeal and/or oropharyngeal swabs (Huachenyang Technology, China) were collected

    for PCR testing and placed in Universal Transport Medium (UTM). Aliquots of UTM were:

    extracted on a QIAsymphony platform (QIAGEN, USA) and tested with real-time reverse-

    transcription PCR (RT-qPCR) using TaqPath™ COVID-19 Combo Kits (100% sensitivity and

    specificity35; Thermo Fisher Scientific, USA) on an ABI 7500 FAST (ThermoFisher, USA);

    extracted using a custom protocol36 on a Hamilton Microlab STAR (Hamilton, USA) and tested

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    using AccuPower SARS-CoV-2 Real-Time RT-PCR Kits (100% sensitivity and specificity37;

    Bioneer, Korea) on an ABI 7500 FAST; or loaded directly into a Roche cobas® 6800 system and

    assayed with a cobas® SARS-CoV-2 Test (95% sensitivity, 100% specificity38; Roche,

    Switzerland). The first assay targets the viral S, N, and ORF1ab regions. The second targets the

    viral RdRp and E-gene regions, and the third targets the ORF1ab and E-gene regions.

    Antibodies against SARS-CoV-2 in serological samples were detected using a Roche Elecsys®

    Anti-SARS-CoV-2 assay (99.5% sensitivity39, 99.8% specificity39,40; Roche, Switzerland),

    an electrochemiluminescence immunoassay that uses a recombinant protein representing the

    nucleocapsid (N) antigen for antibody binding. Results were interpreted according to the

    manufacturer’s instructions (reactive: optical density (proxy for antibody titer41) cutoff index

    ≥1.0 vs. non-reactive: optical density cutoff index <1.0).

    All PCR tests were conducted at the Hamad Medical Corporation Central Laboratory or Sidra

    Medicine Laboratory, following standardized protocols.

    Statistical analysis

    Descriptive statistics (frequency distributions and measures of central tendency) were used to

    characterize study samples. Significant associations were determined using two-sided p-values.

    The Kaplan–Meier estimator method14 was used to estimate the cumulative risk of documented

    infection. Cumulative risk was defined as the proportion of individuals identified with an

    infection during the study period among all eligible individuals in each cohort.

    Incidence rates of documented infection in each cohort were calculated by dividing the number

    of infection cases identified during the study by the number of person-weeks contributed by all

    eligible individuals in the cohort. Incidence rates and corresponding 95% CIs were estimated


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    using a Poisson log-likelihood regression model with the STATA 17.042 stptime command.

    Follow-up person-time was calculated from the day each person completed 14 days after the

    second vaccine dose up to the infection swab, all-cause death, or end-of-study censoring (June 6,

    2021). The incidence rate ratio and corresponding 95% CI were calculated using the exact

    method.

    Statistical analyses were conducted in STATA/SE version 17.042.

    Ethical approvals

    The study was approved by the Hamad Medical Corporation and Weill Cornell Medicine-Qatar

    Institutional Review Boards with waiver of informed consent.

    Data availability

    The dataset of this study is a property of the Qatar Ministry of Public Health that was provided to

    the researchers through a restricted-access agreement that prevents sharing the dataset with a

    third party or publicly. Future access to this dataset can be considered through a direct

    application for data access to Her Excellency the Minister of Public Health

    (https://www.moph.gov.qa/english/Pages/default.aspx). Aggregate data are available within the

    manuscript and its Supplementary information.




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    Supplementary Material




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    Supplementary Table 1. STROBE checklist for cohort studies.
                                                                                                                                              Main Text page
                                Item No                                          Recommendation
                                                                                                                                                   no
      Title and abstract            1      (a) Indicate the study’s design with a commonly used term in the title or the abstract         1
                                           (b) Provide in the abstract an informative and balanced summary of what was done and           2
                                           what was found
      Introduction
      Background/rationale          2      Explain the scientific background and rationale for the investigation being reported           3
      Objectives                    3      State specific objectives, including any prespecified hypotheses                               3
      Methods
      Study design                  4      Present key elements of study design early in the paper                                        3
      Setting                       5      Describe the setting, locations, and relevant dates, including periods of recruitment,         15-18
                                           exposure, follow-up, and data collection
      Participants                  6      (a) Give the eligibility criteria, and the sources and methods of selection of participants.   15-17
                                           Describe methods of follow-up
                                           (b) For matched studies, give matching criteria and number of exposed and unexposed            16
      Variables                     7      Clearly define all outcomes, exposures, predictors, potential confounders, and effect          16
                                           modifiers. Give diagnostic criteria, if applicable
      Data sources/                8*       For each variable of interest, give sources of data and details of methods of assessment      15-16
      measurement                          (measurement). Describe comparability of assessment methods if there is more than one
                                           group
      Bias                         9       Describe any efforts to address potential sources of bias                                      16
      Study size                   10      Explain how the study size was arrived at                                                      16 & Figures 1-2
      Quantitative variables       11      Explain how quantitative variables were handled in the analyses. If applicable, describe       16-17
                                           which groupings were chosen and why
      Statistical methods          12      (a) Describe all statistical methods, including those used to control for confounding          16-17
                                           (b) Describe any methods used to examine subgroups and interactions                            NA
                                           (c) Explain how missing data were addressed                                                    NA, see p.15
                                           (d) If applicable, explain how loss to follow-up was addressed                                 NA
                                           (e) Describe any sensitivity analyses                                                          NA
      Results
      Participants                 13*     (a) Report numbers of individuals at each stage of study—eg numbers potentially eligible,      Figures 1-2
                                           examined for eligibility, confirmed eligible, included in the study, completing follow-up,
                                           and analysed
                                           (b) Give reasons for non-participation at each stage
                                           (c) Consider use of a flow diagram
      Descriptive data             14      (a) Give characteristics of study participants (eg demographic, clinical, social) and          Table 1
                                           information on exposures and potential confounders
                                           (b) Indicate number of participants with missing data for each variable of interest            NA, see p.15
                                           (c) Summarise follow-up time (eg, average and total amount)                                    Table 1
      Outcome data                 15      Report numbers of outcome events or summary measures over time                                 3-4, Figure 3, and
                                                                                                                                          Supplementary
                                                                                                                                          Figure 1
      Main results                 16      (a) Give unadjusted estimates and, if applicable, confounder-adjusted estimates and their      3-4, Figure 3, and
                                           precision (eg, 95% confidence interval). Make clear which confounders were adjusted for        Supplementary
                                           and why they were included                                                                     Figure 1
                                           (b) Report category boundaries when continuous variables were categorized                      16
                                           (c) If relevant, consider translating estimates of relative risk into absolute risk for a      NA
                                           meaningful time period
      Other analyses               17      Report other analyses done—eg analyses of subgroups and interactions, and sensitivity          NA
                                           analyses
      Discussion
      Key results                  18      Summarise key results with reference to study objectives                                       4-5
      Limitations                  19      Discuss limitations of the study, taking into account sources of potential bias or             5
                                           imprecision. Discuss both direction and magnitude of any potential bias
      Interpretation               20      Give a cautious overall interpretation of results considering objectives, limitations,         5-6
                                           multiplicity of analyses, results from similar studies, and other relevant evidence
      Generalisability             21      Discuss the generalisability (external validity) of the study results                          5
      Other information
      Funding                      22      Give the source of funding and the role of the funders for the present study and, if           Acknowledgements
                                           applicable, for the original study on which the present article is based
    Abbreviations: NA: not applicable;




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    Supplementary Figure 1. Kaplan-Meier curves showing the cumulative incidence of
    documented SARS-CoV-2 infection in the national cohort of individuals who completed
    ≥14 days after the second vaccine dose and who had a prior PCR-confirmed infection,
    compared to the cumulative incidence of documented SARS-CoV-2 infection in the
    matched national cohort of individuals who completed ≥14 days after the second vaccine
    dose, but without prior PCR-confirmed infection. The curves compare vaccination with A)
    the BNT162b2 (Pfizer-BioNTech) vaccine and B) the mRNA-1273 vaccine. Cohorts were
    matched in a 1:1 ratio by sex, 5-year age group, nationality, and calendar week of the first
    vaccine dose. The cumulative infection incidence among the BNT162b2-vaccinated persons,
    with and without prior infection, was estimated at 0.16% (95% CI: 0.11-0.23%) and 1.45%
    (95% CI: 1.20-1.76%), respectively, after 132 days of follow-up.




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